     Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 1 of 123




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater         *   MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April        *
   20, 2010                                        *   SECTION J
                                                   *
This document relates to all actions.              *
                                                   *   HONORABLE CARL J.
                                                   *   BARBIER
                                                   *
                                                   *   MAGISTRATE JUDGE
                                                   *   SHUSHAN
                                                   *


Bon Secour Fisheries, Inc., et al., on behalf of   *   Civil Action No. 12-970
themselves and all others similarly situated,      *
                                                   *   SECTION J
  Plaintiffs,                                      *
                                                   *
v.                                                 *   HONORABLE CARL J.
                                                   *   BARBIER
BP Exploration & Production Inc.; BP               *
America Production Company; BP p.l.c.,             *   MAGISTRATE JUDGE
                                                   *   SHUSHAN
     Defendants.                                   *




 DEEPWATER HORIZON ECONOMIC AND PROPERTY DAMAGES SETTLEMENT
              AGREEMENT AS AMENDED ON MAY 2, 2012
     Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 2 of 123




                                                    TABLE OF CONTENTS
TABLE OF CONTENTS................................................................................................................. i

RECITALS ..................................................................................................................................... 1

1.     CLASS DEFINITION. ........................................................................................................... 3

2.     EXCLUSIONS FROM THE ECONOMIC AND PROPERTY DAMAGES SETTLEMENT
       CLASS DEFINITION. ........................................................................................................... 8

3.     EXPRESSLY RESERVED CLAIMS. ................................................................................. 12

4.     IMPLEMENTATION OF THE SETTLEMENT. ................................................................ 12

5.     SETTLEMENT BENEFITS. ................................................................................................ 28

     5.2.     SEAFOOD COMPENSATION PROGRAM. .............................................................. 29

     5.3.     ECONOMIC DAMAGE COMPENSATION. ............................................................. 29

     5.4.     SUBSISTENCE DAMAGE COMPENSATION. ........................................................ 31

     5.5.     VoO CHARTER PAYMENT ....................................................................................... 32

     5.6.     VESSEL PHYSICAL DAMAGE COMPENSATION. ............................................... 33

     5.7.     COASTAL REAL PROPERTY DAMAGE COMPENSATION ................................ 33

     5.8.     WETLANDS REAL PROPERTY DAMAGE COMPENSATION ............................. 33

     5.9.     REAL PROPERTY SALES DAMAGE COMPENSATION ...................................... 34

6.     CLAIMS APPEAL PROCESS ............................................................................................. 55

7.     PRELIMINARY APPROVAL BY THE COURT AND CLASS CERTIFICATION. ........ 62

8.     NOTICE AND FAIRNESS HEARING. .............................................................................. 63

9.     COMMUNICATIONS TO THE PUBLIC. .......................................................................... 68

10.         RELEASE AND DISMISSAL OF ALL CLAIMS AND OTHER PROTECTIONS. ..... 69

11.         ASSIGNMENT AND PROTECTIONS. .......................................................................... 76

12.         DENIAL OF WRONGDOING OR LIABILITY. ............................................................ 76

13.         REPRESENTATIONS AND WARRANTIES................................................................. 78

14.         PLAINTIFFS’ COUNSEL’S ATTORNEY’S FEES AND COSTS. ............................... 79


                                                                     -i-
  Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 3 of 123




15.   FINAL ORDER AND JUDGMENT, DISMISSAL WITH PREJUDICE. ...................... 79

16.   COOPERATION OF PARTIES AS TO CONSUMMATION OF SETTLEMENT........ 81

17.   COOPERATION OF PARTIES AS TO SUPPORT OF SETTLEMENT. ...................... 81

18.   CONTINUING JURISDICTION. .................................................................................... 81

19.   STAY OR ADJOURNMENT OF ALL PROCEEDINGS. .............................................. 82

20.   DUTIES OF ECONOMIC CLASS COUNSEL. .............................................................. 82

21.   ILLEGALITY OR UNENFORCEABILITY OF PROVISIONS. .................................... 83

22.   PRESERVATION OF CONFIDENTIAL DOCUMENTS. ............................................. 85

23.   INTERPRETATION......................................................................................................... 86

24.   NO PENALTY OR FINE. ................................................................................................ 86

25.   AGREEMENT MUTUALLY PREPARED. .................................................................... 86

26.   BINDING AND ENTIRE AGREEMENT. ...................................................................... 87

27.   RECEIPT OF ADVICE OF COUNSEL. ......................................................................... 87

28.   EXTENSION OF TIME AND MINISTERIAL CHANGES. .......................................... 87

29.   EXECUTION OF AGREEMENT IN COUNTERPARTS. ............................................. 87

30.   DECEASED, DISSOLVED OR BANKRUPT CLASS MEMBERS. ............................. 88

31.   MINOR AND INCOMPETENT CLASS MEMBER SETTLEMENT PROVISION. .... 88

32.   NO TAX ADVICE. .......................................................................................................... 89

33.   NO OTHER RIGHTS OR REMEDIES. .......................................................................... 90

34.   NOTICE ............................................................................................................................ 90

35.   WAIVER........................................................................................................................... 91

36.   APPLICABLE LAW ........................................................................................................ 91

37.   GUARANTOR ................................................................................................................. 91

38.   DEFINITIONS.................................................................................................................. 91




                                                                  ii
    Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 4 of 123




        ECONOMIC AND PROPERTY DAMAGES SETTLEMENT AGREEMENT

                                         (Subject to Court Approval)



         This AGREEMENT,1 dated as of April 18, 2012, is made and entered into by and
among (i) defendants BP Exploration & Production Inc. and BP America Production Company
(hereinafter the “BP PARTIES”), by and through their attorneys, and (ii) PLAINTIFFS, on
behalf of the ECONOMIC AND PROPERTY DAMAGES SETTLEMENT CLASS, by and
through the INTERIM CLASS COUNSEL, in the DEEPWATER HORIZON ECONOMIC
LITIGATION. The purpose of this Agreement is to settle all and only the RELEASED
CLAIMS of the Economic Class, PLAINTIFFS, and ECONOMIC CLASS MEMBERS
against all and only the RELEASED PARTIES.

                                                    RECITALS
         A.       BP Exploration & Production Inc. and BP America Production Company are
corporations organized under the laws of the State of Delaware, engaged in the business of oil
and gas production, exploration and/or development.

         B.       ECONOMIC CLASS REPRESENTATIVES are the named plaintiffs in the
Amended Economic and Property Damage Class Complaint (the “ACTION”) entitled Bon
Secour Fisheries, Inc., et al. v. BP Exploration & Production Inc., et al., No. 12-970, filed May
2, 2012 in the COURT.

         C.       The Action alleges federal statutory and maritime claims, including violations of
the Oil Pollution Act, negligence, gross negligence, willful misconduct, strict liability,
negligence per se, nuisance, and other claims. Plaintiffs in the Action seek compensatory
damages, punitive damages, other damages and declaratory relief on behalf of themselves and
the Economic Class Members, and all such claims, damages and theories of liability, unless
expressly reserved, are extinguished, discharged and released by the terms of this Agreement.



1
 The first time defined terms appear in this Agreement, they are set forth in bold and all capital letters for emphasis.
Thereafter, they are set forth with initial capital letters only.



                                                         -1-
  Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 5 of 123




        D.      Plaintiffs contend they would prevail in litigation. BP disputes and denies the
Plaintiffs’ claims, has raised various affirmative and legal and other defenses, and contends that
it would prevail in litigation.

        E.      After careful consideration, Plaintiffs, Interim Class Counsel and the
PROPOSED ECONOMIC CLASS COUNSEL have concluded that it is in the best interests of
Plaintiffs and the Economic Class to compromise and settle certain claims asserted by the
Economic Class against BP and other Released Parties in the Deepwater Horizon Economic
Litigation in consideration of the terms and benefits of the SETTLEMENT set forth in this
Agreement. After arm’s length negotiations with BP’s COUNSEL, Plaintiffs and Proposed
Economic Class Counsel have considered, among other things, (1) the complexity, expense, and
likely duration of the litigation; (2) the stage of the litigation and amount of discovery
completed; (3) the potential for Plaintiffs or BP prevailing on the merits; and (4) the range of
possible recovery and certainty of damages; and have determined the Agreement is fair,
reasonable, adequate and in the best interests of Plaintiffs and the Economic Class Members.

        F.      BP has concluded that, in light of the costs, risks, burden, and delay of litigation,
Settlement in this complex litigation is appropriate. In this regard, BP and BP’s Counsel agree
that this Agreement is fair, reasonable, and an adequate resolution of the Deepwater Horizon
Economic Litigation.

        G.      The PARTIES agree that this Agreement is subject to the EFFECTIVE DATE.
Nevertheless, to facilitate the expeditious resolution of CLAIMS for the benefit of the Economic
Class, the Parties have agreed to a TRANSITION PROCESS, and for the establishment of a
Court-supervised settlement program to take effect within thirty days of the PRELIMINARY
APPROVAL ORDER (or as otherwise ordered by the Court).

        H.      The Parties further agree that an Economic Class Member determined to qualify
for one or more SETTLEMENT PAYMENTS shall have the option to receive prompt payment
of such compensation prior to the Effective Date upon the execution of an INDIVIDUAL
RELEASE. The BP Parties’ obligation to make Settlement Payments to any qualifying
Economic Class Member who signs an Individual Release prior to the Effective Date, and the



                                                  2
  Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 6 of 123




terms of every such Individual Release, shall be fully enforceable, binding and irrevocable,
regardless of whether the Effective Date occurs.

       NOW THEREFORE, it is agreed that the foregoing recitals are hereby expressly
incorporated into this Agreement, and made a part hereof, and further, that in consideration of
the agreements, promises, and mutual covenants, representations and warranties set forth in this
Agreement; the benefits, payments, assignments and RELEASE described in this Agreement;
the entry by the Court of a FINAL ORDER AND JUDGMENT as described below; and for
such other good and valuable consideration the receipt and sufficiency of which is hereby
acknowledged, this Action shall be settled, compromised and resolved as between BP, the
Released Parties and the Economic Class under and subject to the following terms and
conditions:




1. CLASS DEFINITION.
          Economic and Property Damages Settlement Class shall mean the NATURAL
PERSONS and ENTITIES defined in this Section 1, subject to the EXCLUSIONS in Section 2
below. If a person or entity is included within the geographical descriptions in Section 1.1 or
Section 1.2, and their claims meet the descriptions of one or more of the Damage Categories
described in Section 1.3, that person or entity is a member of the Economic and Property
Damages Settlement Class, unless the person or entity is excluded under Section 2:

   1.1.         Individuals. Unless otherwise specified, all Natural Persons residing in the
                United States who, at any time between April 20, 2010 and April 16, 2012, lived
                in, worked in, were offered and accepted work in, owned or leased real or
                personal property located within, or owned or leased or worked on a vessel
                harbored or HOME PORTED in the States of Louisiana, Mississippi, or
                Alabama, the counties of Chambers, Galveston, Jefferson and Orange in the State
                of Texas, or the counties of Bay, Calhoun, Charlotte, Citrus, Collier, Dixie,
                Escambia, Franklin, Gadsden, Gulf, Hernando, Hillsborough, Holmes, Jackson,
                Jefferson, Lee, Leon, Levy, Liberty, Manatee, Monroe, Okaloosa, Pasco, Pinellas,
                Santa Rosa, Sarasota, Taylor, Wakulla, Walton and Washington in the State of

                                                   3
    Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 7 of 123




                 Florida, including all adjacent Gulf waters, bays, estuaries, straits, and other tidal
                 or brackish waters within the States of Louisiana, Mississippi, Alabama, or those
                 described counties of Texas or Florida (the “GULF COAST AREAS”) (Exhibit
                 22), or the U.S. waters of the Gulf of Mexico and all adjacent bays, estuaries,
                 straits, and other tidal or brackish waters within the Gulf Coast Areas, as
                 specifically shown and described in Exhibit 23 (“SPECIFIED GULF
                 WATERS”), or worked on a vessel in Specified Gulf Waters after April 20, 2009.
                 With respect to SEAFOOD CREW2 Claims, persons must have worked on a
                 vessel that landed SEAFOOD in the Gulf Coast Areas after April 20, 2009.

     and

     1.2.        Entities. All Entities doing business or operating in the Gulf Coast Areas or
                 Specified Gulf Waters that:

            1.2.1.     at any time from April 20, 2010 to April 16, 2012, owned, operated, or
                       leased a physical facility in the Gulf Coast Areas or Specified Gulf Waters
                       and (A) sold products in the Gulf Coast Areas or Specified Gulf Waters (1)
                       directly to CONSUMERS or END USERS of those products or (2) to
                       another Entity that sold those products directly to Consumers or End Users
                       of those products, or (B) regularly purchased Seafood harvested from
                       Specified Gulf Waters in order to produce goods for resale;

            1.2.2.     are service businesses with one or more full-time employees (including
                       owner-operators) who performed their full-time services while physically
                       present in the Gulf Coast Areas or Specified Gulf Waters at any time from
                       April 20, 2010 to April 16, 2012; or

            1.2.3.     owned, operated, or leased a vessel that (1) was Home Ported in the Gulf
                       Coast Areas at any time from April 20, 2010 to April 16, 2012, or (2)
                       landed Seafood in the Gulf Coast Areas at any time from April 20, 2009 to

2
 See Seafood Distribution Chain Definitions, Exhibit 3. Exhibit 3 contains definitions for a wide variety of
participants in the Seafood industry, including Seafood Crew, Commercial Fisherman, Oyster Leaseholders, and
Seafood Vessel Owner.

                                                       4
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 8 of 123




                    April 16, 2012; or

        1.2.4.      owned or leased REAL PROPERTY in the Gulf Coast Areas at any time
                    from April 20, 2010 to April 16, 2012;

 1.3.        Individuals and Entities who meet the geographical descriptions of Sections 1.1 or
             1.2 above are included in the Economic Class only if their Claims meet the
             descriptions of one or more of the Damage Categories described below.

        1.3.1.      The following are summaries of the Damage Categories, which are fully
                    described in the attached Exhibits 1A-15:

         1.3.1.1.    SEAFOOD COMPENSATION PROGRAM. Damages suffered by a
                     COMMERCIAL FISHERMAN, Seafood Crew, or SEAFOOD
                     VESSEL OWNER that owned, operated, leased or worked on a vessel
                     that (1) was Home Ported in the Gulf Coast Areas at any time from April
                     20, 2010 to April 16, 2012, or (2) Landed Seafood in the Gulf Coast Areas
                     at any time from April 20, 2009 to April 16, 2012; and damages suffered
                     by, inter alia, OYSTER LEASEHOLDERS and IFQ Owners. (Exhibit
                     10). Claims for Economic Damage arising from the fishing, processing,
                     selling, catching, or harvesting of menhaden (or “pogy”) fish are excluded
                     from the Seafood Compensation Program and other Economic Damage
                     Claims under this Agreement.

         1.3.1.2.    Economic Damage Category. Loss of income, earnings or profits suffered
                     by Natural Persons or Entities as a result of the DEEPWATER
                     HORIZON INCIDENT, subject to certain Exclusions. (Exhibits 16-19)

         1.3.1.3.    Subsistence Damage Category. Damages suffered by Natural Persons
                     who fish or hunt to harvest, catch, barter, consume or trade Gulf of
                     Mexico natural resources, including Seafood and GAME, in a traditional
                     or customary manner, to sustain their basic or family dietary, economic
                     security, shelter, tool or clothing needs, and who relied upon Subsistence
                     resources that were diminished or restricted in the geographic region used

                                               5
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 9 of 123




                 by the CLAIMANT due to or resulting from the Deepwater Horizon
                 Incident. (Exhibit 9)

      1.3.1.4.   VoO Charter Payment Category. Damages suffered by Natural Persons or
                 Entities who registered to participate in BP’s Vessels of Opportunity
                 (“VoO”) program and executed a VoO MASTER VESSEL CHARTER
                 AGREEMENT with BP, Lawson, USMS, USES, DRC, or any other BP
                 subcontractor as CHARTERER, and completed the initial VoO training
                 program.

      1.3.1.5.   Vessel Physical Damage Category. Physical damage that was sustained
                 by an eligible Claimant’s eligible vessel due to or resulting from the
                 Deepwater Horizon Incident or the Deepwater Horizon Incident response
                 cleanup operations, including the Vessels of Opportunity Program.
                 (Exhibit 14)

      1.3.1.6.   Coastal Real Property Damage Category. Damages alleged by a Coastal
                 Real Property Claimant that meet the requirements set forth in the Coastal
                 Real Property Claim Framework.

      1.3.1.7.   Wetlands Real Property Damage Category. Damages alleged by a
                 Wetlands Real Property Damage Claimant that meet the requirements set
                 forth in the Wetlands Real Property Claim Framework.

      1.3.1.8.   Real Property Sales Damage Category. Damages alleged by a Real
                 Property Sales Claimant that meet the requirements set forth in the Real
                 Property Sales Framework.

      1.3.1.9.   Individuals/Employees in Otherwise Excluded Oil and Gas, Gaming,
                 Banking, Insurance, Funds, Defense Contractors, Developers Industries,
                 and any Entity selling or marketing BP-branded fuel (including jobbers
                 and branded dealers): As more fully described in Exhibit 16 and Section
                 5.10 below, individuals and employees of businesses and employers in
                 these otherwise excluded industries described in Section 2 may submit

                                           6
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 10 of 123




                   Claims for Economic Damage outside of these excluded industries, and
                   may pursue all other recovery permitted under other aspects of the
                   Settlement.

       1.3.1.10.   Individuals/Employees in Support Services to Oil and Gas Industry: As
                   more fully described in Exhibit 16 and Section 5.10 below, individuals
                   and employees of businesses/employers in the SUPPORT SERVICES
                   TO OIL AND GAS INDUSTRY, described in Exhibit 16 may submit
                   Claims for Economic Damage incurred as a result of their employment
                   in the Support Services to Oil and Gas Industry for (i) non-moratoria
                   business interruption from Support Services to Oil and Gas Industry
                   activities and (ii) non oil and gas industry Economic Damages due to or
                   resulting from the Deepwater Horizon Incident, except for moratoria
                   claims. As is also more fully described in Exhibit 16, these individuals
                   and employees may also pursue Claims for other Economic Damage
                   outside the Support Service to Oil and Gas Industry, and may pursue all
                   other recovery permitted under other aspects of the Settlement.

       1.3.1.11.   Businesses/Employers in Otherwise Excluded Gaming, Banking,
                   Insurance, Funds, Defense Contractors and Developers Industries: As
                   more fully described in Exhibit 16 and Section 5.10 below, businesses and
                   employers in these otherwise excluded industries described in Section 2
                   may submit Claims only for Coastal Real Property Damage and Wetlands
                   Real Property Damage, but are not entitled to recover under any other
                   aspect of the Settlement.

       1.3.1.12.   Businesses/Employers in Support Services to Oil and Gas Industry: As
                   more fully described in Exhibit 16 and Section 5.10 below, businesses and
                   employers in the “Support Services to Oil and Gas Industry,” described in
                   Exhibit 16, may submit Claims for (i) non-moratoria business interruption
                   from Support Services to Oil and Gas Industry activities and (ii) non-
                   oil and gas industry Economic Damages arising out of, due to, resulting


                                               7
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 11 of 123




                     from, or relating in any way to, directly or indirectly, the Deepwater
                     Horizon Incident, except for moratoria claims, and may pursue all other
                     recovery permitted under other aspects of the Settlement.



2. EXCLUSIONS FROM THE ECONOMIC AND PROPERTY DAMAGES
   SETTLEMENT CLASS DEFINITION.
  2.1.        Notwithstanding the above, the following individuals and Entities, including any
              and all of their past and present predecessors, successors, personal
              representatives, agents, trustees, insurers, reinsurers, indemnitors, subrogees,
              assigns, and any other Natural Person, legal or juridical person or Entity entitled
              to assert any Claim on behalf of or in respect of any such individual or Entity in
              their respective capacities as such are excluded from the Economic Class.

  2.2.        Excluded Individuals or Entities:

         2.2.1.    Any Economic Class Member who or which timely elects to be excluded
                   from the Economic Class under the deadlines and procedures to be set forth
                   in the ECONOMIC AND PROPERTY DAMAGES SETTLEMENT
                   CLASS ACTION SETTLEMENT NOTICE.

         2.2.2.    Defendants in MDL 2179, and individuals who are current employees, or
                   who were employees during the CLASS PERIOD, of BP or other
                   defendants in MDL 2179.

         2.2.3.    The Court, including any sitting judges on the United States District Court
                   for the Eastern District of Louisiana, their law clerks serving during the
                   pendency of the MDL, and members of any such judge’s or current law
                   clerk’s immediate family.

         2.2.4.    The following exclusions are based on the substantive nature of the
                   business, not the legal or juridical form of that business. Any of the
                   following types of Entity, or any Natural Person to the extent he or she
                   alleges Economic Damage based on their employment by such an Entity,

                                                  8
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 12 of 123




                  during the Class Period are excluded:

       2.2.4.1.    Financial Institutions as identified in the NAICS codes listed on Exhibit
                   18, which include, by way of example, commercial banks; savings
                   institutions; credit card issuers; credit insurers; factors or other sales
                   finance entities; financial or investment advisers or portfolio managers;
                   fund managers; investment banking entities; lending institutions; real
                   estate mortgage or lending entities; brokers or dealers of securities,
                   commodities, commodity contracts or loans; securities or commodities
                   exchanges; entities serving as custodians, fiduciaries or trustees of
                   securities or other financial assets; or entities engaged in other financial
                   transaction intermediation, processing, reserve or clearinghouse activities,
                   provided, that the following shall not be excluded solely pursuant to this
                   Section 2.2.4.1 unless they are subject to a different exclusion: stand-
                   alone ATMs, credit unions, pawn shops, businesses engaged
                   predominantly in making payday loans or paycheck advances and
                   businesses that sell goods and services and offer financing on these
                   purchases to their customers.

       2.2.4.2.    Funds, Financial Trusts, and Other Financial Vehicles, as identified in the
                   NAICS codes listed on Exhibit 18, after giving effect to the bracketed
                   exceptions contained in NAICS Codes 525920 and 523991, which
                   include by way of example, public-open end investment funds; investment
                   funds; real estate investment trusts; REMICS; mutual funds; money
                   market funds; derivatives; health and welfare funds; insurance funds;
                   pension funds; financial trusts; and special purpose financial vehicles
                   provided, that successions, estates, testamentary trusts, trusts of Natural
                   Persons, bankruptcy estates, limited liability companies, corporations,
                   Sub-Chapter “S” corporations, partnerships, limited partnerships, joint
                   ventures, and any other businesses or juridical Entities, shall not be
                   excluded pursuant to this Section 2.2.4.2 solely by reason of their form of
                   legal or juridical structure or organization, except to the extent they are

                                              9
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 13 of 123




                  excluded pursuant to another exclusion in Section 2.2 of this Agreement.

       2.2.4.3.   Gaming, as identified in the NAICS codes listed on Exhibit 18, which
                  includes, by way of example, casinos; casino hotels; off-track betting
                  parlors; racetracks and other gambling establishments provided, that the
                  following shall not be excluded solely pursuant to this Section 2.2.4.3
                  unless they are subject to a different exclusion: (a) bingo parlors, and (b)
                  video gaming at bars, bingo parlors, hotels, off-track betting parlors,
                  racetracks, restaurants and truck stops.

       2.2.4.4.   Insurance Entities, as identified in the NAICS codes listed on Exhibit 18,
                  which include, by way of example, insurance carriers issuing disability,
                  health, life, medical, property and casualty, title or other insurance;
                  reinsurers; insurance agencies and brokerages; underwriting agencies or
                  organizations; claims adjusters and processors; third-party insurance or
                  fund administrators; or other insurance-related businesses.

       2.2.4.5.   Oil and Gas Industry, as identified in the NAICS codes listed on Exhibit
                  17, which includes by way of example, firms engaged in: extracting crude
                  petroleum, natural gas or other hydrocarbons; drilling wells; preparing,
                  maintaining or constructing petroleum or natural gas well-sites or other
                  mineral extraction sites; mining; maintaining or constructing petroleum or
                  natural gas pipeline or distribution facilities; pipeline distribution of crude
                  petroleum, refined petroleum, oil or natural gas; petroleum or natural gas
                  refining or other mineral refining and/or manufacturing; manufacturing
                  petroleum lubricating oil and grease, petrochemical products, or other
                  petroleum and coal products or chemical products derived from extracted
                  minerals; merchant wholesaling of construction and mining (except oil
                  well) machinery and equipment; wholesale distribution of oil well
                  machinery, equipment and supplies; wholesale distribution of petroleum,
                  petroleum products, other extracted minerals, chemical products produced
                  from extracted or refined minerals, petroleum bulk stations and terminals,


                                            10
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 14 of 123




                   petroleum and petroleum products merchant wholesalers.

       2.2.4.6.    Defense Contractors/Subcontractors, including firms which derive in
                   excess of at least 50% of their annual revenue from contracts with the
                   United States Department of Defense and Individuals whose employer
                   qualifies as a Defense Contractor.

       2.2.4.7.    Real Estate Developers, including any Natural Person or Entity that
                   develops commercial, residential or industrial properties. This includes,
                   but is not limited to, any Entity developing an entire subdivision (as
                   defined by the law of the state in which the parcel is located) of Real
                   Property, including condominiums with multiple residential units and/or a
                   residential subdivision with contiguous home sites and homes, provided,
                   however, that Real Estate Developers shall be eligible to assert Coastal
                   Real Property Claims under Section 5.7 and Real Property Sales Damage
                   Claims under Section 5.9.

       2.2.4.8.    Any Entity selling or marketing BP-branded fuel, including jobbers and
                   branded dealers.

     2.2.5.       GOVERNMENTAL ORGANIZATIONS, as defined in this Agreement,
                  provided that Native American tribal Entities may consent to participate in
                  the Settlement as to otherwise eligible Claims.

     2.2.6.       Any Natural Person or Entity who or that made a claim to the GCCF, was
                  paid and executed a GCCF RELEASE AND COVENANT NOT TO
                  SUE, provided, however, that the execution of a GCCF Release and
                  Covenant Not to Sue shall not prevent a Natural Person or Entity from
                  making a VoO Charter Payment Claim or a Vessel Damage Claim, nor shall
                  a release covering only bodily injury prevent a Natural Person from making
                  Claims under this Agreement.




                                             11
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 15 of 123




3. EXPRESSLY RESERVED CLAIMS.
          The following Claims are not recognized or released under the Agreement, and are
reserved to the Economic Class Members:

   3.1.          BODILY INJURY CLAIMS, which are excluded from the Economic Class, but
                 certain of which may be asserted in the Medical Benefits Class Action Settlement
                 referenced herein.

   3.2.          Claims of BP shareholders in any derivative or direct action solely in their
                 capacity as a BP shareholder.

   3.3.          Claims of Natural Persons and Entities for MORATORIA LOSSES.

   3.4.          Claims relating to menhaden (or “pogy”) fishing, processing, selling, catching, or
                 harvesting.

   3.5.          Claims for Economic Damage suffered by Entities or employees (to the extent
                 they allege Economic Damage based on their employment by such Entity during
                 the Class Period) in the Banking, Gaming, Financial, Insurance, Oil and Gas, Real
                 Estate Development, Defense Contractor Industries, and Entities selling or
                 marketing BP-branded fuel (including jobbers and branded dealers) as defined in
                 Section 2.2.

   3.6.          Claims of the Economic Class, Plaintiffs, and Economic Class Members for
                 punitive damages against HALLIBURTON and TRANSOCEAN are reserved.

   3.7.          The Economic Class, Plaintiffs and Economic Class Members, but only through
                 the Economic Class, specifically reserve its and their rights to assert the Assigned
                 Claims against Transocean and Halliburton subject to Exhibit 21.

4. IMPLEMENTATION OF THE SETTLEMENT.
   4.1.          Establishment of DEEPWATER HORIZON COURT SUPERVISED
                 SETTLEMENT PROGRAM. The Parties shall jointly make arrangements to
                 establish the Deepwater Horizon Court Supervised Settlement Program


                                                  12
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 16 of 123




             (“SETTLEMENT PROGRAM”) prior to the Court entering the Preliminary
             Approval Order.

 4.2.        Transition Claims Process.

        4.2.1.    In its First Amended Order Creating Transition Process, entered by the
                  Court on March 8, 2012 (Doc. 5995), and clarified in its March 14, 2012
                  Order (Doc. 6049), the Court appointed Patrick Juneau as the CLAIMS
                  ADMINISTRATOR (subject to commercial terms) of the TRANSITION
                  PROCESS and the proposed Settlement Program, and Lynn Greer as
                  TRANSITION COORDINATOR of the Transition Process. The
                  processes set forth in this Section 4.2 are based on the transition orders
                  already entered by the Court and will be subject to any further such orders
                  which the Court may enter with regard to the Transition Process.

        4.2.2.    In supervising the transition, the Court, in its March 8, 2012 First Amended
                  Order Creating Transition Process, has directed the Claims Administrator
                  and Transition Coordinator to cause the Transition Process to be
                  implemented in an orderly, transparent and timely manner. The Court has
                  directed the Transition Coordinator to evaluate claims currently pending
                  with the GCCF and evaluate any new claims submitted before the
                  Settlement Program agreed to by the Parties is opened, and, where
                  appropriate under the existing GCCF rules, methodologies, and protocols, to
                  pay the amounts set forth in the Court’s March 8, 2012 First Amended
                  Order Creating Transition Process. The Court has directed that the
                  evaluation and processing of claims during the Transition Process shall be
                  performed by Garden City Group, Inc., BrownGreer PLC,
                  PricewaterhouseCoopers LLP and other service providers as identified by
                  the Claims Administrator and the Transition Coordinator. The Court has
                  further directed the Claims Administrator to periodically and upon request
                  report to the Court, BP, and Interim Class Counsel regarding all matters
                  relating to the operation of the Transition Process.


                                              13
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 17 of 123




     4.2.3.       As set forth in the Court’s First Amended Order Creating Transition
                  Process, for all Transition Claims where the claimant has not been paid and
                  has not executed a GCCF RELEASE AND COVENANT NOT TO SUE
                  that was received by the GCCF as of 11:59 p.m., EST, on February 26,
                  2012, the following applies:

       4.2.3.1.    If a non-expired GCCF offer was pending as of March 8, 2012, and if the
                   claimant elects to accept the offer, then the Transition Process will pay
                   60% of the offer on an interim basis without requiring a release. If the
                   claimant receiving the 60% payment is an Economic Class Member, the
                   claimant has a right to additionally recover from the Settlement Program
                   the greater of: (a) the remaining 40% of the GCCF offer, or (b) the
                   Economic Class Settlement Payment minus any amount previously paid
                   by the Transition Process, in either case in exchange for an Individual
                   Release in the form attached hereto as Exhibit 26, which shall contain
                   terms substantially similar to the Release described in Section 10.
                   However, if the claimant receiving the 60% payment is not an Economic
                   Class Member or OPTS OUT of the Economic Class without
                   participating in the Settlement Class CLAIMS PROCESSES (i.e., prior
                   to submitting an Economic Class CLAIM FORM) then the claimant may
                   (a) request to be paid the remaining 40% of the GCCF offer subject to
                   executing a release, or (b) elect to pursue any and all claims and rights
                   available under applicable law.

       4.2.3.2.    If a PENDING UNRESOLVED GCCF CLAIM is in process, the
                   Transition Process will continue processing that claim. If the Transition
                   Process extends an offer by the BP Parties before the Settlement Program
                   is processing Claims, the Transition Process will pay 60% of the offer
                   without requiring a release. If the claimant receiving the 60% payment is
                   an Economic Class Member, the claimant has a right to additionally
                   recover from the Settlement Program the greater of: (a) the remaining
                   40% of the GCCF offer, or (b) the Class Settlement Payment minus any

                                            14
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 18 of 123




               amount previously paid by the Transition Process, in either case in
               exchange for an Individual Release. However, if no GCCF offer has been
               extended by the Transition Process to the Economic Class Member by the
               time the Settlement Program starts processing Claims, then, if the claimant
               completes a Claim Form the Claim shall be processed under the terms of
               the Class Settlement by the Settlement Program. However, if the claimant
               receiving the 60% payment is not an Economic Class Member or Opts Out
               of the Economic Class without participating in the Settlement Class
               Claims Processes (i.e., prior to submitting an Economic Class Claim
               Form) then the claimant may (a) request to be paid the remaining 40% of
               the GCCF offer subject to executing a release, or (b) elect to pursue any
               and all claims and rights available under applicable law.

     4.2.4.   For claims eligible for the GCCF quick pay program, the Court has directed
              that: A. The Transition Coordinator shall issue a letter to all claimants
              eligible to participate in the GCCF quick pay program who have not
              previously executed a GCCF Release and Covenant Not to Sue notifying
              them that the quick pay program shall terminate on May 7, 2012. The letter
              shall further advise of the option to either submit a claim under the
              applicable Transition Claims Process set forth above, or accept the quick
              pay in exchange for a release. The letter shall be clear that the claimant has
              the right to choose the greater offer if a payment under the Transition
              Process is offered before May 7, 2012; and B. All claimants eligible to elect
              a quick pay must do so on or before May 7, 2012.

     4.2.5.   Economic Class Members with expired offers from the GCCF are not
              eligible for transition payments, but can file a Claim in the Settlement
              Program. Economic Class Members with expired offers from the GCCF
              who Opt Out of the Economic Class shall be deemed to have satisfied the
              presentment requirements under the Oil Pollution Act of 1990 (“OPA”).

     4.2.6.   The Transition Coordinator shall process and issue interim payments


                                         15
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 19 of 123




                  pursuant to the current GCCF rules as amended by the Court’s March 8,
                  2012 Order until the date on which the Settlement Program commences
                  processing Claims. Economic Class Member recipients of interim payments
                  during this period shall also have the right to submit a Claim to the
                  Settlement Program. Any Claimant who is an Economic Class Member and
                  who has a Transition Claim for interim payment that is in process at the time
                  the Settlement Program is processing Claims shall have the right to submit a
                  Claim to the Settlement Program, but shall not receive any interim payment
                  from the Transition Process. Any interim payments made by the Transition
                  Process to a Claimant shall reduce the amount of that Claimant’s Settlement
                  Payment from the Settlement Program. When the Settlement Program
                  begins processing Claims, there will be no right to request or receive interim
                  payments from the Transition Process or the Settlement Program.

        4.2.7.    Transition payments made by the Transition Process during the Transition
                  Process and transition payments made by the Settlement Program to
                  Economic Class Members that are Commercial Fishermen, Seafood Crew,
                  SEAFOOD BOAT CAPTAINS, SEAFOOD DECKHANDS, Oyster
                  Leaseholders, and SEAFOOD VESSEL OWNERS shall reduce, dollar for
                  dollar, the $2.3 billion amount for the Seafood Compensation Program.

        4.2.8.    Transition Claims paid in connection with the Transition Process shall be
                  paid from the DEEPWATER HORIZON OIL SPILL TRUST. BP is
                  hereby authorized to take any necessary actions with regard to the
                  Deepwater Horizon Oil Spill Trust to permit the payment of claims in
                  connection with the Transition Process.

        4.2.9.    In its March 14, 2012 Order clarifying the Court’s First Amended Order of
                  March 8, 2012, the Court clarified that nothing in that Order shall prevent
                  any defendant from settling a “Bundle A” personal injury and/or wrongful
                  death case.

 4.3.        Claims Administrator.

                                             16
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 20 of 123




     4.3.1.   The Claims Administrator shall be selected and appointed by the Court, and
              shall be responsible to the Court, serve as directed by the Court, and
              faithfully implement and administer the Settlement, according to its terms
              and procedures, for the benefit of the Economic Class, consistent with this
              Agreement, and/or as agreed to by the Parties and/or as approved by the
              Court.

     4.3.2.   The Claims Administrator shall head the Settlement Program, oversee and
              supervise the CLAIMS ADMINISTRATION VENDORS (including any
              subcontractors) and staff in the processing and payment of Claims, report
              and provide information to the Court, BP, and/or LEAD CLASS
              COUNSEL (or their designee) as may be requested on an ongoing basis
              and/or as the Court directs, and participate on the Claims Administration
              Panel. The Court shall retain ongoing and exclusive jurisdiction over the
              Settlement Program until the consideration and determination of all Claims
              is complete and the Settlement Program is terminated by the Court.

     4.3.3.   Should the Court determine at any time that the Claims Administrator needs
              to be replaced, Lead Class Counsel or their designee and BP will agree to
              make a joint recommendation of one or more candidates for appointment by
              the Court, as Claims Administrator. They shall continue the process of joint
              recommendation as necessary until Court approval is obtained.

     4.3.4.   A three-person Claims Administration Panel shall be established consisting
              of the Claims Administrator, one representative designated by Lead Class
              Counsel and one representative designated by BP. Upon the request of any
              member of the Claims Administration Panel, it shall address and attempt to
              resolve unanimously any issues or disagreements that arise regarding the
              Claims Administrator’s oversight responsibilities, Settlement
              administration, or any other issue involving the Settlement Program. Issues
              or disagreements that cannot be unanimously resolved by the Claims
              Administration Panel will be referred to the Court for resolution.


                                         17
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 21 of 123




     4.3.5.       The initial Claims Administration Vendors agreed to by the Parties
                  (including Garden City Group, BrownGreer, PWC, and Postlewaite) have
                  been appointed by the Court and are subject to the supervision and direction
                  of the Claims Administrator. Subsequently, if the Claims Administrator
                  ever wishes to replace (in part or in whole) any such Claims Administration
                  Vendor (or subcontractor thereof) he shall seek unanimous agreement of the
                  Claims Administration Panel. If unanimous agreement is not forthcoming,
                  the Court shall resolve the issue.

     4.3.6.       Claims Administration Vendors.

       4.3.6.1.    As to any Claims Administration Vendors proposed by the Claims
                   Administrator and not identified in Section 4.3.5 and the CLAIMS
                   ADMINISTRATION STAFF, BP and Lead Class Counsel (or their
                   designee) shall meet and confer and attempt to approve such Claims
                   Administration Vendors and the Claims Administrator’s senior staff
                   proposed by the Claims Administrator. If BP and Lead Class Counsel
                   cannot agree, the Claims Administrator will present such candidates to the
                   Court for proposed appointment and retention.

     4.3.7.       The Settlement Program, including the Claims Administrator and Claims
                  Administration Vendors, shall work with Economic Class Members
                  (including individual Economic Class Members’ counsel and Class
                  Counsel) to facilitate Economic Class Members’ assembly and submission
                  of Claims Forms, including all supporting documentation necessary to
                  process Claim Forms under the applicable Claims Processes. The
                  Settlement Program, including the Claims Administrator and Claims
                  Administration Vendors, shall use its best efforts to provide Economic Class
                  Members with assistance, information, opportunities and notice so that the
                  Economic Class Member has the best opportunity to be determined eligible
                  for and receive the Settlement Payment(s) to which the Economic Class
                  Member is entitled under the terms of the Agreement.


                                              18
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 22 of 123




     4.3.8.    The Claims Administration Vendors shall evaluate and process the
               information in the completed Claim Form and all supporting documentation
               under the terms in the Economic Damage Claim Process to produce the
               greatest ECONOMIC DAMAGE COMPENSATION AMOUNT that
               such information and supporting documentation allows under the terms of
               the ECONOMIC DAMAGE CLAIM FRAMEWORK. By way of
               example, but not to be exclusive, if the Claimant selected a
               COMPENSATION PERIOD or BENCHMARK PERIOD based on
               information in a completed Claim Form and all supporting documentation
               submitted by the Claimant, but a different Compensation Period or
               Benchmark Period from the information in the submitted Claim Form and/or
               the supporting documentation results in a greater Economic Damage
               Compensation Amount under the terms of the Economic Damage Claim
               Framework, that latter, different Compensation Period and/or Benchmark
               Period shall be applied.

     4.3.9.    Subject to Section 4.3.5 above, the Claims Administrator may hire staff with
               the approval of BP and Lead Class Counsel, which consent shall not be
               unreasonably withheld.

     4.3.10.   The Settlement Program, under the supervision and direction of the Claims
               Administrator, shall implement the terms of the Agreement. The Claims
               Administrator may engage in supervision and oversight activities designed
               to ensure the implementation and integrity of the overall Settlement
               Program.

     4.3.11.   Subject to certain indemnities that the BP Parties will provide to the Claims
               Administrator and the Claims Administration Vendors in connection with
               their respective contracts to undertake the Claims administration set forth in
               this Agreement, neither the Parties (including their Affiliates, and their and
               their Affiliates’ respective heirs, beneficiaries, agents, estates, executors,
               administrators, personal representatives, subsidiaries, parents, partners,


                                           19
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 23 of 123




                  limited partners, members, joint venturers, shareholders, predecessors,
                  successors, assigns, insurers, trustees, servants, past, present or future
                  officers, directors, agents, employees and/or independent contractors, and/or
                  any other successors, assigns, or legal representatives thereof), nor any of
                  the Parties’ Counsel, nor the Plaintiffs’ Steering Committee, Co-Liaison
                  Counsel, or any Class Counsel or Interim Class Counsel (including their
                  respective heirs, beneficiaries, agents, estates, executors, administrators,
                  personal representatives, subsidiaries, parents, partners, limited partners,
                  members, joint venturers, shareholders, predecessors, successors, assigns,
                  insurers, trustees, servants, past, present or future officers, directors, agents,
                  employees and/or independent contractors, and/or any other successors,
                  assigns, or legal representatives thereof), shall be liable for any act, or
                  failure to act, of the Claims Administrator and/or the Claims Administration
                  Vendors.

        4.3.12.   Administration Costs. As set forth in Section 5.12.1, the BP Parties will be
                  responsible for paying any and all of the reasonable compensation and out-
                  of-pocket costs and expenses of the Settlement Program.

 4.4.        Process for Making Claims.

        4.4.1.    The Parties shall jointly request that the Court issue an order directing that
                  all claims-related information files and data previously submitted to the
                  GCCF and/or that has been submitted to the Transition Process shall be
                  transferred to the Settlement Program. This order shall include a provision
                  that: (a) authorizes the Settlement Program to maintain such claims-related
                  information and data for the duration of the Claims administration process;
                  and (b) authorizes the Claims Administrator to release copies of such
                  information or data to any claimant that submitted that information or data
                  upon the written request of the claimant or the claimant’s authorized
                  representative. All such information and data shall be treated by the
                  Settlement Program and the Parties and counsel as “confidential” under Pre-


                                               20
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 24 of 123




              Trial Order No. 13. The Claims Administrator shall issue a status report to
              the Court documenting the transfer of claims and claims-related
              information, files and data and thereafter issue a final report to the Court
              after the transfer of the Transition Claims, claims-related information, files
              and data is complete.

     4.4.2.   The Settlement Program shall as soon as practicable, but on a schedule to be
              established by the Claims Administrator, issue a notice to all claimants who
              (a) received and/or accepted a 60% offer pursuant to Paragraph 12 of the
              Transition Order; or (b) whose claim is still being processed at the time that
              the Transition Process terminates pursuant to Paragraph 20 of the Transition
              Order (collectively, “Pending Transition Claimants”). This notice shall
              advise the claimant of the right to participate in the Settlement Program if
              the claimant is an Economic Class Member. The Settlement Program shall
              as soon as practicable after the Claim frameworks are finalized, but on a
              schedule to be established by the Claims Administrator, review the claims-
              related information and data submitted to the GCCF and/or Transition
              Process for each Pending Transition Claimant to determine what, if any,
              additional information may be necessary or desirable for such claimants to
              pursue that claim under this Agreement. The Settlement Program shall then
              notify each such Pending Transition Claimant of what, if any, additional
              information may be necessary or desirable to pursue such claim(s) under the
              terms of the Settlement Agreement.

     4.4.3.   In the event that during the course of evaluating a Claim filed pursuant to
              Section 4.4.2, the Settlement Program determines that additional
              information is required or may be desirable to properly evaluate a Claim
              pursuant to this Settlement Agreement, nothing in Section 4.4.2 precludes
              the Settlement Program from requesting such additional information.

     4.4.4.   The deadline for submitting Claim Forms shall be April 22, 2014 or six (6)
              months after the Effective Date, whichever occurs later, other than Claims


                                          21
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 25 of 123




                  under the Seafood Compensation Program, as set forth in Sections 5.11.8
                  and 5.11.9.

     4.4.5.       Economic Class Members must submit Claim Forms to participate in the
                  Settlement Program. Each Claim Form must be signed under penalty of
                  perjury and individually signed by the Natural Person or Entity who or
                  which suffered damages. Regardless of whether Claim Forms are submitted
                  individually or in a group, each Claim Form must independently satisfy the
                  relevant requirements.

     4.4.6.       The Parties shall request the Court to enter a standing order expressly
                  providing that the signature on a Claim Form or SWORN WRITTEN
                  STATEMENT supporting a Claim can be electronic so long as the
                  electronic signature is an individual, unique signature, and that such
                  electronic signature shall have the same legal effect for all purposes in
                  connection with the Settlement as, and be deemed the equivalent of, a
                  handwritten signature. The Claims Administrator shall adopt appropriate
                  Claim procedures agreed to by the Parties, which may include acceptance of
                  electronically-filed documents, use of electronic signatures and/or Adobe
                  EchoSign, electronic funds transfer capabilities, and payment directly to
                  counsel for those Claimants who are represented by counsel and provide
                  appropriate authorization.

     4.4.7.       The Settlement Program and its Claims procedures shall be subject to the
                  ongoing supervision of the Court. The criteria, documentation, proof, and
                  COMPENSATION AMOUNT provisions of each of the Claims categories
                  shall apply equally to all Claimants regardless whether they are proceeding
                  individually, represented by others, or proceeding as an assignee of an
                  individual Claim. The Claims Administrator shall explore and consider the
                  utilization of streamlined procedures to improve the efficiency of the Claims
                  process, without changing Claims criteria.

       4.4.7.1.    With respect to Claims by any Entity, or by a Natural Person related to his

                                               22
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 26 of 123




                    or her employment by an Entity, the Settlement Program shall determine
                    the appropriate NAICS code for the Entity based on its review of (a) the
                    NAICS code shown on an Entity Claimant’s 2010 tax return, (b) 2010
                    business permits or license(s), and/or (c) other evidence of the Entity’s
                    activities necessary for the Settlement Program to determine the
                    appropriate NAICS code.

     4.4.8.        Subject to the limitations in Section 5.11.9, Claimants shall have six (6)
                   months from the date of initial payment by the Settlement Program of the
                   Claimant’s first paid Claim to file all additional Claims, provided that (1)
                   upon payment of the first paid Claim and execution of an Individual
                   Release, the Economic Class Member may not Opt Out of the Economic
                   Class; (2) the Individual Release executed upon payment of the first paid
                   Claim shall release all Claims within the Economic Class, subject only to
                   allowing submission of subsequent timely-filed Claims within the Economic
                   Class and reservation of all rights within the APPEAL PROCESS, or rights
                   reserved within the Release and (3) nothing in this Section 4.4.8 serves to
                   extend the otherwise-applicable deadline for submitting all Claim Forms.

     4.4.9.        An Economic Class Member who had a claim with the GCCF that was
                   rejected or denied by the GCCF for any reason shall be treated like any
                   other Economic Class Member submitting a Claim to the Settlement
                   Program. Specifically, there shall be no negative inference or presumption
                   of any kind as to the eligibility or right of any Economic Class Member to
                   receive a Settlement Payment under the terms of the Settlement Agreement.

     4.4.10.       Individual Releases.

       4.4.10.1.    If an Economic Class Member submits one or more Claim Forms and
                    qualifies for a Settlement Payment under the terms of the Agreement (as
                    modified or amended) as described in Section 5 below, then, prior to, and
                    as a precondition to, receiving any Settlement Payment on a Claim, the
                    Economic Class Member shall execute an Individual Release.

                                              23
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 27 of 123




       4.4.10.2.    The Individual Release, which is set forth in Exhibit 26, shall provide that
                    the Individual Release constitutes the final, complete, and exclusive
                    agreement and understanding between BP and Claimant and supersedes
                    any and all other agreements, written or oral, between BP and Claimant
                    with respect to such subject matter of the Individual Release in settlement
                    of Claims arising out of or related to the Deepwater Horizon Incident. The
                    Individual Release shall incorporate the protections from Exhibit 21. The
                    Individual Release shall remain effective regardless of any appeals or
                    court decisions relating in any way to the liability of the Released Parties
                    and regardless of whether the Effective Date occurs.

       4.4.10.3.    Subject to Economic Class Members’ rights under Section 4.4.8, and in
                    accordance with the terms of the Individual Release, Economic Class
                    Members who receive Settlement Payments shall acknowledge that the
                    Settlement Payments are in full, complete, and total satisfaction of all of
                    the Released Claims against the Released Parties, that the Settlement
                    Payments are sufficient and adequate consideration for each and every
                    term of the Individual Releases, and that those Individual Releases shall be
                    binding whether or not the Claimant receives any benefits in addition to
                    the Settlement Payments, including benefits resulting from the Assigned
                    Claims. In addition, Economic Class Members will agree that the
                    Settlement Payments are made in full, complete, and total satisfaction of
                    all of their compensatory damage claims against the TRANSOCEAN
                    PARTIES and the HALLIBURTON PARTIES, as defined in Exhibit
                    21.

       4.4.10.4.    An Individual Release may not be signed by any form of electronic
                    signature, but must be signed by a handwritten signature. An electronic
                    signature is insufficient.

     4.4.11.       The Individual Release shall provide that any and all disputes, cases, or
                   controversies concerning the Individual Release, including disputes


                                                 24
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 28 of 123




                   concerning the interpretation or enforceability of the Individual Release,
                   shall be filed in the United States District Court for the Eastern District of
                   Louisiana accompanied by a legal request for such dispute to be made part
                   of MDL 2179 (if it is still pending). No actions to enforce the Individual
                   Release shall be filed in state courts, provided, that nothing herein shall
                   preclude the assertion in a state court action of a defense based on the
                   existence of the Individual Release. Claimants and the Released Parties
                   agree not to contest the existence of federal jurisdiction in MDL 2179 (if it
                   still exists).

     4.4.12.       The Individual Release shall provide that payments made to Class Members
                   are made without any admission of liability or wrongdoing by BP or any
                   other Released Party and are made purely by way of compromise and
                   settlement.

     4.4.13.       Claimant Accounting Support. The BP Parties will reimburse reasonable
                   and necessary accounting fees related to Claims preparation, either directly
                   to the Claimant, or counsel if individually represented (and/or his or her or
                   its accountant) and/or through services made available by and through Class
                   Counsel. Accounting support reimbursement paid to a Claimant in the
                   Seafood Compensation Program shall be paid out of the SEAFOOD
                   COMPENSATION FUND. The terms conditions, guidelines and
                   restrictions of this accounting services program are as follows:

       4.4.13.1.     Subject to the terms of Section 4.4.13, all Claimants who receive
                     Settlement Payments for Economic Damage Compensation Amounts are
                     eligible for reimbursement of accounting services.

       4.4.13.2.     All reimbursable accounting fees under this Section, whether paid directly
                     to the Claimant or counsel if individually represented (and/or his or her or
                     its accountant) and/or through services made available by and through
                     Class Counsel must adhere to this reimbursement framework.



                                               25
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 29 of 123




       4.4.13.3.   Only services provided by a Certified Public Accountant, an enrolled
                   agent or an individual with an IRS Preparer Tax Identification Number
                   (PTIN), or under their direct supervision, are eligible for reimbursement.
                   While registration and licensing requirements vary by state, any retained
                   professional must have all required state professional licenses and be
                   active and held in good standing by those state regulatory bodies.

       4.4.13.4.   Retained professionals must verify that to the best of their knowledge they
                   have submitted information provided to them by the claimant on a
                   consistent basis and have not ignored the implications of information
                   known or reasonably suspected to be untrue, incomplete, inconsistent or
                   inaccurate.

       4.4.13.5.   Reimbursement will be limited to the accounting services necessary to
                   complete the claim form or prepare documentation.

       4.4.13.6.   All reasonable and necessary hours will be reimbursed up to the following
                   standard hourly rates. Review and supervision hours may not exceed 25%
                   of total time spent.


                                                     Individual Claim        Business Claim

                        Preparation                         $85                   $110

                        Supervision & Review               $130                   $160



       4.4.13.7.   INDIVIDUAL CLAIMANTS shall be reimbursed for accounting fees
                   based on actual fees incurred. The total fee may not exceed 2% of the total
                   Economic Damage Compensation Amount (excluding RTP) for
                   individual Claims over $10,000 with all other Claims limited to $200. All
                   Claims (regardless of final Claim amount) will be subject to an overall
                   accounting support reimbursement limit of $6,000.



                                            26
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 30 of 123




       4.4.13.8.    BUSINESS CLAIMANTS shall be reimbursed for accounting fees based
                    on actual fees incurred. The total fee may not exceed 2% of the total
                    Economic Damage Compensation Amount (excluding RTP) for business
                    Claims over $50,000 with all other Claims limited to $1000. All Claims
                    (regardless of final Claim amount) will be subject to an overall accounting
                    support reimbursement limit of $50,000.

       4.4.13.9.    Reimbursement requests must be itemized by date and person, and will
                    specify the work being performed on behalf of the Claimant.

       4.4.13.10. The Settlement Program shall have the right to request and review any
                    work papers (whether historical or specific to the Claim), time sheets or
                    other supporting documentation related to the Claim or request for
                    accounting support reimbursement and the reasonableness of the fees
                    pursuant to Section 4.4.13.5.

       4.4.13.11. Accounting support reimbursement will not be included in the base
                    compensation, including for purposes of applying any RTP, but shall be
                    paid over and above any compensation due under the Agreement.

     4.4.14.       The Claimant may request and receive reasonable access to his, her, or its
                   Settlement Program and/or Transition Process Claim File and supporting
                   information, but only after issuance of a Final Determination of the Claim in
                   part or in whole. Access by a Claimant to his, her, or its GCCF Claim File
                   may be granted at the discretion of the Settlement Program Administrator.
                   Claimants shall be provided reasonable access to all materials submitted by
                   or on behalf of such Claimant to the GCCF, Transition Process, and/or
                   Settlement Program. BP and Class Counsel shall have access to all Claim
                   Files and Claims-related data transferred to or generated in the Settlement
                   Program for any legitimate purpose including, without limitation, the
                   operation of BP’s separate OPA facility, prosecuting and defending appeals,
                   reviewing and auditing the Settlement Program, reporting financial results,
                   and pursuing indemnification, contribution, subrogation, insurance and other

                                              27
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 31 of 123




                   claims from third parties. However, BP and Class Counsel shall not have
                   access to any Claim Files for Claims that are being processed and have not
                   yet been resolved in the Settlement Program except if the Claim File is
                   needed by BP, a Claimant, or their counsel to prosecute or defend an
                   Appeal.

         4.4.15.   Supplemental Information Program. The Settlement will also include a
                   Supplemental Information Program, subject to approval by the Court. The
                   BP Parties will bear the expenses of the Supplemental Information Program,
                   in the amount of $5 million, which it will fund within 10 days of the
                   Preliminary Approval Order, provided the Supplemental Information
                   Program: (i) is consistent with the goals of the Economic Class Action
                   Settlement Notice Program; (ii) is approved by the Court; and (iii) its
                   content is submitted in advance for review and comment by BP. If any
                   amount of the $5 million remains unspent, that amount will revert to the
                   Promotional Fund.

         4.4.16.   The Settlement Program and its Claims procedures shall terminate upon
                   issuance of an order of the Court determining that the last Claim eligible for
                   payment has been paid and the last appeal pursuant to the Appeal Process
                   has been completed and that the Settlement Program is closed.

5. SETTLEMENT BENEFITS.

  5.1.        Plaintiffs, by and through the Interim Class Counsel, and the BP Parties agree
              that, in consideration for the Release described in Section 10 below, and the
              Individual Releases described in Section 4.4.10, and subject to the terms of this
              Agreement, including all Exhibits hereto, the BP Parties will make Settlement
              Payments to Economic Class Members or, in the event that an Economic Class
              Member is represented by counsel, then payment will be made jointly to the
              Economic Class Member and his or her counsel, unless otherwise instructed by
              the Economic Class Member and his or her counsel. (In this Section 5 and the
              Economic Damage Claim Frameworks references to payments received by the

                                               28
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 32 of 123




             Claimant from the BP Parties or the GCCF pursuant to OPA’s claims process
             shall include, but not be limited to, payments received by a Claimant from the
             Transition Process).

 5.2.        SEAFOOD COMPENSATION PROGRAM.

        5.2.1.    The Seafood Compensation Program shall cover and compensate the
                  Economic Damage Claims not otherwise excluded for Commercial
                  Fishermen, Seafood Crew, Oyster Leaseholders, and Seafood Vessel
                  Owners, as defined in Exhibit 3, for individual or business Economic
                  Damage Claims arising out of their commercial fishing related activities.
                  The Seafood Compensation Program shall be funded with the SEAFOOD
                  COMPENSATION PROGRAM AMOUNT and operated under a process
                  approved by the Court-appointed Neutral, John W. Perry, Jr. and
                  implemented by the Settlement Program.

        5.2.2.    Within the Seafood Compensation Program, no previous compensation paid
                  to the Claimant by the BP Parties or another Charterer in connection with
                  the VoO Program shall be considered, and neither the VoO Settlement
                  Payment Offset nor the VoO Earned Income Offset shall apply.

        5.2.3.    The terms of the Seafood Compensation Program are set forth in Exhibit 10
                  to this Agreement.

 5.3.        ECONOMIC DAMAGE COMPENSATION.

        5.3.1.    The ECONOMIC DAMAGE CLAIM PROCESS, ECONOMIC
                  DAMAGE CLAIM FRAMEWORKS, and other details for determining
                  the ECONOMIC DAMAGE COMPENSATION AMOUNTS are set
                  forth in the Exhibits to the Agreement, which are incorporated herein by
                  reference. All exhibits to this Agreement shall be read together with this
                  Agreement.

        5.3.2.    BUSINESS ECONOMIC LOSS.

                                             29
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 33 of 123




       5.3.2.1.    Overview. The frameworks setting forth the documentation requirements
                   governing BUSINESS ECONOMIC LOSS CLAIMS, and the standards
                   for evaluating such Claims and determining compensation for such
                   Claims, are set forth in Exhibits 4A-7 to the Agreement. To account for
                   specific circumstances of particular types of business Claims, the
                   frameworks include separate specialized frameworks addressing Business
                   Economic Loss Claims by MULTI-FACILITY BUSINESSES (Exhibit
                   5), FAILED BUSINESSES (Exhibit 6), and START-UP BUSINESSES
                   (Exhibit 7). Sections 5.3.2, 5.3.3, 5.3.4 and 5.3.5 identify the exhibits
                   containing those frameworks, which apply to businesses, or to self-
                   employed individuals filing IRS Form 1040 Schedules C, E, or F for the
                   2010 calendar year or any part of a fiscal year in 2010, except for (i) those
                   covered under the Seafood Compensation Program, (ii) VoO Claims, or
                   (iii) Subsistence Claims.

       5.3.2.2.    Documentation Requirements For Business Economic Loss Claims
                   Generally are set forth in Exhibit 4A.

       5.3.2.3.    Causation Requirements For Business Economic Loss Claims Generally.
                   Business Economic Loss Claimants, unless causation is presumed, must
                   establish that their loss was due to or resulting from the Deepwater
                   Horizon Incident. The causation requirements for such Claims are set
                   forth in Exhibit 4B.

       5.3.2.4.    The compensation methodology for Business Economic Loss Claims
                   generally is set forth in Exhibits 4C-4E.

     5.3.3.       Multi-Facility Businesses. The Claim options for Multi-Facility Businesses,
                  are set forth in Exhibit 5.

     5.3.4.       Failed Businesses. The framework governing Claims of Failed Businesses is
                  set forth in Exhibit 6. That framework also applies to FAILED START-
                  UP BUSINESSES.


                                                30
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 34 of 123




        5.3.5.      Start-Up Businesses. The framework governing Claims by Start-Up
                    Businesses (other than property development, construction or real estate
                    development businesses) is set forth in Exhibit 7.

        5.3.6.      INDIVIDUAL ECONOMIC LOSS.

         5.3.6.1.    The framework setting forth the documentation, causation and
                     compensation requirements governing INDIVIDUAL ECONOMIC
                     LOSS CLAIMS, and the standards for evaluating such Claims and
                     determining compensation for such Claims, are set forth in Exhibit 8A-8E
                     to the Agreement. The framework addresses Claims by individuals with
                     varying employment circumstances and amounts of documentation, and
                     includes specialized provisions governing Claims by individuals who
                     changed jobs or careers, individuals who held multiple jobs, NEW
                     ENTRANTS TO EMPLOYMENT, INDIVIDUAL PERIODIC
                     VENDORS and FESTIVAL VENDORS, and Claims including loss of
                     employment benefits.

         5.3.6.2.    Applicability. The framework governing Individual Economic Loss
                     Claims shall apply to Claims by all Natural Persons within the Economic
                     Class Definition for Economic Damage due to or resulting from the
                     Deepwater Horizon Incident, except for: (i) self-employed individuals
                     filing IRS Form 1040 Schedules C, E, or F for the 2010 calendar year or
                     any part of a fiscal year in 2010, who are covered under the Business
                     Economic Loss methodology; (ii) Seafood Vessel Owners, Commercial
                     Fishermen, Seafood Crew or Oyster Leaseholders, who are covered under
                     the Seafood Compensation Program, (iii) VoO Claims, or (iv) Subsistence
                     Claims. In addition, Section 5.10 of this Agreement summarizes certain
                     additional limitations on Claims by Natural Persons.

 5.4.        SUBSISTENCE DAMAGE COMPENSATION.

        5.4.1.      The framework governing Claims by Subsistence Claimants who fish or


                                               31
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 35 of 123




                    hunt to harvest, catch, barter, consume or trade Gulf of Mexico natural
                    resources (including Seafood and Game), in a traditional or customary
                    manner, to sustain his or her basic personal or family dietary, economic
                    security, shelter, tool, or clothing needs and who relied upon Subsistence
                    resources that were diminished or restricted in the geographic region used
                    by the Claimant due to or resulting from the Deepwater Horizon Incident is
                    set forth in Exhibit 9 to the Agreement. The time period of loss of
                    Subsistence use must be consistent with the closure or impairment of
                    geographic areas relied upon by the Claimant between April 20, 2010 and
                    December 31, 2011.

 5.5.        VoO CHARTER PAYMENT

        5.5.1.      The VoO CLAIM PROCESS, VoO AGREEMENT, and other details for
                    determining the WORKING VoO and NON-WORKING VoO
                    COMPENSATION AMOUNTS are summarized below. VoO Claimants
                    may recover either Working or Non-Working VoO Benefits.

        5.5.2.      WORKING VoO PARTICIPANTS are entitled to the following
                    payments, based on boat size, representing pay for 26 days’ work under the
                    VoO MASTER VESSEL CHARTER AGREEMENT:

                                              CHART A

                                  Boat Size                    Amount of Compensation

                               Less than 30 feet                        $41,600

                                30 feet-45 feet                         $49,400

                                46 feet-65 feet                         $62,400

                             Greater than 65 feet                       $88,400



         5.5.2.1.    Economic Damage payments to any Working VoO Participants who are

                                               32
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 36 of 123




                  not participants in the Seafood Compensation Program will be reduced by
                  any VoO Settlement Payment Offset and VoO Earned Income Offset. No
                  other claims are subject to this reduction.

        5.5.3.   NON-WORKING VoO PARTICIPANTS are entitled to the following
                 payments without any offset:

                                           CHART B

                        Boat Size                    Amount of Compensation

                    Less than 30 feet                           $4,800

                     30 feet-45 feet                            $5,700

                     46 feet-65 feet                            $7,200

                   Greater than 65 feet                         $10,200



 5.6.        VESSEL PHYSICAL DAMAGE COMPENSATION.

        5.6.1.   The VESSEL PHYSICAL DAMAGE CLAIM PROCESS, VESSEL
                 PHYSICAL DAMAGE CLAIM FRAMEWORK, and other details for
                 determining the VESSEL PHYSICAL DAMAGE COMPENSATION
                 AMOUNT are set forth in Exhibit 14 to the Agreement.

 5.7.        COASTAL REAL PROPERTY DAMAGE COMPENSATION

        5.7.1.   The COASTAL REAL PROPERTY CLAIM PROCESS, COASTAL
                 REAL PROPERTY CLAIM FRAMEWORK, and other details for
                 determining the COASTAL REAL PROPERTY COMPENSATION
                 AMOUNTS are set forth in Exhibits 11A-11C to the Agreement.

 5.8.        WETLANDS REAL PROPERTY DAMAGE COMPENSATION

        5.8.1.   The WETLANDS REAL PROPERTY CLAIM PROCESS,

                                            33
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 37 of 123




                 WETLANDS REAL PROPERTY CLAIM FRAMEWORK, and other
                 details for determining the WETLANDS REAL PROPERTY DAMAGE
                 COMPENSATION AMOUNTS are set forth in Exhibits 12A-12D to the
                 Agreement.

 5.9.        REAL PROPERTY SALES DAMAGE COMPENSATION

        5.9.1.   The REAL PROPERTY SALES CLAIM PROCESS, REAL
                 PROPERTY SALES CLAIM FRAMEWORK, and other details for
                 determining the REAL PROPERTY SALES COMPENSATION
                 AMOUNTS are set forth in Exhibits 13A-13B to the Agreement.

        5.9.2.   ELIGIBLE REAL PROPERTY SALES CLAIMANTS include
                 Individuals and Entities who sold RESIDENTIAL PARCELS located in
                 the REAL PROPERTY SALES COMPENSATION ZONE identified on
                 the map attached as Exhibit 13B from April 21, 2010 to December 31, 2010.
                 The sales contract must have been (1) executed on or after April 21, 2010,
                 or (2) executed prior to April 21, 2010 but subjected to a price reduction due
                 to the Deepwater Horizon Incident. In addition, sales shall not include
                 transfers from borrowers to lenders that take place as part of the foreclosure
                 process, such as deeds in lieu of foreclosure, foreclosure deeds, or sheriff’s
                 deeds.

        5.9.3.   Other than as set forth in Section 5.7, Section 5.8 or this Section 5.9,
                 (including Exhibits 13A and 13B to this Agreement), a Natural Person or
                 Entity may not recover under this Agreement, including any Exhibit thereto,
                 for Economic Damage based on a reduction in sale price, or an alleged
                 reduction in market value, of real estate they owned or in which they had an
                 ownership interest. Other than as set forth in this Section 5.9 (including
                 Exhibit 13A) a claim by a Natural Person or Entity that he or she or it would
                 have sold real estate owned by that Natural Person or Entity earlier, or at a
                 higher price, in the absence of the Deepwater Horizon Incident, is not a
                 Claim that is eligible under this Settlement Agreement.

                                             34
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 38 of 123




 5.10.        ADDITIONAL CLAIMS CRITERIA RELATED TO EXCLUDED
              INDUSTRIES AND MORATORIA LOSSES.

         5.10.1.      Notwithstanding the foregoing, additional criteria set forth in Exhibit 16
                      apply with respect to excluded industries. The following is a summary.

         5.10.2.      Oil and Gas Industry.

          5.10.2.1.    Business/employers.

              5.10.2.1.1.      Businesses and employers identified on the NAICS codes listed on
                               Exhibit 17 are excluded from the Economic Class.

          5.10.2.2. Individuals/employees.

              5.10.2.2.1.      Individuals /employees employed by businesses or employers in
                               the oil and gas industry are barred from recovery for any type of
                               Individual Economic Loss Claim arising out of any employment or
                               former employment within that industry. However, such
                               individuals/employees are permitted to pursue Individual
                               Economic Loss Claims for other jobs outside of excluded
                               industries. If any of the Claimant’s other jobs is for a
                               business/employer in the Support Services to Oil and Gas
                               Industry, evaluation of the Claimant’s Individual Economic
                               Loss Claim shall proceed pursuant to requirements specified
                               in the Support Services to Oil and Gas Industry column set
                               forth in Exhibit 16. If all the Claimant’s other jobs are for a
                               business/employer other than an excluded industry,
                               business/employer in the oil and gas industry, or Support
                               Services to Oil and Gas Industry, then the Claimant’s
                               Individual Economic Loss Claim shall be evaluated under the
                               standard Economic Damage Claim Frameworks. Such
                               individuals/employees are permitted to pursue all other


                                                 35
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 39 of 123




                        recovery permitted under other aspects of the Economic
                        Class.

          5.10.2.2.2.   All individuals/employees in this category are barred from
                        recovering moratoria damages and do not release moratoria claims.

     5.10.3.   Support Services to Oil and Gas Industry.

       5.10.3.1. Businesses/employers.

          5.10.3.1.1.   Business Employers the Claims Administrator determines fall
                        within the NAICS codes and descriptions marked with an “x” in
                        Section I of “Industry Types Subject to Review by Claims
                        Administrator for Potential Moratoria Losses,” Exhibit 19,
                        shall be subject to automatic review to determine whether their
                        losses, or any portion thereof, constitute Moratoria Losses. The
                        Claimant shall be required to provide supplemental
                        information in order for the Settlement Program to conduct this
                        review. The Settlement Program shall create a dedicated team
                        to evaluate such Claims.

          5.10.3.1.2.   Businesses / employers that the Claims Administrator determines
                        to fall within the NAICS codes and descriptions marked with an
                        “x” in Section II of “Industry Types Subject to Review by
                        Claims Administrator for Potential Moratoria Losses,”
                        Exhibit 19, shall be subject to the following question: “In
                        2009, did your business provide significant services, goods,
                        and/or supplies to businesses in the offshore oil & gas
                        industry in the Gulf of Mexico?” If the Claimant responds
                        affirmatively, its Claim shall be routed by the Settlement
                        Program to a team dedicated to the evaluation of Business
                        Economic Loss Claims for Moratoria Losses. The Claimant
                        shall be required to provide supplemental information in


                                         36
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 40 of 123




                        order for the Settlement Program to conduct this review. If the
                        Claimant responds negatively, its Claim shall proceed under
                        the Economic Damage Claim Process.

          5.10.3.1.3.   All businesses/employers in this category are barred from
                        recovery for Moratoria Losses. However, no
                        businesses/employers in this category release moratoria claims.

          5.10.3.1.4.   All businesses/employers in this category are permitted to
                        pursue Business Economic Loss Claims for (i) non-moratoria
                        business interruption from Support Services to Oil and Gas
                        Industry activities and (ii) non-oil and gas industry Economic
                        Damages that are not otherwise excluded, but the Claimant
                        must establish (i) and (ii) above were in the judgment of the
                        Settlement Program due to or resulting from the Deepwater
                        Horizon Incident.

          5.10.3.1.5.   Such Claims and Claimants are subject to the additional provisions
                        discussed in detail in Exhibit 16, 19.

       5.10.3.2. Individuals/employees

          5.10.3.2.1.   An individual/employee Claimant’s application shall include
                        sufficient evidence of their employer’s business activities to
                        allow the Settlement Program to determine whether the
                        business/employer falls under the Support Services to Oil and
                        Gas Industry, described in Exhibit 19 of “Industry Types Subject
                        to Review by Claims Administrator for Potential Moratoria
                        Losses.”

          5.10.3.2.2.   Individuals/employees of businesses or employers that the
                        Claims Administrator determines fall within the NAICS codes and
                        descriptions marked with an “x” in Section I of “Industry Types
                        Subject to Review by Claims Administrator for Potential

                                          37
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 41 of 123




                        Moratoria Losses,” Exhibit 19, are subject to automatic
                        review for Moratoria Losses and shall be routed by the
                        Settlement Program to a dedicated team for evaluation.
                        Claimants shall be required to provide supplemental information in
                        order for the Settlement Program to conduct this review.

          5.10.3.2.3.   Individuals/employees of businesses/employers that the Claims
                        Administrator determines fall within the NAICS codes and
                        descriptions marked with an “x” in Section II of “Industry Types
                        Subject to Review by Claims Administrator for Potential
                        Moratoria Losses,” Exhibit 19, and whose business/employer
                        affirms that in 2009 the business/employer provided significant
                        services, goods, and/or supplies to businesses in the
                        offshore oil & gas industry in the Gulf of Mexico, shall be
                        subject to review for potential Moratoria Losses and shall be
                        routed by the Settlement Program to a dedicated team for
                        evaluation. Claimants shall be required to provide supplemental
                        information in order for the Settlement Program to conduct this
                        review.

          5.10.3.2.4.   But an individual/employee Claimant will not be subject to
                        automatic review for potential Moratoria Losses if, before the
                        individual/employee’s Economic Damage claim is approved
                        for payment, his business/employer already has been
                        approved for claims compensation by the Settlement Program
                        with no Moratoria Losses deducted.

          5.10.3.2.5.   All individuals/employees in this category are barred from
                        recovering Moratoria Losses, but do not release moratoria claims.

          5.10.3.2.6.   All individuals/employees in this category are permitted to pursue
                        Claims for Economic Damage incurred as a result of their
                        employment in the Support Services to Oil and Gas Industry for

                                         38
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 42 of 123




                           (i) non-moratoria business interruption from oil and gas industry
                           support service activities and (ii) non Oil and Gas Industry
                           Economic Damages that are not otherwise excluded. A
                           Claimant must establish (i) and (ii) above were due to or resulting
                           from the Deepwater Horizon Incident.

          5.10.3.2.7.      Such Claims and Claimants are subject to the additional provisions
                           discussed in detail in Exhibit 16, 19.

     5.10.4.       Gaming, Banking, Insurance, Funds, Defense Contractors and Developers

       5.10.4.1.    Businesses/employers

          5.10.4.1.1.      Businesses/employers in these categories of excluded industries
                           are barred from recovery in the Settlement for any type of Business
                           Economic Losses, but are permitted to pursue Coastal Real
                           Property Damage and Wetlands Real Property Damage Claims.

          5.10.4.1.2.      No recovery is permitted for businesses and employers in these
                           categories under any other aspect of the Economic Class.

       5.10.4.2. Individuals/employees

          5.10.4.2.1.      Individuals/employees employed by businesses or employers in
                           these categories (and any Entity selling or marketing BP-branded
                           fuel, including jobbers and branded-dealers) are barred from
                           recovery for any type of Individual Economic Loss Claim for work
                           performed for an excluded employer. However, such
                           individuals/employees are permitted to pursue Individual
                           Economic Loss Claims for other jobs outside of excluded
                           industries. If any of the Claimant’s other jobs is for a
                           business/employer in the Support Services to Oil and Gas
                           Industry, evaluation of the Claimant’s Individual Economic
                           Loss Claim shall proceed pursuant to requirements specified

                                             39
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 43 of 123




                            in Support Services to Oil and Gas Industry column set forth
                            in Exhibit 16. If all the Claimant’s other jobs are for a
                            business/employer other than an employer in the Oil and Gas
                            Industry, or Support Services to Oil and Gas Industry, then
                            the Claimant’s claim shall be evaluated under the standard
                            Economic Loss Claim Frameworks. Such
                            individuals/employees are permitted to pursue all other
                            recovery permitted under other aspects of the Economic
                            Class.

              5.10.4.2.2.   All individuals/employees in this category are barred from
                            recovering Moratoria Losses, but do not release moratoria
                            claims.

 5.11.        GENERAL PROVISIONS APPLICABLE TO PAYMENT OF ALL
              COMPENSATION AMOUNTS.

         5.11.1.   Total Compensation Amounts shall be paid to qualifying Claimants on a
                   claims made basis only (i.e., with payments made only to those who submit
                   a Claim determined to be valid). Total Compensation Amounts will be paid
                   from the qualified settlement fund described below on a rolling basis, as
                   Claim Forms have been submitted and evaluated in accordance with the
                   Claim Processes.

         5.11.2.   The Claims Administrator will submit a list, on a weekly basis for the first
                   year, and thereafter on a monthly basis, to Lead Class Counsel and BP’s
                   Counsel, identifying the Claims that have been paid and the amounts of the
                   payments, as well as those that are pending.

         5.11.3.   Any amount paid pursuant to any of the above Damage Categories will be
                   the only payment Class Members are entitled to receive for that category
                   pursuant to this Agreement, provided that Class Members are additionally
                   entitled to reimbursement for reasonable and necessary accounting fees


                                              40
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 44 of 123




               relating to Claims preparation, subject to the guidelines and restrictions set
               forth in Section 4.4.13.

     5.11.4.   Claimants shall have the right to appeal the determination related to the
               denial or award of a Total Compensation Amount pursuant to the Appeal
               Process as more fully set forth in Section 6 below.

     5.11.5.   The Claims Administrator shall also submit a list, on a weekly basis for the
               first year, and thereafter on a monthly basis, to the Lead Class Counsel and
               BP’s Counsel identifying any Claims that have been appealed pursuant to
               the Appeal Process.

     5.11.6.   Claimants entitled to receive Total Compensation Amounts pursuant to
               more than one of the Seafood Compensation Program, Coastal Real
               Property Claim Process, Economic Damage Claim Process, Real Property
               Sales Claim Process, Subsistence Claim Process, VoO Claim Process,
               Vessel Physical Damage or Wetlands Real Property Claim Process may
               submit Claims for a single Damage Category and accept payment, but must
               then effectuate an Individual Release for all Damage Categories. However,
               subject to Section 5.11.9, the Individual Release shall allow the Claimant up
               to six (6) months from the date of initial payment by the Settlement Program
               of the Claimant’s first paid Claim for submitting further Claims in other
               Damage Categories as provided in Section 4.4.8.

     5.11.7.   The Total Compensation Amount a qualifying Claimant receives for any of
               the above categories shall be in addition to the Total Compensation Amount
               the Claimant is entitled to receive under any other category.

     5.11.8.   For all Claims other than those made under the Seafood Compensation
               Program, the deadline for submission of Claim Forms to the Settlement
               Program shall be April 22, 2014 or 6 (six) months after the Effective Date,
               whichever occurs later, and the Settlement Program shall remain open
               through the determination, appeals, and where applicable, payment of all


                                           41
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 45 of 123




                    timely submitted Claim Forms.

         5.11.9.    The deadline for submission of Seafood Program Compensation Claim
                    Forms to the Settlement Program shall be 30 days after the date of entry of
                    the Final Order and Judgment by the Court.

         5.11.10.   Subject to the provisions of Section 4.4.5, Claim Forms must be signed
                    under penalty of perjury and individually signed by the Natural Person or
                    Entity who suffered damages, and subject to the provisions of Section
                    4.4.10, Claims and Claim Forms may not be submitted en masse with the
                    Claims and Claim Forms of other Natural Persons or Entities.

 5.12.        Funding of Payments.

         5.12.1.    A Settlement Trust (the “Settlement Trust”) shall be established for the
                    purpose of paying Settlement Payments and the costs of administering the
                    Settlement Program. The Settlement Trust shall be established pursuant to
                    the order of the Court. The Settlement Trust shall be structured and
                    operated in a manner so that it qualifies as a “qualified settlement fund”
                    under section 468B(d)(2) of the Internal Revenue Code and Treasury
                    Regulation §1.468B-1. The Settlement Trust shall be created and governed
                    by a Trust Agreement in form and substance reasonably satisfactory to the
                    Claims Administrator, Lead Class Counsel and the BP Parties (the
                    “Economic Settlement Trust Agreement”). The Claims Administrator shall
                    serve as Trustee of the Settlement Trust, and J. P. Morgan Trust Company
                    of Delaware shall serve as the “Directed Trustee” with limited authority as
                    set forth in the Economic Settlement Trust Agreement. Should the Court
                    determine at any time that the Trustee or the Directed Trustee needs to be
                    replaced, Lead Class Counsel or their designee and BP will agree to make a
                    joint recommendation of one or more candidates for appointment by the
                    Court, as Trustee or Directed Trustee, as the case may be. They shall
                    continue the process of joint recommendation as necessary until Court
                    approval is obtained. The Economic Settlement Trust Agreement shall be

                                               42
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 46 of 123




               subject to approval by the Court. The Settlement Trust, subject to the
               requirements of Section 4.3.5 and Section 4.3.6.1, may hire Claims
               Administration Staff or Claims Administration Vendors as necessary for the
               Settlement Program. The Settlement Trust shall be initially comprised of
               the following separate funds, which shall together constitute a single
               qualified settlement fund:

          5.12.1.1.1.   Seafood Compensation Program Settlement Fund (the “Seafood
                        Compensation Fund”), which shall be used by the Claims
                        Administrator to make payments under the Seafood Program;

          5.12.1.1.2.   General Claims Settlement Fund (the “General Claims Fund” and
                        together with the Seafood Compensation Fund, the “Claims
                        Funds”), which shall be used by the Claims Administrator to make
                        payments under all Claims programs other than the Seafood
                        Program;

          5.12.1.1.3.   Administrative Expense Fund (the “Administrative Fund” and
                        together with the Claims Funds, the “Funds”), which shall be used
                        by the Claims Administrator to pay all reasonable and necessary
                        expenses incurred in connection with the operation of the
                        Settlement Program, except for the payment of Claims or as
                        otherwise provided in this Agreement (the “Administrative
                        Expenses”).

          5.12.1.1.4.   Gulf Tourism and Seafood Promotional Fund, as described in
                        Section 5.13.

          5.12.1.1.5.   Supplemental Information Program Fund, as described in Section
                        4.4.15.

          5.12.1.1.6.   Economic Settlement Trust Account, into which the BP Parties
                        shall pay, or cause to be paid, all amounts required to be paid to the
                        Settlement Trust and from which the Trustee and/or the Directed

                                            43
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 47 of 123




                          Trustee shall transfer into the Funds listed in Section 5.12.1 such
                          amounts as required under Section 5.12

          5.12.1.1.7.     With consent of the Parties and consistent with the terms of the
                          Settlement Agreement, the Claims Administrator, as Trustee, may
                          establish, or cause to be established, one or more additional funds
                          for the payment of resolved Claims. Such additional funds shall be
                          considered “Funds” for purposes of this Settlement Agreement,
                          and, together with the Funds listed in Section 5.12.1, shall
                          constitute a single qualified settlement fund.

          5.12.1.1.8.     The Claims Administrator is authorized and directed to establish,
                          or cause to be established, and operate a Reserve Fund in the event
                          the Economic Class receives any monies due pursuant to Section
                          5.15. Notwithstanding the preceding sentence, in the event that
                          there are monies remaining in this Reserve Fund, and the
                          Agreement is terminated pursuant to Section 21, any remaining
                          unspent funds in this Reserve Fund shall revert as determined by
                          BP and Lead Class Counsel at the time such Reserve Fund is
                          established. However, nothing herein shall prevent the expenditure
                          of any such funds prior to Final Approval.

       5.12.1.2.   The Settlement Trust and each of the Funds shall be managed by the
                   Trustee and the Directed Trustee and shall be subject to the continuing
                   jurisdiction and supervision of the Court. The Claims Administrator shall
                   serve as the Trustee and as the administrator of the qualified settlement
                   fund for purposes of Treasury Regulation §1.468B-2(k)(3) and shall be
                   responsible for making any necessary tax filings and payments of taxes,
                   estimated taxes, and associated interest and penalties, if any, by the
                   Settlement Trust and responding to any questions from, or audits
                   regarding such taxes by, the Internal Revenue Service or any state or local
                   tax authority, as well as questions from the Department of Labor. The


                                             44
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 48 of 123




                   Trustee shall also be responsible for complying with all tax information
                   reporting and withholding requirements with respect to payments made by
                   the Settlement Trust, as well as paying any associated interest and
                   penalties. Any such tax, interest and penalty payments shall be paid from
                   the Administrative Fund. The Trustee may delegate any of his
                   responsibilities as trustee to the Directed Trustee as set forth in the
                   Economic Settlement Trust Agreement.

       5.12.1.3.   The BP Parties shall pay or cause to be paid, within 10 days of
                   Preliminary Approval, an initial amount of $1 billion to the Settlement
                   Trust. Of this initial $1 billion, $500 million shall be transferred to the
                   Seafood Compensation Fund, and $500 million shall be transferred to the
                   General Claims Fund. Thereafter, the BP Parties shall pay or cause to be
                   paid, within 10 days of the commencement of each calendar quarter,
                   beginning with the third quarter of 2012, six additional quarterly payments
                   as follows:

                   (i) $500 million per quarter to the Settlement Trust for three quarters (of
                   which additional $500 million payments, $300 million shall transferred
                   paid to the Seafood Compensation Fund, and $200 million shall be
                   transferred to the General Claims Fund);

                   (ii) then, $400 million per quarter to the Settlement Trust for one quarter
                   (of which additional $400 million payment, $300 million shall be
                   transferred to the Seafood Compensation Fund, and $100 million shall be
                   transferred to the General Claims Fund); and

                   (iii) then, $300 million per quarter to the Settlement Trust for two quarters
                   (of which additional $300 million payments, all $300 million shall be
                   transferred to the Seafood Compensation Fund).

                   The initial $1 billion payment and the six subsequent quarterly payments
                   described in clauses (i) through (iii) above shall be irrevocable payments


                                             45
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 49 of 123




                   by the BP Parties. If at any time the balance in the Seafood Compensation
                   Fund falls below $300 million and/or the balance in the General Claims
                   Fund falls below $200 million, the Claims Administrator shall provide a
                   written notice to the BP Parties and Lead Class Counsel specifying the
                   balance in the Settlement Trust and each of the Claims Funds. The BP
                   Parties will promptly pay or cause to be paid additional amounts to the
                   Settlement Trust, from time to time upon receipt of such notice, sufficient
                   to restore the balance of the General Claims fund to at least $200 million
                   and the balance of the Seafood Compensation Fund to at least $300
                   million; provided that in no event will the sum of all amounts allocated
                   and paid into the Seafood Compensation Fund under all provisions of this
                   Agreement, in the aggregate, exceed the Seafood Compensation Program
                   Amount (and if it is determined that any amounts were contributed to the
                   Seafood Compensation Fund in excess of the Seafood Compensation
                   Program Amount, the amount of such excess shall be repaid from the
                   Seafood Compensation Fund to the BP Parties). The Claims
                   Administrator will provide the BP Parties and Lead Class Counsel with
                   periodic reports relating to the Claims or other amounts paid from the
                   Seafood Compensation Fund and the General Claims Fund and projections
                   of Claims or other payments that are in process, in each case in such detail
                   and with such frequency as the BP Parties may reasonably request.

       5.12.1.4.   The BP Parties shall pay or cause to be paid to the Settlement Trust for
                   transfer to the Administrative Fund (i) an initial amount equal to $50
                   million to be paid by no later than 10 days after Preliminary Approval, and
                   (ii) additional amounts as may be required on a monthly basis thereafter
                   during the administration of the Settlement Program in accordance with an
                   administrative expense budget to be developed by the Claims
                   Administrator, subject to the reasonable approval of the BP Parties and
                   Lead Class Counsel (the “Administrative Budget”). Contracts entered into
                   with Claims Administration Vendors and their subcontractors shall
                   provide the BP Parties and Lead Class Counsel with a right to receive

                                            46
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 50 of 123




                   invoices submitted by Claims Administration Vendors and their
                   subcontractors and a reasonable amount of time to raise concerns or
                   objections to such invoices prior to their payment. The Claims
                   Administrator shall provide the BP Parties and Lead Class Counsel on a
                   monthly basis with a report of Administrative Expenses paid in connection
                   with the Settlement Program in such detail as the BP Parties may
                   reasonably request and a reconciliation of such payments in comparison to
                   the Administrative Budget. The BP Parties and the Claims Administrator
                   shall adjust the monthly payment amounts accordingly to assure that
                   sufficient funds are on deposit in the Administrative Fund to cover the
                   Administrative Expenses on a timely basis. Payment of administrative
                   expenses by the Claims Administrator shall be subject to oversight by the
                   District Court.

       5.12.1.5.   The BP Parties shall have the right (but not the obligation) to prepay, or
                   cause to be prepaid, any of their payment obligations to the Funds under
                   the Settlement Agreement. In connection with any such prepayment, the
                   BP Parties shall designate in writing the payment obligation that is being
                   prepaid and how such prepayment should effect the BP Parties’ remaining
                   payment obligations (i.e., whether the amount prepaid should be credited
                   against the next payment obligation or to one or more subsequent payment
                   obligations or a combination thereof). No such prepayment or designation
                   shall otherwise limit the BP Parties’ obligations under the Settlement
                   Agreement.

          5.12.1.5.1.     The BP Parties have established the Deepwater Horizon Oil Spill
                          Trust pursuant to a Trust Agreement dated as of August 6, 2010
                          (the “Deepwater Horizon Trust Agreement”) for the purpose of
                          providing funds to be used to satisfy damage claims, as more
                          particularly described in the Deepwater Horizon Trust Agreement,
                          arising from or related to the DWH Oil Spill. The BP Parties may
                          satisfy each of its payment obligations under this Section 5.12.1 by

                                            47
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 51 of 123




                          arranging for the Deepwater Horizon Oil Spill Trust to make such
                          payment. It is contemplated by the BP Parties that such payments
                          generally will be made by the Deepwater Horizon Oil Spill Trust.
                          Nothing contained herein in any way limits or impairs the duties
                          and obligations of the BP Parties under this Agreement or the
                          Guarantees of payment obligations under this Agreement provided
                          by BPCNA and BP p.l.c. set forth in Exhibit 24.

          5.12.1.5.2.     The Claims Administrator, as Trustee, and/or the Directed Trustee
                          shall establish an escrow account (each a “Fund Account”) for
                          each Fund with the Lead Paying Agent (as defined below) as
                          escrow agent. Each payment specified in this Section 5.12.1 shall
                          be made into the principal Fund Account established for the
                          applicable Fund, as designated in writing by the Claims
                          Administrator.

          5.12.1.5.3.     Upon closure of the Settlement Program under 4.4.16, any funds
                          remaining in the General Claims Fund, or Administrative Fund,
                          beyond the initial $1 billion and the subsequent six quarterly
                          payments referenced in clauses (i) – (iii) of Section 5.12.1.3 shall
                          revert to the BP Parties.

       5.12.1.6.   Amounts deposited in the Settlement Trust and each Fund Account shall
                   be invested conservatively in a manner designed to assure timely
                   availability of funds, protection of principal and avoidance of
                   concentration risk, only in the following types of investments:

                   •      United States government money market funds having a
                          AAA/Aaa rating awarded by at least two of the three major
                          rating agencies (Standard & Poor’s, Moody’s or Fitch); or
                   •      Short-dated United States treasury bills and/or interest
                          bearing deposits at federally insured depository institutions
                          that are at all times rated A+/A1 or higher by Standard &
                          Poor’s and Moody’s provided such depository institution


                                            48
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 52 of 123




                          rated A+/A1 or higher at all times holds a stable or positive
                          outlook.

          5.12.1.6.1.     The total amount of cash invested in any single United States
                          government money market fund by the Funds in the aggregate
                          shall not exceed $200 million and the total amount invested in
                          deposits at federally insured depository institutions by the Funds in
                          the aggregate shall not exceed $40 million per depository
                          institution.

          5.12.1.6.2.     To provide liquidity, the Lead Paying Agent, in its capacity as
                          escrow agent for the Claims Funds, shall also be permitted to
                          deposit funds in a federally insured depository account with the
                          Gulf Region Bank (as defined below) in such amount as may be
                          specified in the Lead Payment Agent Agreement.

          5.12.1.6.3.     Any earnings attributable to the Economic Settlement Trust
                          Account and the General Claims Funds shall be transferred to the
                          Administrative Fund and any earnings on the Administrative Fund
                          shall be retained in the Administrative Fund. Any earnings
                          attributable to the Seafood Compensation Fund shall be retained in
                          the Seafood Compensation Fund. Any earnings attributable to the
                          Gulf Tourism and Seafood Promotional Fund shall be retained in
                          the Gulf Tourism and Seafood Promotional Fund. Any earnings
                          attributable to the Supplemental Information Program Fund shall
                          be retained in the Supplemental Information Program Fund.

       5.12.1.7.   The Claims Administrator, the Trustee and the Directed Trustee shall enter
                   into a Paying Agent Agreement, in form and substance reasonably
                   satisfactory to the BP Parties and Lead Class Counsel and approved by the
                   Court, pursuant to which a federally insured depository institution
                   approved by the BP Parties and Lead Class Counsel and the Court will
                   serve as the lead paying agent and escrow agent for the Claims Funds (the


                                            49
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 53 of 123




                 “Lead Paying Agent”), and Garden City Group, Inc. (or another entity
                 agreed to by the BP Parties and Lead Class Counsel, with approval of the
                 Court) will serve as the claims payment agent for the Claims Funds (the
                 “Claims Payment Agent”). In addition, the Lead Paying Agent may enter
                 into an arrangement with one or more other federally insured depository
                 institutions with branch locations in the Gulf Region (collectively, the
                 “Gulf Region Bank”) and/or another check cashing facility agreed to by
                 BP and Lead Class Counsel, and approved by the Court that provides that
                 checks drawn on the Fund Accounts of the Claims Funds will be eligible
                 to be cashed or deposited in branches of the Gulf Region Bank in a
                 manner that will expedite the recipients’ access to such funds (the “Check
                 Cashing Arrangement”).

          5.12.1.7.1.   The Paying Agent Agreement and the Check Cashing Arrangement
                        collectively shall provide for the following actions in connection
                        with the payment of claims by the Claims Funds:

                 •      The Claims Payment Agent shall be provided with checks that
                        reflect the name of the Gulf Region Bank, the Gulf Region Bank’s
                        New Orleans, Louisiana address, and are drawn on the applicable
                        Fund Account maintained by the Lead Paying Agent.
                 •      The Claims Payment Agent, at the direction of the Claims
                        Administrator (or its authorized designee), shall write checks in
                        payment of Claims from the applicable Claims Fund. The Claims
                        Payment Agent shall provide to the Lead Paying Agent (or its
                        affiliate) a nightly, system-generated notification of all check
                        issuances, through an electronic file. This notification report shall
                        be used by the Lead Paying Agent in connection with its operation
                        of the encashment program described below.
                 •      The Gulf Region Bank will accept such checks for cashing without
                        the requirement that the holder open or maintain an account at the
                        Gulf Region Bank.
                 •      The Lead Paying Agent and the Gulf Region Bank (and, if
                        appropriate, the Court-appointed check cashing facility) will
                        maintain an encashment program in a form acceptable to BP
                        designed to prevent fraud or other improper payments of checks
                        drawn on the Fund Accounts of the Claims Funds.


                                          50
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 54 of 123




          5.12.1.7.2.   Payments from the Administrative Fund shall be made by the Lead
                        Paying Agent in its capacity as escrow agent for the Administrative
                        Fund Account, at the instruction of the Claims Administrator.

          5.12.1.7.3.   The Paying Agent Agreement will also provide standard
                        indemnification by the Settlement Trust and the BP Parties of the
                        Lead Paying Agent (in its capacity as such and as escrow agent for
                        the Fund Accounts) and the Claims Payment Agent. Such
                        indemnification shall exclude negligence and willful misconduct.
                        The Paying Agent Agreement shall be governed as stipulated in the
                        Paying Agent Agreement.

          5.12.1.7.4.   In the event the Claims Administrator is unable to enter into any of
                        the arrangements specified in this Section 5.12.1 or any of such
                        arrangements thereafter terminate, the Claims Administrator and
                        the BP Parties and Lead Class Counsel shall cooperate to develop
                        and implement (subject to Court approval) an alternative program
                        that, to the extent practicable, provides for the ability of Claimants
                        to cash checks drawn on either of the Claims Funds at branches
                        located in the Gulf Region of one or more depository institutions
                        without the requirement that the holder open or maintain an
                        account at such depository institution and provides for an
                        encashment program designed to detect and eliminate fraud or
                        other improper application of funds.

     5.12.2.   Notwithstanding any other provision of this Agreement, the BP Parties may
               enter into an arrangement with the Claims Administrator and the Corporate
               Trustee and/or Lead Paying Agent (as such terms are defined in the
               Deepwater Horizon Trust Agreement) of the Deepwater Horizon Oil Spill
               Trust with respect to Settlement Payments as directed by the Claims
               Administrator in accordance with the Deepwater Horizon Trust Agreement.

     5.12.3.   Pursuant to Section 21.3.9, upon any termination of the Agreement under

                                          51
    Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 55 of 123




                          Section 21, any unspent funds under this Section 5.12 shall revert to BP.

     5.13.        Gulf Tourism and Seafood Promotional Fund (“Promotional Fund”). The BP
                  Parties will fund, within 10 days after Preliminary Approval, $57 million
                  ($57,000,000) to promote the Gulf Coast Areas and waters. The Promotional
                  Fund will be administered by the Claims Administrator.

             5.13.1.      The purpose of the $57 million Promotional Fund is to promote tourism and
                          the seafood industry in Gulf Coast areas impacted by the Deepwater
                          Horizon Incident. In particular, one of the primary purposes of this
                          Promotional Fund shall be for the support of programs directed to
                          advertising, promotion and/or marketing which supports Gulf tourism and
                          the seafood industries.

             5.13.2.      The Promotional Fund shall be administered and directed by the Claims
                          Administrator.

             5.13.3.      In administration of this Promotional Fund, the Administrator may solicit
                          proposals and applications from public, quasi-public and/or non-profit
                          entities or organizations located within the Gulf States for support of
                          programs directed to advertising, promotion and/or marketing of the Gulf
                          tourism and seafood industries. The public, quasi-public and/or non-profit
                          entities or organizations seeking Promotional Fund Awards shall apply to a
                          three-person panel, consisting of a Lead Class Counsel designee, the Claims
                          Administrator or his designee, and a BP Parties designee (hereinafter
                          “Panel”), as follows:

              5.13.3.1.    Applications for such awards shall be in writing, addressed to the Claims
                           Administrator. The application shall contain: (1) a budget for the specific
                           activities proposed (“Budget Narrative”3) and (2) a description of the

3
 Budget Narrative: Relevant documents for a budget narrative include, for example: 1) IRS letter documenting filing
status/tax ID number, 2) most recent audited financial statement (if the most recent audited financial statement is not
available, submit most recent IRS Form 990); 3) Current Operating Budget; 4) copies of an itemized project budget
with description of how funds will be spent.

                                                          52
    Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 56 of 123




                           content of the activities or projects which are being proposed, and
                           identification of the particular channels or media where the project will be
                           utilized (“Project Narrative”).4

             5.13.3.2.     Each application should outline the financial stability of the Applicant by
                           providing, among other relevant items, tax returns, past grant awards
                           received, financial statements of the organization, annual reports and other
                           such materials.5

             5.13.3.3.     In selection of recipients, special attention will be paid to the diversity,
                           geographic and otherwise, of Applicants. Multiple Promotional Fund
                           Awards may be awarded to the same applicant; however no more than
                           $500,000 per year combined may be disbursed in toto to any one
                           applicant. Furthermore, each award shall be subject to periodic and/or
                           final reporting to and auditing/or review by the Claims Administrator, as
                           deemed appropriate by the Claims Administrator.

           5.13.4.       The Panel may also receive and consider requests from others, in addition to
                         those seeking grants as described above, which requests must receive the
                         unanimous approval of the Panel in keeping with the primary purpose of the
                         Promotional Fund.

           5.13.5.       Upon receiving requests, the Claims Administrator shall consult with the
                         Panel jointly to determine the most effective methods to satisfy the purposes
                         of this Promotional Fund. Either the Claims Administrator or the Panel may
                         retain an independent expert or consultant to advise the Claims
                         Administrator and/or the Panel with respect to the propriety or effectiveness
                         of any award.

4
  Project Narrative: A successful award Applicant's project narrative should describe, inter alia, the organization’s
history and mission; the specific problem or challenge to be addressed; how the proposed project will address this
issue; how funds will be used and how Fund’s financial support will be leveraged by support from the organization
or other sources; the physical location (if any) of project; the audience served, anticipated outcomes, and any needs
assessment that has been done; how to evaluate the project's success; and plans for long-term sustainability of the
program.



                                                         53
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 57 of 123




 5.14.    As additional consideration to the Economic Class, the BP Parties agree to use
          due diligence to prosecute the reserved claims for Insurance Proceeds for
          Transocean Personnel described in Section 1.1.4.2 of Exhibit 21, and, if
          successful in obtaining a recovery or judgment, to pay an amount equal to the
          amount of such recovery to the Economic Class, only as a juridical entity and not
          to Economic Class Members individually. Because any such funds are for the
          benefit of the Economic Class as a whole, these funds will be held in reserve by
          the Trustee in a qualified settlement fund authorized by the Court pending an
          equitable and appropriate allocation or use of such funds, to be approved by the
          Court, which may include: (a) pro rata distribution to Economic Class Members;
          (b) to augment the Seafood Compensation Program; or (c) to address
          extraordinary needs or circumstances as agreed to by the BP Parties, which
          agreement shall not be unreasonably withheld. In any event, the Court will decide
          and direct any allocation, and may appoint a special master or other neutral party
          to create any allocation or for other appropriate purposes. If the Agreement is
          terminated pursuant to Section 21, any of these funds that have not been disbursed
          shall revert to the BP Parties.

 5.15.    Additional Reserve Funds. With Court approval, Lead Class Counsel or their
          designee may create one or more Reserve Funds with any Settlement proceeds
          from third or other parties, provided, however, that the Reserve Fund must not
          affect the approval or operation of the Economic Class, and may not increase the
          BP Parties’ costs of administration or any other costs.

 5.16.    Unless the Court directs otherwise, a separate fund (intended to qualify as a
          “qualified settlement fund,” under § 468(d)(2) of the Internal Revenue Code and
          Treasury Regulation § 1.468B.1) will be established out of which common benefit
          attorneys’ fees and costs to the Economic Class Counsel and/or other common
          benefit attorneys who have submitted time and costs in compliance with Pretrial
          Order 9, will be paid by Order of the Court. This separate qualified settlement
          fund will be established pursuant to Order of the Court, and operated under Court
          supervision and control. This separate qualified settlement fund shall be separate

                                            54
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 58 of 123




              from any of the funds described in Section 5.12, and will not be administered by
              the Claims Administrator. BP’s discharge from liability regarding payment of
              these attorneys’ fees and costs into the Fund described in Section 5.16 shall be
              determined in conjunction with the negotiation of attorneys’ fees to be conducted
              and shall be set forth in Exhibit 27 and as approved by the Court. The Court shall
              determine the form and manner of administering this fund, in which BP will have
              no reversionary interest.

6. CLAIMS APPEAL PROCESS

  6.1.        Subject to and in accordance with Sections 4.3.7 and 4.3.8, Economic Class
              Members will have up to three opportunities, depending on their circumstances, to
              have their Claims reconsidered and reviewed to assure accuracy, transparency,
              independence, and adherence by the Settlement Program to the terms of this
              Agreement.

         6.1.1.      Appeal for Insufficient Documentation.

          6.1.1.1.    In the event a Claim is denied because it cannot be fully processed, in
                      whole or in part, on grounds of insufficient documentation, the Claimant
                      has the option to seek a review by a separate DOCUMENTATION
                      REVIEWER assigned by the Claim Administrator. Such appeal shall be
                      filed within 20 days of issuance of written notice to the Claimant from the
                      Settlement Program of insufficient documentation. If the Documentation
                      Reviewer finds error in the denial for insufficient documentation, the
                      Claimant’s Claim will be referred back to the Settlement Program which
                      will then process the Claim. Any decision of the Documentation
                      Reviewer with respect to the documentation issue discussed in this Section
                      shall be without prejudice to the Claimant’s right at any time prior to
                      termination of the Settlement Agreement to resubmit the Claim.

         6.1.2.      Appeal of Final Determination of Settlement Program.

          6.1.2.1.    Reconsideration.

                                               55
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 59 of 123




          6.1.2.1.1.      Within 30 days of issuance of notice in writing to the Claimant of a
                          final determination of a Claim by the Settlement Program, a
                          Claimant may request in writing reconsideration by the Settlement
                          Program of that determination on the grounds that the Settlement
                          Program committed a calculation error, failed to take into account
                          relevant information or data or otherwise failed to follow the
                          standards governing the determination. The Settlement Program
                          will also maintain a website where a form of request for
                          reconsideration may be filed. The Settlement Program shall
                          provide access to the Claimant and the BP Parties of all forms,
                          calculations and worksheets relied upon by the Settlement Program
                          in reaching the final determination.

       6.1.2.2.    Appeals to Panel

           6.1.2.2.1.     Appeals shall be heard by either a single-member APPEAL
                          PANEL or a three-member Appeal Panel depending on the value
                          of the Claim being appealed.

           6.1.2.2.2.     APPEAL PANELIST pool: The roster of Appeal Panelists
                          eligible to sit on an Appeal Panel shall consist of between 10 and
                          20 Appeal Panelists.

           6.1.2.2.3.     Nomination of the Appeal Panelist pool: Within 21 days of
                          Preliminary Approval, the Parties shall agree on a list of at least 30
                          individuals as potential Appeal Panelists and jointly submit that list
                          of nominees to the Court, who will select the Appeal Panelists.

           6.1.2.2.4.     Selection of the Appeal Panelist pool: The Parties shall agree to
                          the joint recommendation of at least 30 candidates possessing the
                          relevant experience and qualifications for appointment by the
                          Court, in the exercise of its independent discretion, to serve as the
                          Appeal Panelists. The Parties shall continue this process of joint


                                            56
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 60 of 123




                         selection, as necessary, to accomplish the Court’s approval and
                         appointment of a full panel of Appeal Panelists. The Parties shall
                         indicate along with the submission whether the potential Appeal
                         Panelist is qualified to hear appeals on Claims of $1,000,000 or
                         more. From the joint list of nominees, the Court may select some
                         or all of the nominees for inclusion in the Appeal Panelist pool. In
                          the event the Court’s selection does not fill the Appeal Panel, or in
                          the event of a vacancy on the Appeal Panel, the Parties shall
                          nominate additional candidates, in accordance with this Section,
                          for the Court’s consideration for appointment to the Appeal Panel.

          6.1.2.2.5.      Selection of the Appeal Panel: The appointment to and service on
                          the Appeal Panels is subject to the oversight of the Court, which
                          shall retain jurisdiction over the Appeal Panels.

              6.1.2.2.5.1.   Appeals of Claims Under $1,000,000: Appeals taken by either
                             Party on claims less than $1,000,000 shall be decided by a
                             single-member Appeal Panel. The Appeal Panelists shall be
                             randomly selected by the Claims Administrator from the
                             Appeal Panelist pool.
              6.1.2.2.5.2.   Appeals of Claims of $1,000,000 or more: Appeals taken by
                             either Party on Compensation Amounts for $1,000,000 or more
                             shall be decided by a three-member Appeal Panel. If the
                             appeal is being taken by a Claimant, the three-member Appeal
                             Panel shall have at least one Appeal Panelist from the
                             Claimant’s home state. Only Appeal Panelists approved by the
                             Court to hear claims for Compensation Amounts of $1,000,000
                             or more shall be eligible to sit on a three-member Appeal
                             Panel. The Appeal Panelists shall be randomly selected by the
                             Claims Administrator from the approved Appeal Panelists in
                             the Appeal Panelist pool who are eligible to hear claims for
                             Compensation Amounts of $1,000,000 or more. In the event

                                            57
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 61 of 123




                                 that the Appeal is being taken by a Claimant, the home-state
                                 Appeal Panelists shall be randomly selected from the sub-list
                                 of Appeal Panelists from that state; the remaining two Appeal
                                 Panelists shall be randomly selected from the entire Appeal
                                 Panelists pool approved by the Court to hear claims for
                                 Compensation Amounts of $1,000,000 or more.
               6.1.2.2.5.3.      The continued service on the Appeal Panels is within the sole
                                 discretion of the Court which shall retain jurisdiction over the
                                 Appeal Panels.
               6.1.2.2.5.4.      The Appeal Panel shall have the right to establish its own
                                 procedural rules regarding the review of appeals.

       6.1.2.3.    Claimant Appeal. A Claimant may Appeal within 30 days of the issuance
                   of final written notice from the Settlement Program of a determination of
                   final compensation award. For purposes of determining a filing fee and
                   the type of Appeal Panel or Panelists, the amount of compensation sought
                   by the Claimant shall be treated as the Compensation Amount. A
                   Claimant that exercises the right to Appeal shall elect at the time of filing,
                   to either:

           6.1.2.3.1.         Pay a filing fee that shall be refunded if the Claimant prevails.
                              (“Prevails” means that the Claimant is awarded an increase in the
                              Compensation Amount). The amount of the filing fee shall be as
                              follows:

                                         Compensation Amount             Fee

                                                     Up to $10,000 $100

                                                $10,001 to $25,000 $150

                                                $25,001 to $50,000 $200

                                              $50,001 to $100,000 $250



                                                58
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 62 of 123




                                          $100,001 to $250,000 $500

                                          $250,001 to $500,000 $1,000

                                              $500,001 or more $2,500


           or

           6.1.2.3.2.     Agree in writing that, if the Claimant does not prevail, any
                          Compensation Amount (exclusive of any RTP) that had been
                          determined by the Settlement Program shall be reduced by 5%.

       6.1.2.4.    BP Appeal. The BP Parties may Appeal a final compensation award
                   determination only where the Compensation Amount determined by the
                   Settlement Program is in excess of $25,000. The BP Parties shall receive
                   notice of an award on the same date that notice is provided to the
                   Economic Class Member and shall have the following time periods within
                   which to exercise their Appeal right for Claims in the following monetary
                   ranges: (a) for awards of $25,000 to $250,000 the BP Parties shall have
                   ten days from the date of notice of the award to Appeal; (b) for awards of
                   $250,001 to $500,000 the BP Parties shall have fifteen days from the date
                   of notice of the award to Appeal; and (c) for awards of greater than
                   $500,001 the BP Parties shall have twenty days from the date of the notice
                   of the award to Appeal. The BP Parties shall pay the following filing fees
                   to exercise their right to Appeal:

                                     Compensation Amount             Fee

                                             $25,001 to $50,000 $400

                                           $50,001 to $100,000 $500

                                          $100,001 to $250,000 $1,000

                                          $250,001 to $500,000 $2,000




                                             59
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 63 of 123




                                         $500,001 to $1,000,000 $4,000

                                           More than $1,000,000 $5,000



        6.1.3.    Filing fees for Appeals shall be added to the Promotional Fund referred to in
                  Section 5.13.

 6.2.        Appeals Compensation Method. All Appeals where the issue is the
             Compensation Amount shall be conducted using a baseball process in which the
             Claimant and the BP Parties exchange and submit in writing to the Appeal
             Panelist or Appeal Panel their respective proposals (“Initial Proposal”) for the
             base Compensation Amount they propose the Claimant should receive. The
             Appeal Panelists or Appeal Panel may consider only the following
             documentation: the Initial and Final Proposal and any memorandum in support
             thereof; the complete record of the Claimant in the Settlement Program; the
             Agreement and all of its attachments; Court rulings on similar issues; and prior
             Appeal rulings on similar issues. The Claimant and the BP Parties must exchange
             and submit a final proposed base compensation amount (“Final Proposal”) to the
             Appeal Panelist or Appeal Panel. Either Party shall have five (5) days to accept
             the other Party’s Final Proposal and end the Appeal. Without an agreed
             resolution, the Appeal Panelist or Appeal Panel must choose to award the
             Claimant either the Final Proposal by the Claimant or the Final Proposal by the
             BP Parties but no other amount. The Claimant and the BP Parties may choose to
             reach a compromise at any point up to the time the Appeal Panelist or Appeal
             Panel issues its decision. Once the Appeal Panelist or Appeal Panel issues a
             decision, it shall be final. The base compensation amount will then be presented
             to the Claims Administrator to further process the Claim as appropriate.

 6.3.        The procedures attached as Exhibit 25 hereto shall apply to Appeals pursuant to
             this Section 6. The Settlement Program may establish additional procedures for
             the Appeal Process not inconsistent with Exhibit 25.



                                              60
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 64 of 123




 6.4.     Appeal Review Standards. The Standard of Review by the Appeal Panelist or
          Appeal Panel shall be a de novo review of the complete record of that Claimant in
          the Settlement Program to enforce compliance with this Agreement as approved
          by the Court.

 6.5.     Review Costs. In the event that a Claimant prevails in an Appeal the Claimant
          shall be entitled to an additional 5% added to the total pre-RTP amount of the
          final award. If the Claimant is being compensated by the Seafood Compensation
          Fund, any additional compensation awarded as part of the 5% additional payment
          shall not be paid by the Seafood Compensation Fund but shall be paid separately
          by BP.

 6.6.     Court Inherent Jurisdiction. The Court maintains the discretionary right to review
          any Appeal determination to consider whether the determination was in
          compliance with the Agreement. Upon reviewing such a determination, the Court
          shall treat the Appeal determination as if it were a recommendation by a
          Magistrate Judge.

 6.7.     Written Appeal Compensation Determination. For every Appeal, the Appeal
          Panelist or Appeal Panel shall issue a written determination. For all Appeals in
          which the Appeal Panel determines the Claimant should receive a Compensation
          Amount of $1,000,000 or more, the Appeal Panel shall issue a written opinion
          describing the basis for its determination.

 6.8.     Immediately upon issuance of final written notice from the Claims Administrator
          of a determination of a Claim, the Settlement Program shall provide BP, Lead
          Class Counsel, Claimant and Claimant’s counsel (if Claimant is represented) with
          electronic access to the full record of the Claim at issue.

 6.9.     Compensation for Appeal Panelists. The Claims Administrator shall devise a
          uniform compensation program for Appeal Panelists as to which he shall seek
          input from the Claims Administration Panel. Such compensation program shall
          be subject to the approval of the Court.


                                            61
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 65 of 123




7. PRELIMINARY APPROVAL BY THE COURT AND CLASS CERTIFICATION.
  7.1.        Economic Class Counsel and BP’s Counsel agree to take all actions and steps
              reasonably necessary to obtain a Preliminary Approval Order from the Court.

  7.2.        CLASS CERTIFICATION FOR SETTLEMENT PURPOSES ONLY. The
              Parties agree to jointly seek class certification of the Economic Class under Fed.
              R. Civ. P. 23(a) and 23(b)(3) for the sole purpose of effectuating this Agreement
              under its terms and conditions. The Parties do not waive or concede any position
              or argument they have for or against class certification of any class for any other
              purpose in any action or proceeding. Any class certification order entered under
              this Agreement shall not constitute evidence, an admission, or a finding that the
              Economic Class or any class proposed by an Economic Class Member for any
              other purpose is appropriate for class certification. To the extent the Court enters
              the proposed form of Preliminary Approval Order and Final Judgment without
              material alteration, the Final Order will provide for vacation of the Preliminary
              Approval Order in the event the Agreement does not become effective. In the
              event that the Court certifies the proposed Economic Class in connection with this
              Agreement, BP will not oppose the motion brought by Interim Class Counsel or
              Lead Class Counsel (or their designee) seeking to certify a litigation class against
              Transocean or Halliburton, but limited to the recovery of punitive damages and/or
              assigned rights from the BP Parties.

  7.3.        Tolling of Statute of Limitations and Presentment.

         7.3.1.    Upon entry of the Preliminary Approval Order, the statutes of limitation
                   applicable to any and all claims or causes of action that have been or could
                   be asserted by or on behalf of any Economic Class Member are hereby
                   tolled and stayed. The limitations period shall not begin to run again for any
                   Economic Class Member unless and until (a) they Opt Out of the Economic
                   Class, or (b) they execute an Individual Release (the Individual Release will
                   contain a provision that further Claims can be made under this Agreement,
                   as allowed by this Agreement, regardless of any statute of limitations) or (c)


                                               62
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 66 of 123




                  the Agreement is terminated pursuant to Court Order. In the event the
                  Agreement is terminated pursuant to Court Order, the limitations period for
                  each Economic Class Member as to whom the limitations period had not
                  expired as of the date of the Preliminary Approval Order shall extend for the
                  longer of 90 days from the last required issuance of notice of termination or
                  the period otherwise remaining before expiration. Notwithstanding the
                  temporary tolling agreement herein, the Parties recognize that any time
                  already elapsed for any Plaintiffs or Economic Class Members on any
                  applicable statutes of limitations shall not be reset, and no expired claims
                  shall be revived, by virtue of this temporary tolling agreement. Plaintiffs
                  and Class Members do not admit, by entering into this Agreement, that they
                  have waived any applicable tolling protections available as a matter of law
                  or equity. Nothing in this Agreement shall constitute an admission in any
                  manner that the statute of limitations has been tolled for anyone outside the
                  Economic Class, nor does it constitute a waiver of legal positions regarding
                  tolling.

         7.3.2.   Regardless of whether the Agreement becomes effective, Claims with a sum
                  certain and some documentation and/or other proof that are submitted to the
                  Settlement Program shall be deemed to satisfy presentment and all
                  requirements of 33 U.S.C. § 2713.

8. NOTICE AND FAIRNESS HEARING.

  8.1.        CLASS NOTICE

         8.1.1.   As part of their Joint Motion for Preliminary Approval, the Parties shall
                  submit to the Court an agreed upon ECONOMIC AND PROPERTY
                  DAMAGES SETTLEMENT CLASS NOTICE PLAN.

         8.1.2.   The Class Notice Plan, to be implemented at the BP Parties’ expense in
                  accordance with the terms of the Class Notice Plan, shall be designed to
                  meet the requirements of Fed. R. Civ. P. 23 (c)(2)(B) and shall include:


                                             63
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 67 of 123




       8.1.2.1.    A multi-media notice effort covering the entire United States with a focus
                   on the Gulf Coast Areas.

           8.1.2.1.1.     The media notice effort will include publication in over 1,100 local
                          newspapers and nationwide publication in leading national
                          consumer magazines, trade, business and specialty publications,
                          local television, radio and newspapers in the Gulf Coast Areas,
                          appropriate foreign language and African-American publications
                          and online banner advertising.

       8.1.2.2.    Individual mailed notification to those Class Members who can
                   practicably be identified from Court filings and records, GCCF records,
                   and otherwise, pursuant to the Court approved Class Notice Plan.

           8.1.2.2.1.     The Economic Class Action Settlement Notice shall be mailed to
                          identifiable potential Class Members in the Economic Class,
                          plaintiffs in the MDL, including Natural Persons and Entities who
                          filed short form joinders in the MDL. To the extent BP or
                          Economic Class Counsel is aware that any of these Economic
                          Class Members are represented by counsel other than Economic
                          Class Counsel, the Economic Class Action Settlement Notice shall
                          also be mailed to their attorney.

       8.1.2.3.    Prior to mailing, all addresses will be checked against the National Change
                   of Address database managed by the CLASS NOTICE
                   ADMINISTRATOR. If a record is returned as invalid, the Class Notice
                   Administrator will update the address through third-party address search
                   services and re-mail as appropriate.

       8.1.2.4.    A case website where potential Economic Class Members can obtain
                   additional information and documents, including the Economic Class
                   Action Settlement Notice, SUMMARY PUBLICATION NOTICE,
                   Agreement, Claim Form, relevant orders of the Court and any other


                                              64
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 68 of 123




                     information the Parties may agree to provide or that the Court may
                     require.

         8.1.2.5.    A toll-free telephone system through which potential Economic Class
                     Members can obtain additional information, and the Economic Class
                     Action Settlement Notice and Claim Form.

        8.1.3.      In addition to the foregoing, a Court-approved notice will be given if the
                    Settlement terminates, and a Court-approved reminder notice will be given
                    in advance of the Claim filing deadline at BP’s expense.

 8.2.        OPT OUTS

        8.2.1.      The Economic Class Action Settlement Notice shall provide instructions
                    regarding the procedures that must be followed for Economic Class
                    Members to exclude themselves (“Opt Out”) from the Economic Class
                    pursuant to Fed. R. Civ. P. 23(c)(2)(B). The Parties agree that, to validly
                    exclude themselves from the Economic Class, Economic Class Members
                    must submit a written request to Opt Out, which must be received by the
                    Entity identified in the Class Notice Plan for that purpose, properly
                    addressed, and postmarked no later than October 1, 2012, or such later date
                    as the Court orders in the Preliminary Approval Order. A written request to
                    Opt Out may not be signed by any form of electronic signature, but must be
                    signed by a handwritten signature. Economic Class Counsel will be
                    provided with identifying information on OPT OUTS on a weekly basis,
                    under a confidentiality Order of the Court, to enable them to determine the
                    validity of Opt Outs and assist those who wish to revoke an Opt Out. All
                    requests to Opt Out must be signed by the Natural Person or Entity seeking
                    to exclude himself, herself or itself from the Economic Class. Attorneys for
                    such Natural Persons or Entities may submit a written request to Opt Out,
                    but they must still be signed by the Natural Person or Entity.

        8.2.2.      An Economic Class Member has the right to Opt Out of the Economic


                                               65
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 69 of 123




              Class. An Economic Class Member may make one or more Claims for
              Seafood Compensation Program, Economic Damage, Subsistence Damage,
              VoO Charter Payment, Vessel Physical Damage, Coastal Real Property
              Damage, Wetlands Real Property Damage and/or Real Property Sales
              Damage. However, Economic Class Members who exercise the right to Opt
              Out of the Economic Class must do so for all included Claims that the
              Economic Class Member possesses.

     8.2.3.   Pursuit of Excluded and Reserved Claims. Class Members are not required
              to Opt Out in order to pursue Expressly Reserved Claims, and may make
              included Claims without releasing the foregoing Expressly Reserved
              Claims. BP agrees not to raise any defense of “claim splitting” it otherwise
              might have raised with respect to such prosecution of the foregoing
              Expressly Reserved Claims. BP also agrees not to raise any defense of
              “claim splitting” it otherwise might have raised with respect to prosecution
              of Claims brought by employees in the otherwise excluded Gaming, Oil and
              Gas, Banking, Insurance, Funds, Defense Contractors and Developers
              Industries referred to in Section 1.3.1.9, but only regarding their lost
              earnings from employment in those industries.

     8.2.4.   All Economic Class Members who do not timely and properly Opt Out shall
              in all respects be bound by all terms of this Agreement and the Final Order
              and Judgment, shall be entitled to all procedural opportunities and
              protections described herein and provided by the Court, and all
              compensation for which they qualify under its terms, and shall be
              permanently and forever barred from commencing, instituting, maintaining
              or prosecuting any action based on any Released Claim against any
              Released Parties in any court of law or equity, arbitration tribunal or
              administrative or other forum.

     8.2.5.   Any Economic Class Member may revoke his, her or its Opt Out from the
              Economic Class and thereby receive the benefit of this Economic and


                                          66
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 70 of 123




                 Property Damage Settlement up until three (3) days prior to the Fairness
                 Hearing; or later, if the BP Parties consent in their sole and unilateral
                 discretion as provided in Section 8.2.6 below; or otherwise, if the Court so
                 orders on good cause shown.

        8.2.6.   After the Fairness Hearing and in addition to the provisions of Section 8.2.5
                 of this Agreement, the BP Parties shall have the discretion, but not the
                 obligation, to provide a new Economic Class Action Settlement Notice to
                 Economic Class Members who have timely and properly opted out from the
                 Economic Class allowing them the option, upon such conditions reasonably
                 imposed by the BP Parties, to rescind or withdraw their Opt Out and to
                 participate in the Economic Class. This provision does not apply to
                 Economic Class Members who have gone through the OPA PROCESS and
                 provided a release as part of that OPA Process. Any such new Economic
                 Class Action Settlement Notice that the BP Parties decide to send out, if
                 they so decide, must be approved by Economic Class Counsel and the Court
                 before it is sent.

 8.3.        REQUIREMENTS FOR OBJECTIONS AND APPEARANCES.

        8.3.1.   Subject to Court approval, any Economic Class Member may present
                 written objections, if he, she or it has any, explaining why the Agreement
                 should not be approved as fair, reasonable and adequate, or why attorneys’
                 fees and expenses to Economic Class Counsel should not be awarded in the
                 amounts requested. Any Economic Class Member who or that wishes to
                 object to any aspect of the Agreement must file with the Court, and serve on
                 Economic Class Counsel and BP’s Counsel, by first-class mail, no later than
                 August 31, 2012, a written statement of the objection(s). The written
                 statement of the objection(s) must include (a) a detailed statement of the
                 Economic Class Member’s objection(s); (b) the Economic Class Member’s
                 name, address and telephone number; (c) written proof that the individual or
                 Entity is in fact an Economic Class Member, such as proof of residency,


                                             67
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 71 of 123




                    ownership of property and the location thereof, and/or business operation
                    and the location thereof; and (d) any other supporting papers, materials or
                    briefs the Economic Class Member wishes the Court to consider when
                    reviewing the objection.

         8.3.2.    Economic Class Members may raise an objection either on their own or
                    through an attorney hired at their own expense. If an Economic Class
                    Member hires an attorney to represent him, her or it, the attorney must (a)
                    file a notice of appearance with the Clerk of the Court no later than
                    August 31, 2012; and (b) comply with the procedures described in Section
                    8.3.1 above.

         8.3.3.    An Economic Class Member who files an objection, but then submits and
                    releases a Claim before the Fairness Hearing shall lose the right to object.
                    Economic Class Members, or their attorneys, who intend to make an
                    appearance at the Fairness Hearing must serve on Economic Class Counsel
                    and BP’s Counsel, by first-class mail, and file with the Court, no later than
                    August 31, 2012, or as the Court otherwise may direct, a notice of their
                    intention to appear at the Fairness Hearing.

         8.3.4.    Any Economic Class Member, and/or their attorney(s), who fails to comply
                    with the provisions of the preceding subsections shall waive and forfeit any
                    and all rights they may have to object to the Agreement, and shall be bound
                    by all the terms of the Agreement and by all proceedings, orders and
                    judgments in the Deepwater Horizon Economic Litigation.

9. COMMUNICATIONS TO THE PUBLIC.

  9.1.        The Parties, BP’s Counsel and Economic Class Counsel may jointly or separately
              issue press releases announcing and describing this Agreement upon filing. The
              form, content, and timing of such press releases relating to this Agreement shall
              be subject to mutual agreement of the Parties, which shall not be unreasonably
              withheld, and in addition, the BP Parties shall, in their sole discretion, be entitled


                                                68
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 72 of 123




           to include such information as required by law or regulation. Lead Class Counsel
           (or their designee) and the BP Parties will consult regarding press releases.
           Communications by or on behalf of the Parties and their respective Counsel
           regarding this Agreement with the public and media shall be made in good faith,
           shall be consistent with the Parties’ agreement to take all actions reasonably
           necessary for preliminary and final approval of the Settlement, and the
           information contained in such communications shall be consistent with the
           content of the Notice approved by the Court. Nothing herein is intended to or
           shall be interpreted to inhibit or interfere with Economic Class Counsel’s ability
           to communicate with the Court, Economic Class Members, potential Economic
           Class Members, or their counsel.

10. RELEASE AND DISMISSAL OF ALL CLAIMS AND OTHER PROTECTIONS.

  10.1.    The Economic Class, Plaintiffs and all Economic Class Members, on behalf of
           themselves and their heirs, beneficiaries, estates, executors, administrators,
           personal representatives, agents, trustees, insurers, reinsurers, subsidiaries,
           corporate parents, predecessors, successors, indemnitors, subrogees, assigns, and
           any natural, legal or juridical person or Entity entitled to assert any claim on
           behalf of or in respect of the Economic Class or any Plaintiff or Economic Class
           Member, hereby release and forever discharge with prejudice, and covenant not to
           sue, the Released Parties for any and all Released Claims; provided however that
           this Release does not apply to, and the term Released Claims does not include,
           Expressly Reserved Claims. In the event a Released Party is sold or otherwise
           transferred to, or purchases or otherwise acquires, or enters into a partnership or
           joint venture with, a Natural Person or Entity that is not otherwise a Released
           Party immediately prior to giving effect to such transaction, then the non-
           Released Party shall as a result of such transaction obtain a benefit under this
           Release only with respect to any liability of the Released Party that it, or any such
           partnership or joint venture, has acquired or assumed or otherwise become liable
           for, and not in its own right.



                                             69
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 73 of 123




 10.2.    Released Claims shall include all claims arising out of, due to, resulting from, or
          relating in any way to, directly or indirectly, the Deepwater Horizon Incident,
          including any and all actions, claims, costs, expenses, taxes, rents, fees, profit
          shares, liens, remedies, debts, demands, liabilities, obligations, or promises of any
          kind or nature whatsoever, in both law or in equity, past or present, whether
          known or unknown, including claims for any and all Unknown Claims or
          damages, future injuries, damages or losses not currently known, but which may
          later develop, provided they arise out of, are due to, result from, or relate in any
          way to, directly or indirectly, in whole or in part, the Deepwater Horizon Incident,
          whether possessed or asserted directly, indirectly, derivatively, representatively or
          in any other capacity, and whether or not such clams were or could have been
          raised or asserted before the Court, and regardless of whether pursuant to
          statutory law, codal law, adjudication, quasi-adjudication, regulation, or
          ordinance, including common law, maritime or admiralty, statutory and non-
          statutory attorneys’ fees, breach of contract, breach of any covenant of good faith
          and/or fair dealing, fraud, misrepresentation, fraudulent concealment, deception,
          consumer fraud, antitrust, defamation, tortious interference with contract or
          business expectations, loss of business expectations or opportunities, loss of
          employment or earning capacity, diminution of property value, violation of the
          federal Racketeer Influenced and Corrupt Organizations Act or any similar state
          law, violations of any consumer protection act, punitive damages, exemplary
          damages, multiple damages, non-compensatory damages, compensatory damages,
          pain and suffering, interest, injunctive relief, declaratory judgment, costs,
          deceptive practices, unfair business practices, regulation, strict liability,
          negligence, gross negligence, willful misconduct, nuisance, trespass, fraudulent
          concealment, statutory violations, including the Oil Pollution Act of 1990 or other
          statutory claims, unfair business practices, breach of fiduciary duty, and all other
          theories, whether existing now or arising in the future, arising out of, due to,
          resulting from, or relating in any way to, directly or indirectly, the Deepwater
          Horizon Incident. Released Claims shall not include Expressly Reserved Claims,
          which means the following Claims that are not recognized or released under the


                                             70
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 74 of 123




          Agreement, and are reserved to the Economic Class Members: (1) Bodily Injury
          Claims, which are excluded from the Economic Class, but certain of which may
          be asserted in the Medical Benefits Class Action Settlement as described therein;
          (2) claims of BP shareholders in any derivative or direct action solely in their
          capacity as BP shareholders; (3) claims of Natural Persons and Entities for
          Moratoria Losses; (4) claims relating to menhaden (or “pogy”) fishing,
          processing, selling, catching, or harvesting; and (5) claims for Economic Damage
          suffered by Entities or employees (to the extent they allege Economic Damage
          based on their employment by such an Entity during the Class Period) in the
          Banking, Gaming, Financial, Insurance, Oil and Gas, Real Estate Development,
          Defense Contractor Industries, and Entities selling or marketing BP-branded fuel
          (including jobbers and branded dealers) as defined in Section 2.2.4. In addition,
          the Economic Class, Plaintiffs’ and Economic Class Members’ Claims for
          punitive or exemplary damages against Halliburton and Transocean are reserved.

 10.3.    Released Parties, for purposes of the Released Claims means (i) BP (including all
          persons, entities, subsidiaries, divisions and business units comprised thereby),
          together with (ii) the Deepwater Horizon Oil Spill Trust; (iii) the persons, entities,
          divisions, and business units listed on Exhibit 20 (“Other Released Parties”); (iv)
          each of BP’s and the Other Released Parties’ respective past, present and future
          directors, officers, employees, general or limited partners, members, joint
          venturers, and shareholders, and their past, present and future spouses, heirs,
          beneficiaries, estates, executors, administrators, personal representatives,
          attorneys, agents, trustees, insurers, reinsurers, predecessors, successors,
          indemnitees, assigns; (v) any natural, legal or juridical person or Entity acting on
          behalf of or having liability in respect of BP or the Other Released Parties, in their
          respective capacities as such; and (vi) the federal Oil Spill Liability Trust Fund
          and any state or local fund, and, as to i-vi above, each of their respective
          Affiliates, including their Affiliates’ officers, directors, shareholders, employees,
          and agents. Released Parties will also include any vessels owned or chartered by
          any Released Party (except for the Deepwater Horizon itself). Notwithstanding
          anything herein to the contrary, in no event shall any of the following be deemed

                                            71
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 75 of 123




          to be a Released Party: Transocean or Halliburton. The Economic Class,
          Plaintiffs and Economic Class Members specifically reserve its and their rights
          for punitive and exemplary damages against Transocean and Halliburton. In
          addition, the Economic Class specifically reserves its rights under the Assigned
          Claims.

 10.4.    Release shall mean those Releases set forth in this Section 10.

 10.5.    Unknown Claims and damages or not currently known claims and damages
          (whether or not capitalized) shall mean all past, present and future claims and
          damages arising out of facts, including new facts or facts found hereafter to be
          other than or different from the facts now believed to be true, arising out of, due
          to, resulting from, or relating in any way to, directly or indirectly, the Deepwater
          Horizon Incident covered by the Release in Section 10 that any Natural Person
          or Entity providing a Release, including the Plaintiffs and Economic Class
          Members, do not, in whole or in part, know or suspect to exist and which, if
          known by them, might have affected their decision to provide such Release,
          including all claims arising out of new facts or facts found hereafter to be other
          than or different from the facts now believed to be true.

 10.6.    The Economic Class, Plaintiffs and the Economic Class Members expressly
          waive and release with prejudice, and shall be deemed to have waived and
          released with prejudice, any and all rights that they may have under any law,
          codal law, statute, regulation, adjudication, quasi-adjudication, decision,
          administrative decision, or common law principle that would otherwise limit the
          effect of the Release to those claims or matters actually known or suspected to
          exist at the time of execution of the Release. California law is not applicable to
          this Agreement, but purely for illustrative purposes the Released Claims include,
          but are not limited to the release of claims provided for in Section 1542 of the
          California Civil Code, which provides as follows: “A general release does not
          extend to claims which the creditor does not know or suspect to exist in his or




                                           72
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 76 of 123




              her favor at the time of executing the release, which if known by him or her
              must have materially affected his or her settlement with the debtor.”

 10.7.        The Release is not intended to prevent BP from exercising its rights of
              contribution, subrogation, or indemnity under the OPA or any other law,
              including its rights of assignment regarding Assigned Claims as set forth in
              Exhibit 21. BP is hereby subrogated to any and all rights that the Economic Class
              Members, or any of them, may have had or have arising out of, due to, resulting
              from, or relating in any way to, directly or indirectly, the Deepwater Horizon
              Incident under the OPA. All such rights of BP to contribution, indemnity, and
              subrogation, and BP’s subrogation to the rights of Economic Class Members, are
              subject to the provisions regarding Assigned Claims in Exhibit 21.

 10.8.        The Economic Class Members shall be required to provide the following
              certifications:

         10.8.1.    For business or property claims: “I certify that either: (1) I have not made
                    an insurance claim or received any insurance proceeds for any business or
                    property claim arising out of, due to, resulting from, or relating in any way
                    to, directly or indirectly, the Deepwater Horizon Incident; or (2) if I have
                    made or do make an insurance claim and/or receive or have received
                    insurance proceeds for any business or property claim arising out of, due to,
                    resulting from, or relating in any way to, directly or indirectly, the
                    Deepwater Horizon Incident, I will indemnify BP for any liability and
                    defense costs it incurs for a subrogation claim made against BP arising out
                    of (a) such insurance proceeds provided that the subrogation claim is
                    brought by an entity seeking payment of insurance proceeds to me for any
                    business or property claim arising out of, due to, resulting from, or relating
                    in any way to, directly or indirectly, the Deepwater Horizon Incident; and
                    (b) the amount that I indemnify BP shall not exceed the amount of insurance
                    proceeds that I received for the business or property claim at issue.”

         10.8.2.    For individual claims: “I certify that either (1) I have not made a claim for

                                                73
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 77 of 123




               unemployment insurance benefits arising out of, due to, resulting from, or
               relating in any way to, directly or indirectly, the Deepwater Horizon
               Incident; or (2) if I have made or do make a claim for unemployment
               insurance benefits arising out of, due to, resulting from, or relating in any
               way to, directly or indirectly, the Deepwater Horizon Incident, I will
               indemnify BP for any liability and defense costs it incurs for a subrogation
               claim made against BP arising out of such insurance proceeds provided that
               the subrogation claim is brought by an entity seeking payment of insurance
               proceeds to me for any business or property claim arising out of, due to,
               resulting from, or relating in any way to, directly or indirectly, the
               Deepwater Horizon Incident; and the amount that I indemnify BP shall not
               exceed the amount of insurance proceeds that I received for the
               unemployment insurance benefits claim at issue.”

 10.9.    As a condition precedent to receiving a Settlement Payment, including after the
          Effective Date, a Claimant must sign an Individual Release.

 10.10.   The Parties agree that this Agreement and Release is entered into in consideration
          of the agreements, promises, and mutual covenants set forth in this Agreement,
          the Release, the entry of the Final Order and Judgment dismissing all Released
          Claims against all Released Parties with prejudice and approving the terms and
          conditions of the Settlement as set forth in this Agreement, and for such other
          good and valuable consideration the receipt and sufficiency of which are hereby
          acknowledged, subject to the Parties’ ongoing performance of this Agreement and
          the GUARANTOR’S and BACK-UP GUARANTOR’S respective Guarantees
          of the BP Parties’ payment obligations hereunder in accordance with the terms of
          the Guarantees.

 10.11.   Consistent with the Claim Frameworks for Coastal Real Property Claims and
          Wetlands Real Property Claims, the Economic Class, Plaintiffs and the Economic
          Class Members agree not to institute federal or state regulatory proceedings
          concerning cleanup, removal, spill response or remediation of Real Property as a


                                           74
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 78 of 123




           means to seek the redress of Released Claims. Other provisions concerning
           regulatory proceedings in the Claim Framework for Coastal Real Property Claims
           and Wetlands Real Property Claims are incorporated herein by reference.

 10.12.    Dismissal of All Claims

      10.12.1.   In consideration of the benefits provided under this Agreement, upon the
                 Effective Date, all Released Claims by or on behalf of the Economic Class,
                 Plaintiffs or any and all Economic Class Members against any and all
                 Released Parties shall be dismissed with prejudice.

      10.12.2.   From and after the Effective Date for the consideration provided for herein
                 and by operation of the Final Order and Judgment, this Agreement shall be
                 the exclusive remedy for any and all Released Claims by or on behalf of the
                 Economic Class, Plaintiffs or any and all Economic Class Members against
                 any and all Released Parties, and the Economic Class, Plaintiffs and
                 Economic Class Members shall not recover, directly or indirectly, any sums
                 from any Released Parties for any Released Claims other than those
                 received for the Released Claims under the terms of this Agreement.

      10.12.3.   From and after the Effective Date, the Parties agree that the Economic
                 Class, Plaintiffs and each and every Economic Class Member, and all other
                 persons and Entities claiming by, through, or on behalf of, them will be
                 forever barred and enjoined from commencing, filing, initiating, instituting,
                 prosecuting, maintaining, or consenting to any judicial, arbitral, or
                 regulatory action against the Released Parties with respect to the Released
                 Claims.

      10.12.4.   From and after the Effective Date, if the Economic Class, Plaintiffs or any
                 Economic Class Member commences, files, initiates, or institutes any new
                 action or other proceeding for any Released Claims against the Released
                 Parties in any federal or state court, arbitration tribunal, or administrative or
                 other forum, such action or other proceeding shall be dismissed with


                                             75
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 79 of 123




                prejudice and at the cost of (a) the Economic Class if the Economic Class
                brings such action or proceeding, or (b) the Plaintiffs and/or Economic Class
                Members who bring such action or proceeding provided, however, before
                any costs may be assessed, counsel for such Economic Class Member, or, if
                not represented, such Class Member shall be given reasonable notice and an
                opportunity voluntarily to dismiss such new action or proceeding with
                prejudice. Furthermore, if any Released Party brings any legal action before
                any Court or arbitration, regulatory agency, or other tribunal to enforce its
                rights under this Agreement, such Released Party shall be entitled to recover
                any and all related costs and expenses (including attorneys’ fees) from
                (a) the Economic Class if the Economic Class brings such action, or (b) the
                Plaintiffs and/or Economic Class Members who bring such action; in
                violation or breach of its obligations under this Section 10.

11. ASSIGNMENT AND PROTECTIONS.
  11.1.    The Parties have agreed to the terms of an assignment and certain protections for
           Released Parties as set forth in Exhibit 21.

12. DENIAL OF WRONGDOING OR LIABILITY.

  12.1.    This Agreement constitutes the resolution of disputed claims and is for settlement
           purposes only. BP expressly denies that it has committed all of the alleged
           wrongdoing in the Action, or is liable for all of the wrongs and theories alleged
           therein. Nevertheless, BP has concluded that it is in BP’s best interest that the
           Action be settled on the terms and conditions set forth in this Agreement. BP
           reached this conclusion after considering the factual and legal issues in the
           Action, the substantial benefits of a final resolution of the Action, the expense that
           would be necessary to defend the Action through trial and any appeals that might
           be taken, the benefits of disposing of protracted and complex litigation, and the
           desire of BP to conduct its business unhampered by the distractions of continued
           litigation over the Released Claims. Plaintiffs and BP agree that neither this
           Agreement, nor any actions undertaken by the BP Parties in the negotiation,
           execution or satisfaction of this Agreement shall constitute, or be construed as, an

                                            76
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 80 of 123




          admission of any liability or wrongdoing, or recognition of the validity of any
          allegation of fact or law made by the Plaintiffs, the Economic Class or by any
          Economic Class Member in this Action or in any other action or proceeding.

 12.2.    This Agreement, any statements or negotiations made in connection with this
          Agreement, and any actions undertaken by BP under this Agreement, shall not be
          offered or be admissible as evidence or used in any other fashion against BP in
          any lawsuit, action, hearing or proceeding for any purpose, including the
          existence, certification or maintenance of any purported class, except (i) in any
          action or proceeding brought to enforce the terms of this Agreement by the
          Economic Class, or by any Economic Class Member, against the BP Parties, or
          (ii) by BP in defense of any claims against it brought by Plaintiffs, the Economic
          Class, or by any Economic Class Member in any other action. Nor shall this
          Agreement serve as precedent in any manner, because the Agreement is based on
          the specific facts of this matter and is for settlement purposes only.

 12.3.    The use of environmental data (including SCAT and NRDA data) as part of this
          Agreement shall not constitute an admission or judicial determination related to
          the admissibility or interpretation of such data for any other purpose, and, further,
          the use of such data shall have no effect on, and shall be without prejudice to, the
          use, admissibility and interpretation of such data for any other purpose, including
          any claims for natural resource damages. The fact that the Claims Administrator
          or the Court accepts or relies upon any evidence of loss submitted by the
          Economic Class or any Economic Class Member shall not constitute a finding or
          determination of loss or damage for any purpose including, but not limited to, in
          any proceedings related to claims for natural resource damages; further the Parties
          agree that the use, submission, interpretation or acceptance (including non-
          objection) of such evidence shall not constitute an admission or determination that
          such evidence is relevant or admissible for any purpose other than the Settlement
          Program under this Agreement.




                                            77
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 81 of 123




13. REPRESENTATIONS AND WARRANTIES.

  13.1.    Interim Class Counsel and Proposed Economic Class Counsel represent and
           warrant that they have authority to enter into this Agreement on behalf of the
           Economic Class Representatives.

  13.2.    The BP Parties represent and warrant that they have all requisite corporate power
           and authority to execute, deliver and perform this Agreement. The execution,
           delivery, and performance by the BP Parties of this Agreement has been duly
           authorized by all necessary corporate action. This Agreement has been duly and
           validly executed and delivered by the BP Parties, and constitutes their legal, valid
           and binding obligation.

  13.3.    The Parties warrant and represent that no promise or inducement has been offered
           or made for the Release contained in Section 10, except as set forth expressly
           herein, and that this Agreement, including its Release, is executed without
           reliance on any statements or any representations not contained herein, and that
           this Agreement and its Release reflect the entire Agreement between the Parties.
           The warranties and representations made throughout the Agreement shall survive
           the execution and delivery of this Release and shall be binding upon the
           respective heirs, representatives, successors and assigns of each of the Parties.

  13.4.    Plaintiffs and Proposed Economic Class Counsel expressly acknowledge and
           represent that they (a) have performed an independent investigation of the
           allegations of fact and law made in connection with the Deepwater Horizon
           Economic Litigation; and (b) may hereafter discover facts in addition to, or
           different from, those that they now know or believe to be true with respect to the
           subject matter of this Agreement and/or the actions or matters covered by the
           Release. Nevertheless, the Parties intend to resolve their disputes pursuant to the
           terms of this Agreement and thus, in furtherance of their intentions, the
           Agreement shall remain in full force and effect notwithstanding the discovery
           after the date of this Agreement or at any other time of any additional facts or law,



                                            78
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 82 of 123




               or changes in law, and this Agreement shall not be subject to rescission or
               modification by reason of any change or difference in facts or law.

  13.5.        The Parties specifically understand that there may be further pleadings, discovery
               responses, documents, testimony, or other matters or materials owed by the
               Parties to each other, pursuant to existing pleading requirements, discovery
               requests, pretrial rules, procedures, orders, decisions, or otherwise, and that, as of
               the date of this Agreement, each Party expressly waives any right to receive,
               inspect, or hear such pleadings, discovery, testimony, or other matters or materials
               during the pendency of the Settlement proceedings contemplated by this
               Agreement and subject to further order of the Court.




14. PLAINTIFFS’ COUNSEL’S ATTORNEY’S FEES AND COSTS.

  14.1.        As a material term and condition precedent to a Settlement Agreement, the BP
               Parties and the PSC must reach agreement regarding the amount of attorneys’ fees
               and costs for the common benefits to the putative Economic Class, which will be
               subject to final determination and approval by the Court. In no event will the BP
               Parties be obligated to pay more in fees and costs in connection with the putative
               Economic Class than the amount to be agreed to with the PSC. The Parties have
               not had any fees discussion to date, and will not have such a discussion until the
               Court has first authorized such discussions. Details regarding this provision shall
               be negotiated and attached as Exhibit 27.

15. FINAL ORDER AND JUDGMENT, DISMISSAL WITH PREJUDICE.

  15.1.        The Parties shall jointly seek a Final Order and Judgment that:

          15.1.1.   approves the Settlement in its entirety pursuant to Fed. R. Civ. P. 23(e) as
                     fair, reasonable, and adequate;

          15.1.2.   finds that this Agreement, with respect to Economic Class Members who are
                     minors, lack capacity, or are incompetent, is fair, reasonable and adequate;

                                                 79
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 83 of 123




     15.1.3.    confirms the certification of the Economic Class, for settlement purposes
                only;

     15.1.4.    confirms the appointment of the Economic Class Representatives;

     15.1.5.    confirms the appointment of the Economic Class Counsel and Lead Class
                Counsel;

     15.1.6.    finds that the Class Notice and Class Notice Plan satisfied and satisfy the
                requirements set forth in Fed. R. Civ. P. 23(c)(2)(B);

     15.1.7.    permanently bars and enjoins each Economic Class Member from
                commencing, asserting, and/or prosecuting any and all Released Claims
                against any Released Party;

     15.1.8.    dismisses with prejudice the Action without further costs, including claims
                for interest, penalties, costs and attorneys’ fees;

     15.1.9.    dismisses with prejudice all the Released Claims by the Releasing Parties
                against the Released Parties without further costs, including claims for
                interest, penalties, costs and attorneys’ fees;

     15.1.10.   orders the dismissal with prejudice of all RELATED CLAIMS pending in
                the Court, and without further costs, including claims for interest, penalties,
                costs, and attorneys’ fees;

     15.1.11.   orders all Economic Class Members with Related Claims pending in any
                federal or state court, forum, or tribunal other than the Court to dismiss with
                prejudice such Related Claims, and without further costs, including claims
                for interest, penalties, costs, and attorneys’ fees;

     15.1.12.   confirms the appointment of the Claims Administrator and Claims
                Administration Vendors;

     15.1.13.   expressly incorporates the terms of this Agreement and provides that the


                                              80
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 84 of 123




                     Court retains continuing and exclusive jurisdiction over the Parties, the
                     Economic Class Members and this Agreement, to interpret, implement,
                     administer and enforce the Agreement, in accordance with its terms;

          15.1.14.   orders all Economic Class Members to comply with the Assignment and
                     Protections provisions of Section 11 and Exhibit 21.

16. COOPERATION OF PARTIES AS TO CONSUMMATION OF SETTLEMENT.
  16.1.        The Parties agree to take all actions necessary to obtain final approval of this
               Agreement and entry of a Final Order and Judgment, including the terms and
               provisions described in this Agreement, and dismissing all Released Claims
               against all Released Parties with prejudice. Upon the Effective Date, the Parties
               also agree to take all actions and steps necessary to obtain dismissal of all other
               lawsuits that are pending and/or may be filed against BP, arising out of, due to,
               resulting from, or relating in any way to, directly or indirectly, the subject matter
               of the Deepwater Horizon Economic Litigation, to the extent of Released Claims
               against Released Parties.

17. COOPERATION OF PARTIES AS TO SUPPORT OF SETTLEMENT.

  17.1.        The Parties agree to support the final approval and implementation of this
               Agreement and defend it against objections, appeal, or collateral attack. Neither
               the Parties nor their Counsel, directly or indirectly, will encourage any person to
               object to the Economic and Property Damages Settlement. Nothing in this
               Agreement shall impair BP’s right to take any action to defend itself in any trial
               where BP is a party.

18. CONTINUING JURISDICTION.

  18.1.        Pursuant to the Final Order and Judgment, the Court shall retain continuing and
               exclusive jurisdiction over the Parties and their Counsel for the purpose of
               enforcing, implementing and interpreting this Agreement, including all issues
               relating to the scope, application and/or operation of the Release in Section 10
               above, including jurisdiction over all Economic Class Members, and over the


                                                 81
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 85 of 123




           administration and enforcement of the Agreement and the distribution of its
           benefits to Economic Class Members, and any dispute arising as to the action or
           election of any Party under Section 21 below regarding the enforceability or
           illegality of any provisions of this Agreement. Any disputes or controversies
           arising out of or related to the interpretation, enforcement or implementation of
           the Agreement and the Release shall be made by motion to the Court. In addition,
           the Parties, including each member of the Economic Class as defined in the Final
           Order and Judgment, and their Counsel are hereby deemed to have submitted
           irrevocably to the exclusive jurisdiction of this Court for any suit, action,
           proceeding or dispute arising out of or relating to this Agreement. The terms of
           the Agreement shall be incorporated into the Final Order and Judgment of the
           Court dismissing with prejudice all Released Claims by the Economic Class,
           Plaintiffs, and Economic Class Members against all Released Parties, which shall
           allow that Final Order and Judgment to serve as an enforceable injunction by the
           Court for purposes of the Court’s continuing jurisdiction related to the
           Agreement.

  18.2.    Before filing any motion or petition in the Court raising a dispute arising out of or
           related to this Agreement, counsel for the Parties shall consult with each other and
           certify to the Court that they have consulted.

19. STAY OR ADJOURNMENT OF ALL PROCEEDINGS.
  19.1.    BP’s position is that a stay or adjournment of any trial proceeding (including the
           previously set Phase I trial) that would or might determine BP’s liability to the
           Economic Class is a material term and condition precedent to the Settlement from
           the date of the Parties’ execution of this Agreement through the Court’s
           determination of the fairness of the Settlement. Plaintiffs and Proposed Economic
           Class Counsel shall not oppose BP’s position.

20. DUTIES OF ECONOMIC CLASS COUNSEL.
  20.1.    Interim Class Counsel and Proposed Economic Class Counsel acknowledge that
           under applicable law their duty is to the entire Economic Class, to act in the best
           interest of the Economic Class as a whole, with respect to promoting, supporting,

                                             82
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 86 of 123




           and effectuating, as fair, adequate and reasonable, the approval, implementation,
           and administration of the Settlement embodied in this Agreement, and that their
           professional responsibilities as attorneys are to be viewed in this light, under the
           ongoing supervision and jurisdiction of the Court that appoints them to represent
           the interests of the Economic Class.

21. ILLEGALITY OR UNENFORCEABILITY OF PROVISIONS.

  21.1.    In the event that the Release contained in Section 10 above, or the Individual
           Releases as to all Economic Class Members contained in Section 4 above, or any
           portion or provision thereof, shall for any reason be held in whole or in part to be
           invalid, illegal, or unenforceable in any respect, such invalidity, illegality, or
           unenforceability shall not affect any other provision, or portion thereof, if the BP
           Parties elect in their sole discretion in writing to proceed as if such invalid, illegal,
           or unenforceable provision, or portion thereof, had never been included in this
           Agreement. Alternatively, the BP Parties, in these circumstances, may elect in
           writing that the entire Agreement be rendered null and void consistent with the
           terms described in Section 21.3 below.

  21.2.    In the event that any other material provision of this Agreement, with materiality
           to be determined jointly by the Parties in their sole but good faith discretion, shall
           for any reason be held in whole or in part to be invalid, illegal, or unenforceable
           in any respect, such invalidity, illegality, or unenforceability shall not affect any
           other provision, or portion thereof, of this Agreement if either Party elects in
           writing to proceed as if such invalid, illegal, or unenforceable provision, or
           portion thereof, had never been included in this Agreement. Alternatively, either
           Party may, in these circumstances, elect in writing that the entire Agreement be
           rendered null and void consistent with the terms described in Section 21.3 below.
           Such election shall be prospective from the date of the election.

  21.3.    This Agreement shall, at the written election of the BP Parties filed in the MDL
           2179 (E.D. La.), become null and void and shall have no further effect with
           respect to any Party to the Deepwater Horizon Economic Litigation if any of the

                                              83
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 87 of 123




          events or actions in Sections 21.3.1 to 21.3.4 occur. If this Agreement for any
          reason terminates and becomes null and void, the Claims Administrator will
          continue to process Claims that have been submitted but as to which the Claimant
          has not executed an Individual Release. However, each such Claimant must agree
          to be individually represented by an attorney of the Claimant’s choice (if not
          already represented) or by one or more of the attorneys who served as Economic
          Class Counsel, who must agree in writing to accept such representation, as a
          precondition for payment. There shall be no payment until an Individual Release
          has been executed. Claimants who have already received an initial payment on
          one or more of their Claims and executed an Individual Release shall still receive
          the full six months from the initial payment to make another Claim, as provided in
          Section 4.4.8, notwithstanding any termination of the Agreement.

     21.3.1.   the Preliminary or Final Approval of the Settlement described in this
               Agreement is not obtained or is reversed on appeal by a court of last resort;
               or

     21.3.2.   the Effective Date does not occur for any reason; or

     21.3.3.   entry of the Final Order and Judgment is finally reversed; or

     21.3.4.   the Final Order and Judgment is materially modified by the Court or on
               appeal by a court of last resort.

     21.3.5.   Such written election must be made within thirty (30) days of the BP Parties
               receiving written notice of any of the events described in Sections 21.3.1
               through 21.3.4 above.

     21.3.6.   In addition, the BP Parties have the absolute and unconditional right, before
               the date of the Final Approval Hearing, solely at their option, to terminate
               this Agreement in the event the number of potential Economic Class
               Members who have filed valid and timely requests for exclusion (Opt Out)
               exceeds a number agreed to by the Parties and to be filed with the Court in a
               sealed envelope or in the event the Court permits or allows a certified class

                                           84
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 88 of 123




                    of Natural Persons or Entities who are also members of the Economic Class
                    to Opt Out of the Settlement after the BP Parties and/or Plaintiffs challenge
                    such Opt Out by a certified class.

          21.3.7.   In the event this Agreement is terminated, this Agreement shall not be
                    offered into evidence or used in this or any other action for any purpose,
                    including in support or opposition to the existence, certification or
                    maintenance of any purported class. In such event, this Agreement, and all
                    negotiations, proceedings, documents prepared and statements made in
                    connection with this Agreement, shall be without prejudice to any Party and
                    shall not be admissible into evidence and shall not be deemed or construed
                    to be an admission or concession by any Party of any fact, matter or
                    proposition of law and shall not be used in any manner for any purpose, and
                    all Parties shall stand in the same position as if this Agreement had not been
                    negotiated, made, entered into or filed with the Court.

          21.3.8.   If this Agreement for any reason terminates and becomes null and void, the
                    Parties shall jointly move the Court to vacate the Preliminary Approval
                    Order and any other orders certifying a class in the Action. However, as set
                    forth more fully in Section 10 above, any Economic Class Member who or
                    that received a Settlement Payment and executed an Individual Release is
                    fully bound and shall continue to be bound by the Individual Release.

          21.3.9.   If the Agreement terminates for any of the reasons in this Section, any
                    unspent funds shall revert to BP, including any funds described in Section
                    5.12.

22. PRESERVATION OF CONFIDENTIAL DOCUMENTS.

  22.1.        In the event any confidential documentation is provided by or on behalf of the
               Parties in the course of the Settlement process, the Parties and their Counsel
               agree that all such documentation shall be preserved until after performance of all
               terms of the Agreement is completed, and the use of such documentation shall be


                                                85
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 89 of 123




           governed by the following pretrial orders entered in the MDL: Pretrial Order No.
           13, Order Protecting Confidentiality; Pretrial Order No. 29, Regarding Documents
           Produced by BP in the Texas City Litigation; Pretrial Order No. 38, Order
           Relating to Confidentiality of Settlement Communications; and Pretrial Order No.
           47, Order Regarding Designation of Documents as “Confidential” or “Highly
           Confidential.” The Parties shall continue to treat documents in conformity with
           the requirements of the confidentiality requirements of the foregoing pretrial
           orders.

23. INTERPRETATION.
  23.1.    All references in this Agreement to a section, article, exhibit or schedule are to a
           section, article, exhibit or schedule of this Agreement, unless otherwise indicated.
           Whenever the context may require, any pronoun will include the corresponding
           masculine, feminine, and neuter forms. The words “includes” and “including”
           will be deemed to be followed by the words “without limitation” whenever used.
           Any definition of or reference to any agreement, instrument or other document
           will be construed as from time to time amended, supplemented or otherwise
           modified. Any definition of or reference to any law will be construed as referring
           to such law as from time to time amended and any successor to such law and to
           the rules and regulations issued from time to time under such law.

  23.2.    The titles in this Agreement are for convenience only and shall not be used to
           interpret the provisions of the Agreement.

24. NO PENALTY OR FINE.
  24.1.    The Parties agree and acknowledge that no consideration, amount or sum paid,
           credited, offered, or extended, or to be paid, credited, offered, or extended, by any
           of the Defendants in the performance of this Agreement constitutes a penalty,
           fine, or any other form of assessment for any alleged claim or offense.

25. AGREEMENT MUTUALLY PREPARED.

  25.1.    This Agreement shall be deemed to have been mutually prepared by the Parties
           and shall not be construed against any of them by reason of authorship.

                                             86
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 90 of 123




26. BINDING AND ENTIRE AGREEMENT.

  26.1.    Plaintiffs, the Economic Class, and each Economic Class Member and the BP
           Parties expressly and each agree that the terms of this Agreement, and all
           provisions hereof, including all representations, promises, agreements, covenants
           and warranties, and including the Exhibits thereto, are contractual and not a mere
           recital and shall survive the execution of this Agreement. This Agreement and its
           exhibits, attachments, and appendices shall constitute the entire agreement and
           understanding among the Parties and supersedes all prior proposals, negotiations,
           agreements, and understandings relating to the subject matter of this Agreement.
           This Agreement shall be binding upon and shall inure to the benefit of the Parties
           hereto and their representatives, heirs, successors and assigns.

27. RECEIPT OF ADVICE OF COUNSEL.

  27.1.    Plaintiffs acknowledge, agree and specifically warrant and represent that they
           have discussed with a representative of Interim Class Counsel the terms of this
           Agreement relevant to them, and the Release contained in Section 10 above, have
           received legal advice with respect to the advisability of entering into this
           Agreement and the Release, and the legal effect of this Agreement and the
           Release.

28. EXTENSION OF TIME AND MINISTERIAL CHANGES.

  28.1.    The Parties may agree, subject to approval of the Court where required, to
           reasonable extensions of time to carry out and/or implement the terms and
           provisions of this Agreement and to make necessary ministerial changes to this
           Agreement.

29. EXECUTION OF AGREEMENT IN COUNTERPARTS.

  29.1.    This Agreement may be executed in counterparts, and a facsimile signature shall
           be deemed an original signature for purposes of this Agreement.




                                             87
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 91 of 123




30. DECEASED, DISSOLVED OR BANKRUPT CLASS MEMBERS.

  30.1.    Where an Economic Class Member is deceased and a payment is due to that
           Economic Class Member, upon receipt of proper notification and documentation
           the Settlement Payment will be made to such Economic Class Member’s personal
           representative. Where an Economic Class Member is no longer in business or
           dissolved and a Settlement Payment is due to that Economic Class Member, upon
           receipt of proper notification and documentation the Settlement Payment will be
           made to such Economic Class Member or its creditors (including governmental
           taxing authorities) as the Claims Administrator shall reasonably determine.
           Where an Economic Class Member has been declared bankrupt, or is the subject
           of an open and ongoing bankruptcy proceeding, and a Settlement Payment is due
           to that Economic Class Member, upon receipt of proper notification and
           documentation the Settlement Payment shall be made to such Economic Class
           Member in accordance with the applicable United States Bankruptcy Code
           provisions.

31. MINOR AND INCOMPETENT CLASS MEMBER SETTLEMENT PROVISION.

  31.1.    A Guardian Ad Litem shall be nominated by the Parties and approved by the
           Court under Fed. R. Civ. P. 17(c) to examine this Agreement and make a
           recommendation to the Court regarding the fairness, reasonableness and adequacy
           of this Agreement to determine whether the Settlement is in the best interest of
           such Economic Class Members who are MINOR CLASS MEMBERS or
           INCOMPETENT CLASS MEMBERS. The Guardian Ad Litem shall
           investigate the potential claims for all persons who are minors or incompetent
           adults, who, but for their lack of capacity, may otherwise participate as Economic
           Class Members, and shall, following such investigation, report the results of his or
           her independent investigation to the Parties, and make a recommendation to the
           Court as to the fairness, reasonableness and adequacy of this Agreement to
           determine whether the Settlement is in the best interest of such Economic Class
           Members.



                                            88
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 92 of 123




  31.2.    In processing a Minor Class Member’s claim, to promote judicial efficiency, the
           Claims Administrator may review all relevant laws relating to distribution of a
           Minor Class Member’s benefits under this Agreement, such that where
           streamlined procedures exist not requiring domiciliary court approval or
           supervision, the Claims Administrator is authorized to adopt those procedures as
           part of a claims administration protocol applicable to Minor Class Members. The
           Claims Administrator is also authorized to exercise reasonable discretion in
           delaying payment to a Minor Class Member where, through a reasonable period
           of time, such person will reach age of majority; thereby rendering moot any minor
           settlement or similar proceedings following the law of that Minor Class Member’s
           domicile.

  31.3.    Minor or Incompetent Class Members who are otherwise represented by another
           adult Natural Person, as tutor, guardian, conservator or similar fiduciary at the
           time of submission of a Claim Form, need not have their rights protected under
           this Agreement through the Guardian Ad Litem.

  31.4.    The Guardian Ad Litem shall work with the Claims Administrator to identify
           those persons in need of representation before the Court to promote the interests
           of judicial efficiency through application of federal procedural law, taking into
           account any relevant state laws that impact distribution to such Minor Class
           Members and Incompetent Class Members, to ensure that the rights of those
           persons are fully exercised under the terms of this Agreement.

  31.5.    Where a Minor Class Member or Incompetent Class Member is also legally
           represented in accordance with the law of domicile of such person, the Guardian
           Ad Litem shall have no standing or power on behalf of such Minor Class Member
           or Incompetent Class Member

32. NO TAX ADVICE.

  32.1.    No opinion regarding the tax consequences of this Settlement to any individual
           Economic Class Member is being given or will be given by BP or its counsel,


                                            89
 Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 93 of 123




             Interim Class Counsel or Proposed Economic Class Counsel, nor is any
             representation or warranty in this regard made by virtue of this Agreement.
             Plaintiffs must consult their own tax advisors regarding the tax consequences of
             the Settlement, including any payments provided hereunder and any tax reporting
             obligations they may have with respect thereto. Each Economic Class Member’s
             tax obligations, and the determination thereof, are his, her, or its sole
             responsibility, and it is understood that the tax consequences may vary depending
             on the particular circumstances of each individual Economic Class Member. The
             BP Parties shall have no liability or responsibility whatsoever for any such tax
             consequences resulting from payments under this Settlement. To the extent
             required by law, the BP Parties will report payments made under the Agreement
             to the appropriate authorities.

33. NO OTHER RIGHTS OR REMEDIES.

  33.1.      Nothing expressed or implied in this Agreement is intended to or shall be
             construed to confer upon or give any Natural Person or Entity other than
             Economic Class Members, Plaintiffs, the BP Parties and the Released Parties any
             right, benefit, entitlement, claim, cause of action or remedy under or by reason of
             this Settlement.

34. NOTICE
  34.1.      Written Notice to the Plaintiffs or Economic Class Counsel must be given to
             Stephen J. Herman, Herman Herman Katz & Cotlar, 820 O’Keefe Avenue, New
             Orleans, LA 70113, Sherman@hhkc.com, and James P. Roy, Domengeaux
             Wright Roy & Edwards, 556 Jefferson Street, Lafayette, LA 70502,
             jimr@wrightroy.com. Written notice to BP must be given to Richard C. Godfrey,
             Kirkland & Ellis LLP, 300 North LaSalle Blvd, Chicago, IL 60654,
             rgodfrey@kirkland.com, and R. Keith Jarrett, Liskow & Lewis, Suite 5000, One
             Shell Square, 701 Poydras Street, New Orleans, LA 70139, rkjarrett@liskow.com.
             All notices required by the Agreement shall be sent by overnight delivery and
             electronic mail.



                                               90
    Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 94 of 123




35. WAIVER
       35.1.        The waiver by any Party of any breach of this Agreement by another Party shall
                    not be deemed or construed as a waiver of any other breach, whether prior,
                    subsequent, or contemporaneous, to this Agreement.

36. APPLICABLE LAW
       36.1.        Notwithstanding the law applicable to the underlying claims, which the Parties
                    dispute, this Agreement and the Release and Individual Releases hereunder shall
                    be interpreted in accordance with General Maritime Law as well as in a manner
                    intended to comply with OPA.

37. GUARANTOR

       37.1.        BPCNA shall not be a Party to this Agreement, but shall serve as Guarantor of the
                    BP Parties’ payment obligations under this Agreement as set forth in the
                    Guarantee attached hereto as Exhibit 24A. BP p.l.c. shall not be a Party to this
                    Agreement, but shall serve as a Back-Up Guarantor as set forth in the Guarantee
                    attached hereto as Exhibit 24B.

38. DEFINITIONS.6

       38.1.        For purposes of this Agreement, the following terms (designated by capitalization
                    throughout this Agreement) shall have the following meanings. Terms used in the
                    singular shall be deemed to include the plural and vice versa. In addition, many
                    of the Exhibits to this Agreement contain Definitions, which shall be applicable to
                    any and all provisions applying, referencing or incorporating such Exhibit.7

       38.2.        Action shall mean the Complaint filed in Bon Secour Fisheries, Inc. v. BP on or
                    about April 16, 2012, Civil Action No. 12-970, and any amendments thereto.

       38.3.        Affiliate means with respect to any Natural Person or Entity, any other Natural
                    Person or Entity that directly, or indirectly, through one or more intermediaries,

6
 These definitions are of key terms used in the Agreement. Additional definitions may be found in the Exhibits
hereto, and shall not be repeated herein.
7
    For example, Exhibit 3 contains Seafood Distribution Chain definitions.

                                                          91
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 95 of 123




          controls, or is controlled by, or is under common control with, such Natural
          Person or Entity.

 38.4.    Agreement shall mean this Economic and Property Damages Settlement
          Agreement.

 38.5.    Appeal Panel shall mean the panel appointed pursuant to the Appeal Process.

 38.6.    Appeal Panelist shall mean an individual serving on the Appeal Panel pursuant to
          the Appeal Process.

 38.7.    Appeal Process shall mean the process through which an Economic Class
          Member may appeal a decision by the Settlement Program regarding the payment
          of compensation pursuant to one or more of the Claims Processes under this
          Agreement as set forth in Section 6 above and presented more fully in Exhibit 25.

 38.8.    Assigned Claims shall mean the claims defined in Exhibit 21.

 38.9.    Back-Up Guarantor shall mean BP p.l.c.

 38.10.   Benchmark Period shall have the meaning set forth in the Definitions section of
          the relevant framework (e.g., Business Economic Loss, Individual Economic
          Loss) applicable to a Claim.

 38.11.   Bodily Injury Claims shall mean claims and damages, including lost wages, for or
          resulting from personal injury, latent injury, future injury, progression of existing
          injury, damage, disease, death, fear of disease or injury or death, mental or
          physical pain or suffering, or emotional or mental harm, anguish or loss of
          enjoyment of life, including any claim for mental health injury, arising out of, due
          to, resulting from, or relating in any way to, directly or indirectly, the Deepwater
          Horizon Incident.

 38.12.   BP shall mean BP Exploration & Production Inc., BP America Production
          Company, BP America Inc., BP Company North America Inc., BP Corporation
          North America Inc., BP Corporation North America Inc. Savings Plan

                                            92
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 96 of 123




          Investment Oversight Committee, BP Energy Company, BP Exploration
          (Alaska) Inc., BP Global Special Products (America) Inc., BP Holdings North
          America Limited, BP p.l.c., BP Products North America Inc., and each of their
          respective direct or indirect parents, subsidiaries and subsidiary undertakings (as
          those terms are defined in the U.K. Companies Act 2006), Affiliates, divisions,
          and business units.

 38.13.   BP’s Counsel shall mean Kirkland & Ellis LLP and Liskow & Lewis.

 38.14.   BP Parties shall mean BP Exploration & Production Inc. and BP America
          Production Company.

 38.15.   Business Claimant or Business Economic Loss Claimant shall mean an Entity, or
          a self-employed Natural Person who filed a Form 1040 Schedule C, E or F, which
          or who is an Economic Class Member claiming Economic Damage allegedly
          arising out of, due to, resulting from, or relating in any way to, directly or
          indirectly, the Deepwater Horizon Incident.

 38.16.   Business Economic Loss Claims shall mean the Claims brought by the Business
          Economic Loss Claimants described in Exhibits 4A-7.

 38.17.   Charterer shall mean BP, Lawson, USMS, USES, DRC, or any other BP
          subcontractor utilized by BP to implement the VoO Program.

 38.18.   Charter Fishing shall mean owners, captains and deckhands that carry
          Passenger(s) for Hire to engage in Recreational Fishing.

 38.19.   Claim shall mean any demand or request for compensation (other than Bodily
          Injury Claims or Expressly Reserved Claims), together with any properly
          completed form and accompanying required documentation, submitted by a
          Claimant to the Settlement Program.

 38.20.   Claimant shall mean any Natural Person or Entity that submits a Claim to the
          Settlement Program seeking compensation as a member of the Economic Class.


                                            93
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 97 of 123




 38.21.   Claims Administrator shall mean that person or entity selected and appointed or
          designated by the Court who shall administer this Economic and Property
          Damages Settlement under the supervision of the Court in accordance with the
          terms set forth in Section 4.

 38.22.   Claims Administration Panel shall mean the panel consisting of the Claims
          Administrator, one representative designated by BP and one representative
          designated by Lead Class Counsel.

 38.23.   Claims Administration Staff shall mean the individuals employed by the Claims
          Administrator and or Claims Administration Vendors.

 38.24.   Claims Administration Vendor. The initial Claims Administration Vendors have
          been selected by the Parties and approved by the Court. Subsequently, Claims
          Administration Vendors shall mean an Entity or Entities selected by the Parties
          and approved by the Court.

 38.25.   Claim Forms shall mean all forms and materials required under this Agreement or
          by the Settlement Program to support a Claim, including all supporting
          documentation required by any such Claim Form.

 38.26.   Claim Processes shall mean the Seafood Compensation Program Claim Process,
          Coastal Real Property Claim Process, Economic Damage Claim Process, Real
          Property Sales Claim Process, Subsistence Claim Process, VoO Claim Process,
          Vessel Physical Damage Claim Process and Wetlands Real Property Claim
          Process.

 38.27.   Class Notice Administrator shall mean the entity selected and appointed or
          designated by the Court who shall administer the Class Notice and Class Notice
          Plan.

 38.28.   Class Period shall mean April 20, 2010 until the date of the filing of the Action,
          which is April 16, 2012.



                                           94
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 98 of 123




 38.29.   Coastal Real Property shall mean the property in the Coastal Real Property Claim
          Zone.

 38.30.   Coastal Real Property Claim Process shall mean that process described in the
          Compensation Framework for Coastal Real Property Claims, attached as Exhibit
          11A.

 38.31.   Coastal Real Property Claim Zone shall mean the areas identified on the Coastal
          Real Property Compensation Zone Map included with the Coastal Real Property
          Claim Framework.

 38.32.   Coastal Real Property Claimant shall mean an Economic Class Member claiming
          to have suffered Coastal Real Property Damage.

 38.33.   Coastal Real Property Compensation Amount shall mean the Compensation
          Amount calculated for an eligible Coastal Real Property Claimant for Coastal
          Real Property Damage pursuant to the terms of the Agreement including the
          Coastal Real Property Claim Framework.

 38.34.   Coastal Real Property Damage shall mean a loss alleged by a Coastal Real
          Property Claimant that satisfies the requirements set forth in the Coastal Real
          Property Claim Framework.

 38.35.   Compensation Amount shall mean that amount awarded to a Claimant prior to the
          addition of any RTP.

 38.36.   Compensation Period shall have the meaning set forth in the Definitions section
          of the relevant framework (e.g., Business Economic Loss, Individual Economic
          Loss) applicable to a Claim.

 38.37.   Consumer shall mean a Natural Person or an Entity who or which buys any
          product for individual use or consumption and not for manufacture or resale.

 38.38.   “Contemporaneous” or “Contemporaneously prepared” records or documentation
          shall mean documents or other evidence generated or received in the ordinary

                                           95
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 99 of 123




          course of business at or around the time period to which they relate; in the case of
          financial statements, this shall include all periodic financial statements regularly
          prepared in the ordinary course of business. In addition, “contemporaneous” or
          “contemporaneously” prepared evidence or documentation, even if not proximate
          in time to the event or occurrence to which it relates, shall include (1)
          documentation that is based on or derived from other data, information, or
          business records created at or about the time of the event, occurrence or item in
          question, (2) a statement that is consistent with documentation created at or about
          the time of the event, occurrence or item in question, or (3) would support a
          reasonable inference that such event, occurrence, or other item in question
          actually occurred.

 38.39.   Corporate Headquarters or Headquarters shall mean a physical office in which the
          principal executive offices and direct support staff for senior management
          functions of a business Entity are located.

 38.40.   Court shall mean the United States District Court for the Eastern District of
          Louisiana, Judge Carl Barbier, presiding, in In Re: Oil Spill by the Oil Rig
          “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL No. 2179.

 38.41.   Deepwater Horizon Court Supervised Settlement Program or Settlement Program
          shall mean all of the activities and obligations of the Claims Administrator or
          those under his supervision necessary to implement the Deepwater Horizon
          Economic and Property Damages Settlement Agreement.

 38.42.   Deepwater Horizon Economic Litigation shall mean all Claims brought by
          Plaintiffs or any Economic Class Member for damage covered by the Seafood
          Compensation Program, Coastal Real Property Damage, Economic Damage, Real
          Property Sales Damage, Subsistence Damage, VoO Charter Payment, Vessel
          Physical Damage or Wetlands Real Property Damages allegedly arising out of,
          due to, resulting from, or relating in any way to, directly or indirectly, the
          Deepwater Horizon Incident, in the multidistrict litigation titled In re Oil Spill by



                                            96
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 100 of 123




           the Oil Rig “Deepwater Horizon” in the Gulf of Mexico on April 20, 2010 (MDL
           No. 2179).

  38.43.   Deepwater Horizon Incident shall mean the events, actions, inactions and
           omissions leading up to and including (i) the blowout of the MC252 WELL; (ii)
           the explosions and fire on board the Deepwater Horizon on or about April 20,
           2010; (iii) the sinking of the Deepwater Horizon on or about April 22, 2010; (iv)
           the release of oil, other hydrocarbons and other substances from the MC252 Well
           and/or the Deepwater Horizon and its appurtenances; (v) the efforts to contain the
           MC252 Well; (vi) RESPONSE ACTIVITIES, including the VoO Program; (vii)
           the operation of the GCCF; and (viii) BP public statements relating to all of the
           foregoing.

  38.44.   Deepwater Horizon Oil Spill Trust shall mean the irrevocable common law trust
           established under Delaware law in accordance with the trust agreement titled
           “Deepwater Horizon Oil Spill Trust” dated August 6, 2010, and entered into
           among BP Exploration & Production Inc.; John S. Martin, Jr. and Kent D.
           Syverud, as individual trustees; and Citigroup Trust-Delaware, N.A., as corporate
           trustee.

  38.45.   Directed Trustee shall mean the J. P. Morgan Trust Company of Delaware,
           exercising the limited authority as set forth in the Economic Settlement Trust
           Agreement, with the Claims Administrator serving as Trustee of the Settlement
           Trust.

  38.46.   Economic and Property Damages Settlement Class shall have the meaning set
           forth in Sections 1 and 2.

  38.47.   Economic Settlement Trust Account shall mean the account of the Settlement
           Trust into which the BP Parties shall pay, or cause to be paid, all amounts
           required to be paid to the Settlement Trust and from which the Trustee and/or the
           Directed Trustee shall transfer into the Funds listed in Section 5.12.1 such
           amounts as required under Section 5.12.


                                            97
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 101 of 123




  38.48.   Documentation Reviewer shall be the individual assigned by the Claims
           Administrator to review Claims denied, in whole or in part, on grounds of
           insufficient documentation.

  38.49.   Economic and Property Damages Settlement Class Member or Economic Class
           Member shall mean all such Natural Persons or Entities who or that satisfy the
           requirements for membership in the Economic Class and do not timely and
           properly Opt Out of the Economic Class as set forth in Section 8 above.

  38.50.   Economic and Property Damages Settlement Class Member Individual Release or
           Individual Release shall mean the document attached as Exhibit 26, which is a
           Release and Covenant not to Sue that must be executed by any Economic Class
           Member who or that receives compensation for a Claim pursuant to one or more
           of the Claim Processes prior to the Effective Date.

  38.51.   Economic and Property Damages Settlement Class Notice Plan or Class Notice
           Plan shall mean that which sets forth the methods, timetable, and responsibilities
           for providing notice of this Agreement to Economic Class Members.

  38.52.   Economic and Property Damages Settlement Class Representatives or Plaintiffs
           shall mean the named Plaintiffs in the Action.

  38.53.   Economic Class shall mean the Economic and Property Damages Settlement
           Class.

  38.54.   Economic Class Counsel shall mean the Economic and Property Damages
           Settlement Class Counsel appointed by the Court.

  38.55.   Economic Class Release shall mean the Release described in Section 10.

  38.56.   Economic Class Representatives shall mean the named plaintiffs in the Action.

  38.57.   Economic Damage shall mean loss of profits, income and/or earnings arising in
           the Gulf Coast Areas or Specified Gulf Waters allegedly arising out of, due to,
           resulting from, or relating in any way to, directly or indirectly, the Deepwater

                                            98
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 102 of 123




            Horizon Incident; provided, however, that Economic Damage does not include (1)
            loss of profits or earnings, or damages for injury relating to real property or
            personal property that constitutes any part of the Seafood Compensation Program,
            Coastal Real Property Damage, Real Property Sales Damage, Wetlands Real
            Property Damage, Vessel Physical Damage, or (2) VoO Charter Payment, or
            (3) damages for loss of Subsistence use of natural resources, which constitutes
            Subsistence Damage.

  38.58.    Economic Damage Claim Process shall mean that process described in the
            Economic Damage Claim Frameworks.

  38.59.    Economic Damage Claim Frameworks shall mean the rules described in Exhibits
            4A-8E.

  38.60.    Economic Damage Claimant shall mean an Individual Claimant or Business
            Claimant who or that claims to have suffered Economic Damage.

  38.61.    Economic Damage Compensation Amount shall mean the compensation amount
            calculated for an Economic Damage Claimant pursuant to the terms of the
            Agreement and the Economic Damage Claim Frameworks, as applicable.

  38.62.    Effective Date shall mean (1) the day following the expiration of the deadline for
            appealing the entry by the Court of the Final Order and Judgment, if no such
            appeal is filed, or (2) if an appeal of the Final Order and Judgment is filed, the
            date upon which all appellate courts with jurisdiction (including the United States
            Supreme Court by petition for certiorari) affirm such Final Order and Judgment,
            or deny any such appeal or petition for certiorari, such that no future appeal is
            possible, or (3) such date as the Parties otherwise agree in writing.

  38.63.    Eligible Real Property Sales Claimants shall mean those Claimants who were
            sellers of Residential Parcels within the Real Property Sales Compensation Zone
            who satisfy the following criteria:

       38.63.1.   owned a Residential Parcel in the Real Property Sales Compensation Zone

                                              99
    Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 103 of 123




                         on April 20, 2010; and

           38.63.2.      executed a sales contract8 for the sale of that Residential Parcel that meets
                         the following criteria:

               38.63.2.1. the sales contract was executed on or after April 21, 2010 and the sale
                           closed during the time period of April 21, 2010 to December 31, 2010; or

               38.63.2.2. the sales contract was executed before April 21, 2010, but the Settlement
                           Program determines pursuant to the Real Property Sales Claim Framework
                           that the contract price was reduced as a result of the Deepwater Horizon
                           Incident. Additionally, the sale must have closed during the time period
                           April 21, 2010 to December 31, 2010.

      38.64.      End User shall mean a Natural Person or Entity that buys any product for his, her
                  or its individual use or consumption and not for manufacture or resale.

      38.65.      Entity shall mean an organization or entity, other than a GOVERNMENTAL
                  ORGANIZATION, operating or having operated for profit or not-for-profit,
                  including a partnership, a corporation, a limited liability company, an association,
                  a joint stock company, a trust, a joint venture or an unincorporated association of
                  any kind or description.

      38.66.      Exclusions shall mean the Natural Persons or Entities excluded from membership
                  in the Economic Class, as set forth in Section 2 above.

      38.67.      Expressly Reserved Claims shall mean the following Claims which are not
                  recognized or released under the Agreement, and are reserved to the Economic
                  Class Members: (1) Bodily Injury Claims, which are excluded from the
                  Economic Class, but certain of which may be asserted in the Medical Benefits
                  Class Action Settlement as described herein; (2) claims of BP shareholders in any
                  derivative or direct action solely in their capacity as BP shareholders; (3) claims

8
 Sales do not include transfers from borrowers to lenders that take place as part of the foreclosure process, such as
deeds in lieu of foreclosure, foreclosure deeds, or Sheriff’s deeds.

                                                         100
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 104 of 123




           of Natural Persons and Entities for Moratoria Losses; (4) claims relating to
           menhaden (or “pogy”) fishing, processing, selling, catching, or harvesting; and (5)
           claims for Economic Damage suffered by Entities or employees (to the extent
           they allege Economic Damage based on their employment by such an Entity
           during the Class Period) in the Banking, Gaming, Financial, Insurance, Oil and
           Gas, Real Estate Development, and Defense Contractor Industries, as defined in
           Section 2.2.4.

  38.68.   Failed Business shall mean a business Entity that commenced operations prior to
           November 1, 2008 and that, subsequent to May 1, 2010 but prior to December 31,
           2011, either (i) ceased operations and wound down, or (ii) entered bankruptcy or
           (iii) otherwise initiated or completed a liquidation of substantially all of its assets,
           as more fully described in Exhibit 6.

  38.69.   Failed Start Up Business shall mean a business Entity that commenced operations
           on or after November 1, 2008 and that, subsequent to May 1, 2010 but prior to
           December 31, 2011, either (i) ceased operations and wound down, or (ii) entered
           bankruptcy or (iii) otherwise initiated or completed a liquidation of substantially
           all of its assets, as more fully described in Exhibit 6.

  38.70.   Fairness Hearing shall mean the hearing set and conducted by the Court pursuant
           to Fed. R. Civ. P. 23(e) to consider and determine whether to grant final approval
           to this Agreement, as described in Section 8 above.

  38.71.   Festival Vendors shall have the meaning set forth in Exhibit 8D.

  38.72.   Final Order and Judgment shall mean an order entered by the Court, described in
           Section 15 above.

  38.73.   Finfish shall mean fish other than shellfish and octopuses.

  38.74.   GCCF shall mean the Gulf Coast Claims Facility.

  38.75.   GCCF Release and Covenant Not to Sue shall mean the release executed in
           exchange for payment of a GCCF claim.
                                             101
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 105 of 123




  38.76.   Game shall include nutria, mink, otters, raccoons, muskrats, alligators, and other
           wildlife.

  38.77.   Governmental Organization shall mean: (a) the government of the United States
           of America, (b) any state or local government, (c) any agency, branch,
           commission, department, or unit of the government of the United States of
           America or of any state or local government, or (d) any Affiliate of, or any
           business or organization of any type that is owned in whole or at least 51% in part
           by the government of the United States of America or any state or local
           government, or any of their agencies, branches, commissions, departments, or
           units.

  38.78.   Guarantee shall mean the guarantees attached as Exhibit 24A, 24B.

  38.79.   Guarantor shall mean BPCNA.

  38.80.   Gulf Coast Areas shall mean the States of Louisiana, Mississippi, and Alabama;
           the counties of Chambers, Galveston, Jefferson and Orange in the State of Texas;
           and the counties of Bay, Calhoun, Charlotte, Citrus, Collier, Dixie, Escambia,
           Franklin, Gadsden, Gulf, Hernando, Hillsborough, Holmes, Jackson, Jefferson,
           Lee, Leon, Levy, Liberty, Manatee, Monroe, Okaloosa, Pasco, Pinellas, Santa
           Rosa, Sarasota, Taylor, Wakulla, Walton and Washington in the State of Florida,
           including all adjacent Gulf waters, bays, estuaries, straits, and other tidal or
           brackish waters within the States of Louisiana, Mississippi, Alabama or those
           described counties of Texas or Florida. (Exhibit 22)

  38.81.   Halliburton shall mean Halliburton Energy Services, Inc. and all and any of its
           Affiliates, other than any Natural Person or Entity that is also an Affiliate of any
           of the Released Parties.

  38.82.   Home Ported shall mean the home port of a vessel as documented by a 2009 or
           2010 government-issued vessel registration.




                                            102
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 106 of 123




  38.83.   Incompetent Class Member shall mean a Natural Person who lacks the capacity to
           enter into a contract on his or her behalf at the time of a Claims Form submission
           to the Claims Administrator, in accordance with the state laws of that person’s
           domicile as applied to adult capacity issues, whether through power of attorney,
           agency documents, guardianship, conservatorship, tutorship, or otherwise.

  38.84.   Individual Claimant shall mean a Natural Person who is an Economic Class
           Member alleging Economic Damage arising out of, due to, resulting from, or
           relating in any way to, directly or indirectly, the Deepwater Horizon Incident with
           a Claim in addition to or other than a Claim for Economic Damage related to such
           Natural Person’s sole proprietorship business or other self-employment as
           reflected on Schedule C, D or E of a federal income tax form.

  38.85.   Individual Economic Loss Claims shall mean the Claims brought by individuals
           described in Exhibits 8A-8E.

  38.86.   Individual Periodic Vendor shall have the meaning set forth in Exhibit 8D.

  38.87.   Individual Release shall mean the form of release described in Section 4.4.10.2.

  38.88.   Interim Class Counsel shall mean James Parkerson Roy and Stephen J. Herman.

  38.89.   Lead Class Counsel shall mean the Economic and Property Damages Settlement
           Lead Class Counsel appointed by the Court.

  38.90.   MC252 Well shall mean the exploratory well named “Macondo” that was being
           drilled by the Transocean Marianas and Deepwater Horizon rigs in Mississippi
           Canyon, Block 252 on the outer continental shelf in the Gulf of Mexico,
           approximately 130 miles southeast of New Orleans, Louisiana.

  38.91.   MDL 2179 or MDL shall mean the federal multidistrict litigation titled In re Oil
           Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico on April 20, 2010
           (MDL No. 2179).




                                           103
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 107 of 123




  38.92.    Minor Class Member shall mean a Natural Person whose age is below that of the
            majority rule for the state in which the minor resides at the time of a Claim Form
            submission to the Claims Administrator.

  38.93.    Moratoria Loss shall mean any loss whatsoever caused by or resulting from
            federal regulatory action or inaction directed at offshore oil industry activity --
            including shallow water and deepwater activity -- that occurred after May 28,
            2010, including the federal moratoria on offshore permitting and drilling activities
            imposed on May 28, 2010 and July 12, 2010 and new or revised safety rules,
            regulations, inspections or permitting practices.

  38.94.    Multi-Facility Business shall have the meaning set forth in Exhibit 5.

  38.95.    Natural Person shall mean a human being, and shall include the estate of a human
            being who died on or after April 20, 2010. For purposes of this Agreement, a
            Natural Person that is the estate of a human being who died on or after April 20,
            2010, a Minor Class Member or Incompetent Class Member, shall be deemed to
            act through his, her or its Representative.

  38.96.    New Entrant to Employment shall have the meaning set forth in Exhibit 8A.

  38.97.    Non-Working VoO Compensation Amount shall mean the Compensation Amount
            calculated for a Non-Working VoO Participant pursuant to the Section 5.5.3 of
            the Agreement.

  38.98.    Non-Working VoO Participant shall mean a vessel owner who executed a VoO
            Master Vessel Charter Agreement with a Charterer, and completed the initial VoO
            training program, but was never dispatched, placed on hire or otherwise asked to
            perform work for a Charterer.

  38.99.    OPA shall mean the Oil Pollution Act of 1990, 33 U.S.C. § 2701, et seq.

  38.100.   OPA Process shall mean the claims presentment procedure pursuant to the OPA,
            including claims that have been submitted to the BP Parties or claims that have
            been submitted to the GCCF as part of the OPA Process.
                                             104
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 108 of 123




  38.101.   Opt Out shall mean the process by which any Natural Person (acting through such
            Natural Person’s Representative, if applicable) or Entity included in the Economic
            Class exercises his, her or its right to exclude himself, herself or itself from the
            Economic Class in accordance with Fed. R. Civ. P. 23(c)(2) and the procedures
            set forth in the Class Notice.

  38.102.   Opt Outs shall mean those Natural Persons (acting through their Representatives,
            if applicable) or Entities included in the Economic Class who or which have
            timely and properly exercised their right to Opt Out and therefore are not
            Economic Class Members.

  38.103.   Parties shall mean the Plaintiffs and the BP Parties.

  38.104.   Passenger(s) for Hire shall mean a passenger for whom consideration is
            contributed as a condition of carriage on the vessel, whether directly or indirectly
            flowing to the owner, operator, agent, deckhand, or any other person having an
            interest in the vessel.

  38.105.   Pending Unresolved GCCF Claims shall mean all claims in the GCCF except
            where the GCCF has issued final offers that have neither been accepted nor
            rejected by the Claimant and have not expired by their own terms.

  38.106.   Plaintiffs shall mean those Natural Persons and Entities appearing as named
            plaintiffs and proposed class representatives in the Action.

       38.106.1. Plaintiffs’ Steering Committee or PSC shall mean those counsel appointed
                  to the Plaintiffs’ Steering Committee by the Court, in its Pretrial Order No.
                  46, dated October 5, 2011 (Doc. 4226) in the MDL.

  38.107.   Proposed Economic Class Counsel shall mean the members of the Plaintiffs
            Executive Committee and Plaintiffs Steering Committee, who seek to be
            appointed Economic and Property Damage Settlement Class Counsel by the
            Court.

  38.108.   PSC shall mean the Plaintiffs’ Steering Committee.
                                              105
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 109 of 123




  38.109.   Real Property shall mean land, including improvements thereon, and property of
            any nature appurtenant or affixed thereto.

  38.110.   Real Property Compensation Zone Map(s) shall mean the map(s) attached to the
            Agreement as Exhibit 13B.

  38.111.   Real Property Sales Claim Process shall mean that process described in the Real
            Property Sales Claim Framework.

  38.112.   Real Property Sales Damage shall mean a loss alleged by an eligible Claimant
            that satisfies the requirements set forth in the Real Property Sales Claim
            Framework.

  38.113.   Real Property Sales Claim Framework shall mean the requirements described in
            the document captioned Real Property Sales Claim Framework, attached to this
            Agreement as Exhibits 13A and 13B.

  38.114.   Real Property Sales Claimant shall mean an Economic Class Member claiming to
            have suffered Real Property Sales Damage.

  38.115.   Real Property Sales Compensation Amount shall mean the Compensation
            Amount calculated for an Eligible Real Property Sales Claimant for Real Property
            Sales Damage pursuant to the terms of the Agreement and the Real Property Sales
            Claim Framework.

  38.116.   Real Property Sales Compensation Zone shall be defined as Residential Parcels
            identified in the Real Property Compensation Zone Map.

  38.117.   Real Property Sales Damage shall mean a loss alleged by a Real Property Sales
            Claimant that satisfies the requirements set forth in the Real Property Sales Claim
            Framework.

  38.118.   Recreational Fishing shall mean fishing for sport or pleasure.




                                            106
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 110 of 123




  38.119.   Related Claims shall mean all claims brought by Economic Class Members
            against any of the Released Parties that are covered by the Release and which are
            pending in the Court, in any other federal court, in any state court, or in any other
            tribunal or forum.

  38.120.   Release is defined in Section 10.4 above.

  38.121.   Released Claims is defined in Section 10.2 above.

  38.122.   Released Parties is defined in Section 10.3 above.

  38.123.   Representative shall mean in the context of a Natural Person who is a minor or
            incapacitated, his legal guardian; or in the case of a deceased Natural Person, the
            duly authorized legal representative of his estate.

  38.124.   Residential Parcels shall mean those parcels within the Real Property Sales
            Compensation Zone for which the county where the parcel is located has
            designated the parcel as a residential classification.

  38.125.   Response Activities shall mean the clean up, remediation efforts, and all other
            responsive actions (including the use and handling of dispersants) relating to
            the releases of oil, other hydrocarbons and other pollutants from the MC252
            Well and/or the Deepwater Horizon and its appurtenances, and the Deepwater
            Horizon Incident.

  38.126.   RTP (risk transfer premium) shall mean the amount paid to a Claimant for any
            and all alleged damage, including potential future injuries, damages or losses not
            currently known, which may later manifest themselves or develop, arising out of,
            due to, resulting from, or relating in any way to the Deepwater Horizon Incident,
            and any other type or category of damages claimed, including claims for punitive
            damages. To the extent that an RTP is to be paid to a Claimant, it shall be a factor
            which is multiplied with those Compensation Amounts which the Exhibits to this
            Agreement specify are eligible for an RTP to calculate a sum which is added to
            the Compensation Amount paid to the Claimant. For example, if the

                                             107
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 111 of 123




            Compensation Amount is $1, and the RTP is 2.5, then $1 is multiplied by 2.5,
            which product is then added to the $1 to reach the total amount of compensation
            ($1 + $2.50 = $3.50 in total compensation). The RTP Chart (Risk Transfer
            Premium) is set forth in Exhibit 15.

  38.127.   SCAT shall mean the Deepwater Horizon Unified Command Shoreline Cleanup
            Assessment Teams.

  38.128.   Seafood shall mean fish and shellfish, including shrimp, oysters, crab, and
            Finfish, caught in the Specified Waters of the Gulf of Mexico. Seafood shall
            exclude menhaden.

  38.129.   Seafood Compensation Program shall mean the program defined in Section 5.2.

  38.130.   Seafood Compensation Program Amount shall mean $2.3 billion, as such amount
            is reduced (i) pursuant to Section 4.2.7 for certain transition payments to
            Commercial Fisherman, Seafood Crew, Oyster Leaseholders and Seafood Vessel
            Owners, and (ii) for credits, if any, to the BP Parties in respect of certain Opt Outs
            by Commercial Fisherman, Seafood Crew, Oyster Leaseholders and Seafood
            Vessel Owners pursuant to the SEAFOOD PROGRAM OPT OUT TERMS.

  38.131.   Seafood Compensation Program Settlement Fund shall mean the fund used by the
            Claims Administrator to make payments under the Seafood Compensation
            Program.

  38.132.   Seafood Program Opt Out Terms shall mean the terms agreed to by the Parties
            with respect to Seafood Compensation Program Opt Outs. The Seafood Program
            Opt Out Terms will be submitted under seal to the Court.

  38.133.   Settlement shall mean the terms and conditions of the Agreement reached by the
            Parties.

  38.134.   Settlement Payment shall mean the Total Compensation Amount to be paid to
            a Claimant for any Claim made pursuant to the terms of the Agreement,
            including the Frameworks in the exhibits.
                                             108
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 112 of 123




  38.135.   Settlement Trust shall have the meaning set forth in Section 5.12.1.

  38.136.   Specified Gulf Waters shall mean the U.S. waters of the Gulf of Mexico and all
            adjacent bays, estuaries, straits, and other tidal or brackish waters within the Gulf
            Coast Areas, as specifically shown and described in Exhibit 23.

  38.137.   Start Up Business shall mean a business with less than 18 months of operating
            history at the time of the Deepwater Horizon Incident, as more fully described in
            Exhibit 7.

  38.138.   Subsistence shall mean fishing or hunting to harvest, catch, barter, consume or
            trade Gulf of Mexico natural resources (including Seafood and Game), in a
            traditional or customary manner, to sustain basic personal or family dietary,
            economic security, shelter, tool, or clothing needs.

  38.139.   Subsistence Claim Process shall mean that process for determining eligibility and
            compensation described in the Subsistence Claim Framework.

  38.140.   Subsistence Claim Framework shall mean the document attached to this
            Agreement as Exhibit 9.

  38.141.   Subsistence Compensation Amount shall mean the Compensation Amount
            calculated for an eligible Subsistence Claimant for Subsistence Damage pursuant
            to this Agreement and the Subsistence Claim Framework.

  38.142.   Subsistence Damage shall mean a loss of value of Subsistence use of natural
            resources alleged to arise out of, result from or relate in any way to, directly or
            indirectly, the Deepwater Horizon Incident.

  38.143.   Summary Publication Notice shall mean that notice of Preliminary Approval
            Order, the Agreement, and the Fairness Hearing as approved by the Court.

  38.144.   Supplemental Information Program shall mean a program developed by the PSC
            to provide additional information to Economic Class Members regarding the
            Settlement.

                                             109
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 113 of 123




  38.145.   Support Services to Oil and Gas Industry shall mean Entities the Claims
            Administrator determines fall within the NAICS codes and descriptions marked
            with an “x” on Exhibit 19.

  38.146.   Sworn Written Statement shall mean a statement provided under penalty of
            perjury, in support of a Claim.

  38.147.   Total Compensation Amount shall mean the Compensation Amount, plus any
            RTP and any other amounts due for any Claim less any applicable offsets under
            this Agreement or its Frameworks.

  38.148.   Tourism shall mean the definition set forth in Exhibit 2.

  38.149.   Transition Claims shall mean those claims, including Pending Unresolved GCCF
            Claims, submitted as part of the Transition Claims Process described in Section
            4.2.

  38.150.   Transition Coordinator shall mean the Claims coordinator described in Section
            4.2.

  38.151.   Transition Process shall mean the Claims process described in Section 4.2.

  38.152.   Transocean shall mean Transocean Ltd., Transocean, Inc., Transocean Offshore
            Deepwater Drilling Inc., Transocean Deepwater Inc., Transocean Holdings LLC,
            and Triton Asset Leasing GmbH and all and any of their Affiliates, other than any
            Natural Person or Entity that is also an Affiliate of any of the Released Parties

  38.153.   Trustee shall mean the Claims Administrator when serving as trustee of the
            Settlement Trust, with Directed Trustee J. P. Morgan Trust Company of Delaware
            exercising the limited authority as set forth in the Economic Settlement Trust
            Agreement.

  38.154.   Unknown Claims is defined in Section 10.5 above.




                                              110
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 114 of 123




  38.155.   Vessel Physical Damage shall mean physical damage that was sustained by an
            eligible Claimant’s eligible vessel due to or resulting from the Deepwater Horizon
            Incident or the Deepwater Horizon Incident response cleanup operations,
            including the Vessels of Opportunity Program, that were consistent with the
            National Contingency Plan or specifically ordered by the Federal On-Scene
            Coordinator or delegates thereof.

  38.156.   Vessel Physical Damage Claim Framework shall mean the rules described in the
            document captioned Vessel Physical Damage Framework attached to this
            Agreement as Exhibit 14.

  38.157.   Vessel Physical Damage Claim Process shall mean that process described in the
            Vessel Physical Damage Claim Framework.

  38.158.   Vessel Physical Damage Compensation Amount shall mean the Compensation
            Amount calculated for a Vessel Physical Damage Claimant pursuant to the terms
            of the Agreement and the Vessel Physical Damage Claim Framework.

  38.159.   VoO shall mean Vessels of Opportunity, the program through which BP, or its
            contractors, contracted with vessel owners to assist in Deepwater Horizon
            Incident response efforts.

  38.160.   VoO Agreement shall mean the terms provided in Section 5.5 of the Agreement.

  38.161.   VoO Claim Process shall mean that process described Section 5.5 of the
            Agreement.

  38.162.   VoO Charter Payment shall mean a loss alleged by a VoO Charter Payment
            Claimant for any payment or compensation related to participation in the VoO
            program that satisfies the requirements set forth in Section 5.5 above.

  38.163.   VoO Charter Payment Claimant shall mean an Economic Class Member claiming
            to have suffered a VoO Charter Payment loss.




                                            111
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 115 of 123




  38.164.   VoO Earned Income Offset shall mean the offset whereby, if a VoO Charter
            Payment Claimant has previously been paid under a VoO Master Vessel Charter
            Agreement, the Claimant’s Compensation Amount for its Claim relating to a non-
            Seafood-related business directly involving the use of the vessel that performed
            the VoO services, or employment in such business or service, shall be reduced by
            33% of the amount previously paid for services performed under a VoO Master
            Vessel Charter Agreement. This reduction shall be applied after the addition of
            any applicable RTP to the base Economic Damage Compensation Amount,
            excluding prior income from the VoO Charter Payments.

  38.165.   VoO Master Vessel Charter Agreement shall mean the standard agreements
            utilized by BP and its agents or subcontractors to charter the vessels available for
            work or service in connection with the VoO program.

  38.166.   VoO Settlement Payment Offset shall mean the offset whereby the Total
            Compensation Amount for a Natural Person or Entity relating to a non-Seafood-
            related business directly involving the use of the vessel that performed the VoO
            services, or employment in such business or service, shall be reduced by 50% of
            the amount of the Working VoO Participant Settlement Payment. The VoO
            Settlement Payment Offset shall be applied after the addition of any applicable
            RTP to the base Economic Damage Compensation Amount, excluding prior
            income from the VoO Charter Payments.

  38.167.   Wetlands Real Property Claimant shall mean an Economic Class Member
            claiming to have suffered Wetlands Real Property Damage.

  38.168.   Wetlands Real Property Claim Process shall mean that process described in the
            Wetlands Real Property Claim Framework.

  38.169.   Wetlands Real Property Claim Framework shall mean the requirements described
            in the document captioned Compensation Framework for Wetlands Real Property
            Claims, attached to this Agreement as Exhibits 12A-12B.



                                             112
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 116 of 123




  38.170.   Wetlands Real Property Compensation Amount shall mean the Compensation
            Amount calculated for an eligible Wetlands Real Property Claimant for Wetlands
            Real Property Damage pursuant to the terms of the Agreement and the Wetlands
            Real Property Claim Framework.

  38.171.   Wetlands Real Property Damage shall mean a loss alleged by a Wetlands Real
            Property Claimant that satisfies the requirements set forth in the Wetlands Real
            Property Claim Framework.

  38.172.   Working VoO Compensation Amount shall mean the Compensation Amount
            calculated for a Working VoO Participant pursuant to Section 5.5.2 of the
            Settlement Agreement.

  38.173.   Working VoO Participant shall mean a vessel owner who executed a VoO Master
            Vessel Charter Agreement, completed the initial VoO training program, and was
            dispatched or placed on-hire (i.e., requested by a Charterer to perform work and
            such request was accepted) by a Charterer (evidence of which shall include
            Charterers’ dispatch logs).

  38.174.   Zone A shall mean the geographic areas set forth in Exhibits 1A-1C.

  38.175.   Zone B shall mean the geographic areas set forth in Exhibits 1A-1C.

  38.176.   Zone C shall mean the geographic areas set forth in Exhibits 1A-1C.

  38.177.   Zone D shall mean the residual portions of the Gulf Coast Areas outside of Zones
            A-C.




                                            113
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 117 of 123




 ORIGINAL SIGNATURE PAGES FOR DEEPWATER HORIZON ECONOMIC AND
  PROPERTY DAMAGES SETTLEMENT AGREEMENT DATED APRIL 18, 2012
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 118 of 123
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 119 of 123
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 120 of 123




  SIGNATURE PAGES FOR FIRST AMENDMENT TO DEEPWATER HORIZON
               ECONOMIC AND PROPERTY DAMAGES
           SETTLEMENT AGREEMENT DATED MAY 2, 2012
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 121 of 123




                                 - 11-1 -
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 122 of 123




                                 - 11-2 -
Case 2:10-md-02179-CJB-DPC Document 6430-1 Filed 05/03/12 Page 123 of 123
